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UNlTED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

CITY OF PALME'I'I`O,

cAsl-: No: `Z‘. \£l>*bV‘Qo 363 ~'T- 3(0 CFT

Plaintijj';

V.

PURDUE PHARMA L.P, CEPHALON,
INC., TEVA PHARMACEUTICALS

USA, INC., ENDO INTERNATIONAL
PLC, ENDO PHARMACEUTICALS,

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INC.,JANSSEN PHARMAceuTICALs, ‘;e';~?~ § _n
mc.,INsYs THERAPEUTICS,INC., ":j: m §§
MALLINCKRODT PLC, §» 3 m
MALLINCKRODT §§;L_';;' 1 c_-,
PHAmACEUTchS, 223 z
AMERISOURCEBERGEN '~;1" e.>
coRPoRATloN, cARDlNAL
HEALTH, INC., and MCKESSON
CORPORTATION,

 

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COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL

Plaintiff, the City of Palmetto, by and through its undersigned counsel, hereby brings this

Complaint for Damages against Defendants, and in support thereof, alleges as follows:

INTRODUCTION
l .

Defendants manufacture, market and sell prescription opioids (hereinafter “opioids”),
including brand-name drugs like Oxycontin and Percocet, and generics like oxycodone and
hydrocodone, which are powerful narcotic painkillers. Historically, because they were

considered too additive and debilitating for the treatment of chronic pain (e.g., back pain,

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migraine, and arthritis),l opioids were used only to treat short-term acute pain or for
palliative (end-of-lif`e) care.

2. However, by the late l990s, and continuing through today, each Defendant began a
marketing scheme designed to persuade a wide swath of health care provider and doctors,
as well as patients, that opioids can and should be used for chronic pain. This broadened
group of targeted health care providers and doctors made it much more likely that patients
would become addicted and suffer other adverse effects from the long-term use of opioids.
In connection with this scheme, each Defendant spent, and continues to spend, millions of
dollars on promotional activities and materials that falsely deny or trivialize the risks of
opioid use while overstating the benefits of using them for chronic pain.

3. Defendant’s efforts were and continue to be wildly successful. Opioids are now the most
commonly prescribed class of drugs, generating $l l billion in revenue for drug companies
in 2014 alone and resulting in a national health crisis of opioid addiction. ln 2014, more
than 47,000 people died in the United States from lethal drug overdoses. In 2015, that
number exceeded 52,000,2 a number representing far more deaths than caused by car
crashes and gun homicides combined. In 2016, the number of drug-related deaths had
grown to more than 64,000. Sadly, this trend shows no sign of slowing. Alarmingly, more
than three out of five of these deaths involve opioids - a dangerous, highly addictive and
often lethal class comprised of natural, synthetic, and semi-synthetic painkillers. Nearly

half of those involved legal opioids prescribed by doctors to treat pain. These prescription

 

' ln this Complaint, “chronic pain” means non-cancer pain lasting three months or longer.
2 Rose A. Rudd, el aI., Increases in Drug and Opioid~lnvolved Overdose Dealhs - United States, 2010-
2015, 65 Morbidity & Monality Weekly Report 1445-52 (2016), available at

hggs://www.cdc.gov/mmwr/volumes/GS/wr/mm65505lel .htm (hereinaher “Rudd, increases in Drug and
0pi0id-!nvol\’ed Overdose").

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opioids include branded medications (e.g.) OxyContin, Opana, Subsys, Fentora, and
Duragesic, as well as genetics labeled as oxycodone, methadone, and fentanyl. In all, more
than 183,000 people died in the United States between 1999 and 2015 from overdoses
directly related to prescription opioids,3 and current estimates suggest 145 people now die
every day in the United States from opioid overdoses.“ Public health officials have called
the current epidemic the worst drug crisis in American history,5 and on October 26, 2017,
President Donald Trump officially declared it a public health emergency. The following

charts6 illustrate the rise of opioid-related deaths in the United States:

 

3 That number does not take into account the staggering number of additional illicit opioid deaths that can
be related back to doctor-prescribed opioids; indeed, four out of five new heroin users began first with
prescription opioid misuse. Christopher M. Jones, Heroin use and heroin use risk behaviors among
nonmedical users of prescription opioid pain relievers - United Slales. 2002-2004 and 2008-2010, 132 (l-
2) Drug & Alcohol Dependence 95-100 (Sept. l, 2013), available at
htg;://www.drugandalcoholdegendence.com/article/SOB76-8716113100019-7/pdf`. Still, most misused
prescription drugs are obtained directly or indirectly from a doctor’s prescription; only 4% of persons
misusing or addiction to prescription drugs report getting them from a drug dealer or stranger. Anna
Lembke, Drug Dealer, MD: How Doc!ors Were Duped, Pan'ems Got Hooked, Ana' Why lt 's So Hard lo
Stop, 18 (.Iohn Hopkins University Press 2016); “[U]nintentional poisoning deaths from prescription
opioids quadrupled between 1999 and 2010, outnumbering deaths from heroin and cocaine combined.”
Kathleen Frydl, Purdue Pharma: Co);norate Fraud Wi!h a Body Coum, Alternet (May 18, 2016), available

at https://www.altemet.org[drugs/purdue-p_harma-camorate-fraud-body-count (hereafter “Frydl, Purdue

Pharma”).
4 Patrick Keefe, The Family that Built an Empire of Pain, New Yorker (Oct. 30, 2017), available at
h s: //www. ne b (hereafier

     

“Keefe, Empire of Pam ’).
5 Julie Borman, !nside a Killer Drug Epidemic.' A Look al America ’s Opioid Crises, N.Y. Times (Jan. 6,

201 7), available at hgps://www.nytimes.com/ZOI7/01/06/us/opioid-crisis-epidemic.html.

6 German Lopez & Sarah Frostenson, How the Opioid Epidemic Became America’s Wors! Drug Crisis
Ever, in 15 Maps and Char!s, Vox (Mar. 23, 2017), available at hgp://www.vox.com/science-and-

health/2017/3/23/14987892/opioid-heroin-gpidemic-charts (hereaRer “Lopez, How the Opioid Epidemic”);
National Institute on Drug Abuse, Overdose Death Rates, ht;ps://www.drugabuse.gov/related-

topics/trends-statistics/overdose-death-rates (last visited Mar. 6, 2017).
3

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Drug overdose deaths ln Amerlca
Note: Some deaths on this chart may overlap lt they involve mu|t|pte drugs.

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l Non-mttmdono synthetic opioids (particulmiy fentonle l Noroin

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Drugs lnvolved tn U.S. overdose Deaths, 2000 to 2016

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4. In an open letter to the nation’s physicians in August 2016, the then-U.S. Surgeon General

expressly connected this “urgent health crisis” to “heavy marketing of opioids to

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doctors. . .[m]any of [whom] were even taught - incorrectly- that opioids are not addictive
when prescribed for legitimate pain”7

5. Like many states across the country, Florida is suffering the effects of` this unprecedented
addiction epidemic. Florida healthcare providers wrote 67.1 prescriptions for opioid
medications per 100 people in 2015 and 66.6 per 100 people in 2016. Of`the 33,000 people
who died nationwide of opioid overdoses in 2015, approximately 12% were Floridian. On
May 4, 2017, Govemor Rick Scott officially declared the opioid epidemic a public health
emergency in Florida, stating, “The individuals struggling with drug use are sons,
daughters, mothers, fathers, sisters, brothers, and friends, and each tragic case leaves loved
ones searching for answers and praying for help. Families across our nation are fighting
the opioid epidemic, and Florida is going to do everything possible to help our
communities.”8

6. The region made up of Sarasota, Manatee and DeSoto counties has been hit hard by the
opioid epidemic. The area has seen opioid usage and accidental overdose deaths rise to
alarming levels - from 246 drug overdose deaths in 2015 to 263 in 2016.9 Manatee County,
known as the epicenter of the opioid epidemic in Florida'°, saw deaths rise from 153 in

2015 to 182 in 2016.ll Manatee had the highest number of per capita deaths in 2016 from

 

7 Vivek H. Murthy, Letterjrom the Surgeon General, August 2016, available at ht_tp:l/turnthetiderx.org[.
8 Michael Auslen, Gov. Scott declares public health emergency over opioid crisis, Miami Herald (May 3,

2017), available at hgp://www.miamiherald.com/news/health-care/article148355444.htm1.

° Zac Anderson, 0verdose Dealhs keep climbing in Southwest Florida, Sarasota Herald-Tribune (July 27,
2017), available at htLp://www.heraldtribune.com/news/20l 70727/0verdose-deaths-keep-climbing-in-
southwest-florida. (hereafter “Anderson, 0verdose Deaths”).

'° Hannah Morse, Manatee ready lo sue opioid makers over epidemic 's cos!, Bradenton Herald (Mar. 20,
2018), available at http://www.bradenton.com/news/local/article206076599.html (herealier “Morse,
Manalee ready to sue ").

" Anderson, Overdose Deaths, supra n. 9.

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derivatives of fentanyl, a powerful synthetic opioid.'2 The fentanyl derivative carfentanil
alone killed 95 people in Manatee in 2016. In fact, the county’s death rate is rising so
rapidly, the county is being forced to building a new morgue because they are running out
of space to store bodies.'3At least thirty-nine of those deaths in 2016 were related to
prescription opioid usage "‘ with numbers likely to increase, as the Manatee County
Sheriff’ s Off'tce has already investigated 47 suspected overdoses in the first two months of
2018, at least 6 of which were fatal.15

7. As such, located in Manatee County, the City of Palmetto (“City” or "Palmetto”), sits
squarely in the crosshairs of the opioid-fileled-epidemic. Indeed, the City’s residents have
spent untold amounts on opioid medications they believe to be safe and effective, only to
find themselves addicted, or worse. Upon information and belief, Palmetto spends millions
of dollars each year to provide a wide range of opioid-and~addiction-related services for its
residences and visitors - money that it would not have had to spend but for the extreme
and continuing public nuisance caused by Defendants’ actions - including, as just one
example, law enforcement and emergency response services and treatment.

8. In fact, the City has seen an unprecedented growth in the drug addiction treatment industry,

which now helps people from across the country who are desperately seeking treatment for

 

’Z Zac Anderson, Opioid abuse legislation facing resistance from Florida doctors, Sarasota Herald

Tribune (Jan. 10, 2018), available at hgp://www.heraldtribune.com/news/20l801 10/opioid-abuse-
legjslation-facing-resistance-from-florida-doctors.

'3 Dan Matica, Manatee Co. to sue drug companies amid opioid crisis, Fox 13 News (Dec. 5, 2017),
available at ht ://www.fox13news.com/news/local-news/manatee-co-to-sue-dru -com anies-amid-
opiod-crisis.

14 Anderson, Overdose Dealhs, supra n.9.

'5 Jessica De Leon, New Florida opioids law limits how many painkillers you can have, Bradenton Herald

(Mar. 19, 2018), available at httg://www.bradenton.com/news/Iocal/article205837024.html.
6

       

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an opioid addiction that was caused by defendants’ failure to report suspicious orders of
opioid medication.

Drug manufacturers’ deceptive marketing and sale of opioids to treat chronic pain is one
of the main drivers16 of this catastrophic epidemic. Prescription opioids have historically
been used for short-term, post-surgical, and trauma-related pain, and for palliative end-of-
life care primarily in cancer patients, Because opioids are, by their very nature, highly
addictive and dangerous, the U.S. Food and Drug Administration ("FDA”) regulates them
as Schedule II Controlled Substances, i.e., drugs that have a high potential for abuse and

that may lead to severe psychological or physical dependence

10. This demonstrated need for caution comports with the historical understanding of both the

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medical community and the American culture at large regarding the serious consequences
of opioid use and misuse. Indeed, thousands of years of experience have taught that
opium’s ability to relieve pain comes at a steep price; it is a dangerously addictive and
often lethal substance For generations, physicians were taught that opioid painkillers were
highly addictive and should be used sparingly and primarily for patients near death. '7 The
medical community also understood that opioids were poorly suited for long-term use for
two reasons: increasing patient drug tolerance would require escalating doses, and resulting
dependence would make it extremely difficult to discontinue their use.

That prevailing and accurate understanding of the increased risks and decreasing benefits

of long-term opioid use limited drug manufacturers’ ability to drive sales. ln order to

 

'° The other main driver of this epidemic is both the drug manufacturers’ and wholesalers’ failure to report
suspicious orders as required by state and federal law, discussed infra.
" Harriet Ryan, et al., OxyContin goes global - “We 're only just getting slarzed. " L.A. Times (Dec. 18,

2016), available at ht;p://www.latimes.com/proiects/la-me-oxycontin-parB/ (hereinafter “Ryan, OxyConlin

goes global”).

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12.

13.

decrease reasonable concerns about opioids and to maximize profits, opioid manufacturers,
including defendants Purdue, Janssen, Endo, Cephalon, Insys, and Mallinckrodt
(individually defined in § II infra) (collectively, the “Manufacturing Defendants”) engaged
in a concerted, coordinated strategy to shift the way in which doctors and patients think
about pain and, specifically, to encourage the use of opioids to treat not just the relative
few who suffer from acute post-surgical pain and end-stage cancer pain, but the masses
who suffer from a multitude of common chronic pain conditions.

Borrowing from the tobacco industry’s playbook, the Manufacturing Defendants employed
ingenious marketing strategies, as detailed further herein, designed to "reeducate” the
public and prescribers. They deliberately conceived these strategies to create, and in fact
did create, an entirely new “health care" narrative - one in which opioids are considered
safe and effective for long-term use, and where pain is aggressiver treated at all costs (with
opioids). According to this newly fabricated narrative, pain was seriously under-treated
throughout the United States because opioids were under-prescribed, and doctors were put
under enormous pressure to treat all kinds of pain with opioids.

The Manufacturing Defendants’ intention was to normalize aggressive prescribing of
opioids for chronic pain by downplaying the very real risks of opioid usage, especially the
risk of addiction, and by exaggerating the benefits of use for chronic pain, To accomplish
this goal, they intentionally misled health care providers, including doctors, as well patients
about the appropriate use, risks, safety, and efficacy of prescription opioids. They did so
directly through sales representatives and marketing materials and indirectly through
financial relationships with academic physicians, professional societies, hospitals, the trade

association for state medical boards and seemingly neutral third-party foundations. False

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and misleading messages about the safety, addictiveness, and efficacy were disseminated
by infiltrating professional medical societies with shills, and crafting and influencing
industry guidelines in order to disseminate false and deceptive pro-opioid communiqués
under the guise of science and truth.

14. The Manufacturing Defendants assured the public and prescribers that the risk of becoming
addicted to prescription opioids among patients being treated for pain was less than 1%. In
reality, many people with no addiction history can become addicted after just days or weeks
of use. '3 Estimates for the risk of addiction range up to 56% of patients receiving long-tenn
prescription opioid painkillers.'° Indeed, almost one in five people who take an opioid for
only ten days will still be taking opioids one year later.20 The following chart?' illustrates
the degree to which the risk of dependency exists even after just several day of opioid

therapy:

 

'“ Lembke (2016), supra n.3, at 22.
'° Bridget A. Martell, et al., Systemic Review. Opioid treatment for Chronic Back Pain: Prevalence,
Ej]icacy, and Association with Addiction, 146(2) Ann. Intem. Med. 116-27 (2007), available at
ht ://annals.or aim/article/732048/s stematic-review-o ioid-treatment-chronic-back- '

efficacy-association
2° Sarah Frostenson, The Risk of a Single 5-Day Opioid Prescription, in One Chart, Vox (Mar.18,2017),
available at htt ://www. vox. com/2017/3/18/14954626/one-sim le-wa -to-curb-o ioid-overuse~ rescribe-
ts.hem-for-.'$-days-or-les
2' Lopez, How the Opioid Epidemic, supra n.6.

      

   

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Risk of continued opioid use
increases at 4-5 days

Like/mess of continuing to use opioids

50%

40

30 ------

20

  

10

  

llke_llness of dependency
1a , spikes here

s 10 15 20 25 ao as 40
Numbet of days for initial opioid prescription

Source: Centers for Disease Contro| and Prevention
Credit: Sarah Frostenson `

15. By 2012, Florida doctors were writing 73 opioid prescriptions for every 100 Florida state
residents.22 ln essence, the Manufacturing Defendants manipulated and misrepresented

medical science to serve their own agenda at great human cost:

 

22 Opioid Painkiller Prescribing !nfographic, Centers for Disease Control and Prevention: Vital Signs (.1 uly

2014), available at https://www.cdc.gov/vitalsigr_is/opioid-prescribing[infog[aphic.html#map.
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7 - - Cpiold sales kg/10,000 -
- Opioid deaths/1 00,000
- Oplold treatment admissions/10.000

 

 

 

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1999 2000 2001 2002 2003 2004 2005 2006 2007 2008 2009 2010
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16. Defendants McKesson Corporation (“McKesson”), Cardinal Health, lnc. (“Cardinal
Health”), and AmerisourceBergen Corporation (“AmerisourceBergen”) (collectively, the
“Wholesaler Defendants”) are major distributors of controlled substances that act as
middlemen between drug companies and pharmacies. The Wholesaler Defendants (in
addition to the manufacturing Defendants) were also aware of the growing epidemic from
the addiction to, and abuse of, prescription opioids supplied by them. The Manufacturing
Defendants and the Wholesaler Defendants were accordingly both well aware of the
quantities and frequency with which those drugs were distributed to entities in Palmetto.
However, both the Manufacturing Defendants and the Wholesaler Defendants persisted in
failing to report suspicious sales as required by state and federal law. Their failure to follow
the law significantly contributed to soaring addiction and overdose rates in Palmetto.

17. Defendants wholly failed to meet their obligations to timely report and put a halt to these
and other suspicious sales, fueling the epidemic in Palmetto.

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18, The Wholesaler Defendants’ violations have already led to fines elsewhere. McKesson, the
largest prescription wholesaler company in the United States, agreed on January 17, 2017,
to pay a $150 million fine to the federal government for such misconduct In December
2016, Cardinal Health reached a $44 million settlement with the federal govemment. One
month later, Cardinal Health reached a $20 million settlement with the State of West
Virginia, which has been among the states hardest hit by opioid abuse. AmerisourceBergen
also recently agreed to pay West Virginia $16 million for similar violations.23

19. If profit be the measure, Defendants’ scheme has been met with tremendous success.
According to Fortune magazine, McKesson, AmerisourceBergen, and Cardinal Health are
each among the top 15 companies in the Fortune 500. The Sackler family, which owns
Purdue - a privately held company - is listed on Fortune’s list of America’s wealthiest
families. “The Sackler dynasty’s ruthless marketing of painkillers has generated billions of
dollars- and millions of addicts.”24 However, the impact of opioid addiction has devastated
the nation, emerging as one of the country’s, Florida’s, and Palmetto’s major health threats.
As reported by National Public Radio, opioid addiction is thought to be among factors
contributing to the United States’ increase in overall rate for mortality from 2014 to 2015,
the first time in a decade that the mortality rate increased. Former FDA Commissioner
David A. Kessler has called the failure to recognize the dangers of painkillers “one of the
greatest mistakes of modern medicine." As alleged herein, that “mistake” resulted in large

part from defendants’ intentionally false and misleading messaging, which was carefully

 

23 Charles Omstein, Drug Distributors Penalized F or Turm'ng Blind Eyes in Opioid Epidemic, National

Public Radio (Jan. 27, 2017), available at http://www.npr.org[sectionslhealth-

shots/2017/01/27/511858862/dru -d1stributors- enalized-for-tumin -blind-e e-m-o ioid-e idemic.
24 Keefe, Empire of Pain, supra n.4.

          

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calculated to reach as many prescribers as possible, as well as Defendants’ willingness to
turn a blind eye to suspicious orders.

20, Even where some defendants have previously been forced to admit the unlawful marketing
and sale of opioids and/or the failure to report suspicious orders, the conduct has not abated
because profits realized by the aggressive marketing and prescribing of opioids continue
to dwarf the penalties imposed as a result of violations found. Thus, the incentive to push
opioids remains. The scheme has been so financially successful, in fact, that despite the
clear and obvious devastation it caused at home, Purdue’s owners, the Sackler family, are
now pursuing the same strategy abroad. As reported by the Los Angeles Times, Purdue
states “[w]e’re onlyjust getting started,” and intends to “[p]ut the painkiller that set off the
United States opioid crisis into medicine cabinets worldwide. A network of international
companies owned by the family is moving rapidly into Latin America, Asia, the Middle
East, Afn`ca and other regions, and is pushing for broadened use of painkillers in places ill-
prepared to deal with the ravages of opioid use and addiction.”25

PARTIES, JURISDICTION, AND VENUE

21. Plaintiff Palmetto is a municipal corporation organized under the laws of the State of
Florida. Palmetto is responsible for the public health, safety, and welfare of its residents,
is a citizen of the State of Florida for diversity purposes and has the capacity to sue and be
sued. The City has been authorized by the City Commission to bring this suit.

22. Defendant Purdue Pharma L.P, is a Delaware limited partnership formed in 1991 with

headquarters located in Stamford, Connecticut. The company maintains four operational

 

25 Ryan, OxyContin Goes Global, supra n.17.
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branches: Purdue Pharma L.P., the Purdue Frederick Company, Purdue Pharmaceutical
Products L.P., and Purdue Products L.P. (referred to collectively herein as "Purdue”).

23. Defendant Cephalon, Inc. is a Delaware corporation with its headquarters and principal
place of business located in Frazer, Pennsylvania. Cephalon, Inc. was acquired by Teva
Pharmaceutical lndustries Ltd. (°‘Teva Ltd"’) in October 201 l. Teva Ltd. ls incorporated
under the laws of lsrael with its principal place of business in Petah Tikva, Israel. Since
Teva Ltd. Acquired with Cephalon, lnc., its U.S. sales and marketing activities have been
conducted by Teva Pharmaceuticals USA, lnc. (“Teva USA” and, together with Teva Ltd.,
“Teva”), a wholly-owned operating subsidiary of Teva Ltd. Teva USA’s headquarters and
principal place of business are in North Wales, Pennsylvania. Cephalon, lnc. and Teva are
collectively referred to herein as “Cephalon."

24. Defendant Endo Intemational plc is an lrish public limited company with its headquarters
in Dublin, Ireland. Endo Pharmaceuticals lnc. (together with Endo lntemational plc,
“Endo”) is a Delaware corporation with its headquarters and principal place of business in
Malvem, Pennsylvania. Endo Pharmaceuticals Inc. is an indirectly wholly-owned
subsidiary of Endo Intemational plc.

25. Defendant Janssen Phannaceuticals, lnc. (“Janssen”) (fonnerly known as Ortho-McNeil-
Janssen-Pharmaceuticals, lnc. and Janssen Pharmaceutica) is headquartered in Titusville,
New Jersey and Raritan, New Jersey. Janssen is a wholly-owned subsidiary of Johnson &
Johnson, a New Jersey corporation with its principal place of business in New Brunswick,
New Jersey.

26. Defendant Insys Therapeutics, lnc. (“Insys”) is a Delaware corporation with its principal

place of business in Chandler, Arizona.

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27, Defendant Mallinckrodt plc is an Irish public limited company with its headquarters in
Staines-Upon-Thames, Surrey, United Kingdom. Defendant Mallinckrodt Pharmaceuticals
(together with Mallinckrodt plc, "Mallinckrodt") is a Delaware corporation with its
headquarters in Hazelwood, Missouri.

28. Defendant AmerisourceBergen is a Delaware corporation with its headquarters and
principal place of business in Chesterbrook, Pennsylvania.

29. Defendant Cardinal Health is a Delaware corporation with its headquarters and principal
place of business located in Dublin, Ohio.

30. Defendant McKesson is a Delaware corporation with its headquarters and principal place
of business located in San Francisco, Califomia.

31. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 and 28 U.S.C. §
1332.

32. Venue is proper pursuant to 28 U.S.C. § 1391. This Court has personal jurisdiction over
each defendant as each purposefully availed itself of the privilege of exploiting forum-
based business opportunities, and the exercise of personal jurisdiction is accordingly proper
pursuant to Fla. Stat. § 48.193.

FACTUAL ALLEGATIONS

l. Over the Couse of More than Two Decades, the Manufacturing Defendants Misled
the Public Regardiog the Dangers of Opioid Addiction and the Efficacy of Opioids
for Long-Term Use, Causing Sales and Overdose Rates to Soar

33. From the mid-903 to the present, the Manufacturing Defendants aggressively marketed and
falsely promoted liberal opioid prescribing as presenting little to no risk of addiction, even
when used long term for the treatment of chronic pain, Upon information and belief, they
infiltrated academic medicine and regulatory agencies with sham evidence to convince
doctors that treating chronic pain with long-term opioids was evidence-based medicine

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when, in fact, it was not. Huge profits resulted from these efforts, as did the present
addiction and overdose crisis.
A. Background on Opioid Prescribing
34. The Manufacturing Defendants’ scheme to drive their rapid and dramatic expansion of

prescription opioids was rooted in two pieces of so-ca|led evidence. The first purported
“evidence” was the publication of a 100-word letter to the editor published in 1980 in the
New England Journal of Medicine ("1980 Letter to the Editor").26 A recent article about
the letter, titled “A 5-sentence letter helped trigger America’s deadliest drug overdose crisis
ever,” quoted a 2017 study in the New England Journal of Medicine, in which researchers
concluded:

[W]e found that a five-sentence letter published in the Journal in 1980 was

a heavily and uncritically cited as evidence that addiction was rare in long-

tenn opioid therapy. We believe that this citation pattern contributed to the

North American opioid crisis by helping to shape a narrative that allayed

prescribers’ concerns about the risk of addiction associated with long-term
opioid therapy.27

 

26 The 1980 Letter to the Editor, by .lane Porter (“Porter”) and Dr. Hershel Jick (“Jick"), reported that less
than 1% of patients at Boston University Medical Center who received narcotics while hospitalized became
addicted. Jane Porter & Hershel Jick, Addicrion Rates in Patients Treated with Narcolics, 302(2)New Eng.
J. Med. 123 (Jan. 10, 1980). However, the letter did not support the conclusion for which it was often cited
by the industry, Harrison Jacobs, T his One-Paragraph letter May Have Launched the Opioid Epidemic,
Bus. lnsider (May 26, 2016), available at htt_r_)://www.businessinsider.com/porter-and-jick-letter-launched-
the-opioid-epidemic-ZOI6-5 (hereinafter “.lacobs, One-Paragraph Letter”). As discussed in a 2009 article
in the American .loumal of Public Health, the 1980 Letter to the Editor “shed[] some light on the risk of
addiction for acute pain, [but did] not help establish the risk of iatrogenic addiction when opioids are used
daily for a prolonged time in treating chronic pain. [lndeed, t]here are a number of studies . . . that
demonstrate that in the treatment of chronic non-cancer-related pain with opioids, there is a high incidence
of prescription drug abuse.” Art Van Zee, The Promotion and Marketing of anContin.' Commercial
Triumph, Public Health Tragedy, 99(2) Am. J. Pub. Health 221-27 (Feb. 2009) (hereinaiier, “Van Zee,
Promotion and Marketing”).

27 German Lopez, A 5-Sentence Letter helped Trigger America’s Deadliest Overdose Crisis Ever, Vox

(June l , 201 7), available at https://www.vox.com/science-and-health/ZO1 7/6/1/1 5723034/opioid-epidemic-
letter-1980-study.

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35. The second piece of purported evidence was comprised of a single medical study published
by Drs. Russel| Portenoy (“Portenoy”) and Kathleen Foley (“Foley”) (“Portenoy
Publication”).28 Portenoy emerged as one of the industry’s most vocal proponents of long-
term opioid use, and essentially made it his life’s work to campaign for the movement to
increase the use of prescription opioids. Portenoy was one of Big Pharnia’s2" “thought
leaders” (in effect, one of Big Phanna’s aforementioned shil|s) and was paid to travel the
country to promote more liberal prescribing for many types of pain, His talks were
sponsored by the Manufacturing Defendants and organization paid by them as continuing
medical education (“CME”) programs for doctors. Portenoy also had financial
relationships with at least a dozen pharmaceutical companies, most of which produced
prescription opioids.30

36. Portenoy has not admitted that he minimized the risk of opioids.3' In a 2011 interview
released by Physicians for Responsible Opioid Prescribing, Portenoy stated that his earlier

work purposefully relied on evidence that was not “Real” and lefi real evidence behind:

 

23 In 1986, the medical joumal Pain, which would eventually become the official journal of the American
Pain Society (“APS”), published an article by Portenoy and Foley summarizing the results of a “study" of
38 chronic non-cancer pain patients who had been treated with opioid painkillers. Portenoy and Foley
concluded that, for non-cancer pain, opioids “can be safely and effectively prescribed to selected patients
with relatively little risk of producing the maladaptive behaviors which define opioid abuse.” However,
their study was neither scientific nor did it meet the rigorous standards commonly used to evaluate the
validity and strength of such studies in the medical community. For instance, there was no placebo control
group, and the results were retroactive (asking patients to describe prior experiences with opioid treatment
rather than less biased, in-the-moment reports). The authors themselves advised caution, stating that the
drugs should be used as an "alternative therapy” and recognizing that longer term studies of patients on
opioids would have to be performed. None were. See Russell K. Portenoy & Kathleen M. Foley, Chronic
use of opioid analgesics in non-malignant pain.' report of 38 cases, 25(2) Pain 171-86 (May 1986).

2° “Big Phanna” is used herein to refer to large pharmaceutical companies considered especially as a
politically influential group.

30 Lembke (2016), supra n.4, at 59 (citing Barry Meier, Pain Killer: A “Wonder " Drug 's Trail of
Addiction and Death (St. Martin’s Press, lst ed. 2003)).

3' Celine Gounder, Who ls Responsiblejbr the Pain-Pill Epidemic?, New Yorker (Nov. 8, 2013), available
at ht ://www.ne orker.comfbusiness/currenc /who-is-res onsible-for-the- ` ill-e idemic
(hereinafier “Gounder, Who ls Responsible”).

     

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l gave so many lectures to primary care audiences in which the Porter and
Jick article was just one piece of data that I would then cite, and l would
cite six, seven, maybe ten different avenues of though or avenues of
evidence, none of which represented real evidence, and yet what 1 was
trying to do was to create a narrative so that the primary care audience
would look at this information in [total] and feel more comfortable about
opioids in a way that they hadn’t before. 111 essence this was education to
destigmatize [0pi0ids], and because the primary goal was to destigmatize,
we chen left evidence behind.32

37. The damage, however, was already done. The Manufacturing Defendants used these two
publications, the 1980 Letter to the Editor and the Portenoy Publication, and the foundation
for a massive, far-reaching campaign to dramatically shift the thinking of healthcare
providers, patients, policymakers, and the public on the risk of addiction presented by
opioid therapy. By 1997, the APS and the American Academy of Pain Medicine (“AAPM”)
(both funded by the Manufacturing Defendants) issued a “landmark consensus,” co-
authored by Portenoy, stating there is little risk of action or overdose in pain patients.33

38. In the years following publication of the 1980 Letter to the Editor and the Portenoy
Publication, the Manufacturing Defendants introduced powerful prescription opioids into
the market. Purdue introduced MS Contin in 1987 and OxyContin in 1995; Janssen
introduced Duragesic in 1990; and Cephalon’s Actiq was first approved by the FDA in
1998. More recently, Endo’s Opana and Opana ER were approved by the FDA in 2006;
Janssen’s Nucynta, approvied in 2008 and Nucynta ER, approved in 2011; Cephalon’s
Fentora, approved in 2006; and lnsys’s Subsys. approved in 2012.

39. These branded prescription opioids and their generic counterparts are highly addictive.

Between doses, patients are likely to experience symptoms of withdrawal that include, but

 

32 Jacobs, One-Paragraph Letter, supra n.23; Andrew Kolodny, Opioidsfor Chronic Pain.'
Addiction is NOT Rare, YouTube (Oct. 30, 201 l), available at

https://www.youtube.com/watch?v=DgDBWN9D4w&feature-Ioutu.be.

33 Jacobs, 0ne-Paragraph Letter, supra n.23.

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are in no way limited to: suffering from body aches; nausea; sweats; racing heart;
hypertension; insomnia; anxiety; agitation; opioid cravings; and opioid induced
hyperalgesia (heightened sensitivity to pain). When the agony is relieved by the next dose,
it creates a cycle of dysphoria and euphoria that fosters addiction and dependence

40. Despite the prescription opioids’ highly addictive qualities, the Manufacturing Defendants
launched aggressive pro-opioid marketing efforts that effected a dramatic shift in the
public's and prescribers’ perception of the safety and efficacy of opioids for chronic long-
term pain and everyday use. In direct contravention to what doctors had previously
understood about opioid risk and benefits, and for the past two decades, doctors and other
health care providers have been encouraged by the Manufacturing Defendants to prescribe
opioids aggressiver and were assured, based on false evidence provided directly by the
Manufacturing Defendants and numerous medical entities funded by the Manufacturing
Defendants and others with a financial stake in generating more opioid prescriptions, that
(i) the risk of becoming addicted was less than l%; and (ii) great harm was caused by
°‘under-treated” pain." These two foundational falsehoods has led directly to the current
opioid crisis.

41. 'I'he Defendants’ strategy was a brilliant marketing success. It was designed to recategorize
back pain, neck pain, headaches, fibromyalgia, and other common condition suffered by
most of the population at some point in their lives as a distinct malady- chronic pain - that
doctors and patients should take seriously and for which opioids were an appropriate,
successfiil, and low-risk treatment. Indeed, studies not show that more than 85% of patients

taking OxyContin at common doses are doing so for chronic non-cancer pain,34

 

34 Ryan, OxyContin goes global, supra n. 17.
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42. This false and misleading marketing strategy continued despite studies revealing that up to
56% of patients receiving long-term prescription opioid painkillers for chronic back pain
progress to addictive opioid use, including patients with no prior history of addiction.35

43. Thus, based on false and incomplete evidence, the Manufacturing Defendants
exponentially expanded their market from patients with end-stage cancer and acute pain,
an obviously limited customer base, to anyone suffering fi'om chronic pain, which by at
least one account includes approximately 100 million Americans - nearly one-third of the
country’s population.36 The treatment of chronic pain now includes patients whose general
health is otherwise good enough to refill prescriptions month after month and year alier
year. This has significantly increased and the manufacture, promotion, and distribution (all
without reporting either suspicious sales and aberrantly high sales volume of opioids) for
such treatment has made defendants billions of dollars. It has also led to the opioid
addiction and overdose crisis in the City of Palmetto.

B. The Fraudulent Sales Practices

44. As set forth below, the Manufacturing Defendants employed a variety of strategies to
normalize the use of opioids for chronic long-term pain without disclosing to or otherwise
informing the public and prescribers about the very significant risk of addiction, overdose,

and death.

 

33 Lembke (2016), supra n.4, at 22 (citing Martell, et al., Systematic Review: Opioid Treatmentfor Chronic
Back Pain: Prevalence, Ejicacy and Association with Addiction, 146(2) Ann. Intem. Med. l 16-27 (2007)).
36 AAPM Facts and Figures on Pain, The American Academy of Pain Medicine,

ht_tp://www.painmed.org[patientcenter/facts on pain.aspx#refer (last visited Mar. 07, 2018).
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l. The Manufacturing Defendants Funded Front Organizations that Published
and Disseminated False and Misleading Markett'ng Materials.

45. Defendants sponsored purportedly neutral medical boards and foundations that educated
doctors and set guidelines for the use of opioids in medical treatment in order to influence
and promote the liberal prescribing of opioids for chronic pain. The following
organizations, funded by the Manufacturing Defendants, advised doctors that liberal
prescribing of opioids was both safe and effective. ln truth, it was neither.

46. Federation of State Medical Boards: The Federation of State Mcdical Boards ("FSMB”)
is a national organization that functions as a trade group representing the 70 medical and
osteopathic boards in the United States, The FSMB routinely develops guidelines that serve
for model policies with the stated goal of improving medical practice. Defendants Purdue,
Cephalon, and Endo have provided substantial funding to the FSMB. Among its members
are the Florida Board of Medicine and the Florida Board of Osteopathic Medicine.

47. In 2007, the FSMB published and distributed a physician’s guide on the use of opioids to
treat chronic pain entitled “Responsible Opioid Prescribing: A Physician’s Guide” and
authored by Dr. Scott M. Fishman (“Fishman”). After the Fishman guide was adopted as a
model policy, the FSMB reported asked Purdue for $100,00 to help pay for printing and
distribution. Ultimately, the 2007 Fishman guide was disseminated by the FSMB to
approximately 700,000 practicing doctors.

48. The Fishman guide's clear purpose is to focus prescribers on the purported under-treatment
of pain and falsely assure them that opioid therapy is an appropriate treatment for chronic,
non-cancer related pain:

0 Pain management is integral to good medical practice and for all
patients;

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0 Opioids therapy to relieve pain and improve function is a legitimate
medical practice for acute and chronic pain of both cancer and non-
cancer origins,'

0 Patients should not be denied opioid medication except in light of
clear evidence that such medications are harmful to the patient.

* * *

F our key factors contribute to the ongoing problem of under treated pain:

1. Lack of knowledge of medical standards, current research, and clinical
guidelines for appropriate pain treatrnent;

2. The perception that prescribing adequate amounts of opioids will result
in unnecessary scrutiny by regulatory authorities;

3. Misunderstanding of addiction and dependence; and

4. Lack of understanding of regulatory practices and processes.37

49. Whi|e it acknowledges the risk of “abuse and diversion” (with scant attention paid to
addiction), the Fishman guide purports to offer “professional guidelines” that will “easily
and efficient|y” allow physicians to manage that risk and “minimize the potential for [such]
abuse.”38 Indeed, it states that even for those patients assessed to have risk of substance of
abuse, “it does not mean that opioid use will become problematic or that opioids are
contraindicated, “just that physicians should use additional care in prescribing."

50. The Fishman guide further warns physicians to “[b]e aware of the distinction between
pseudoaddiction and addiction” and teaches that behaviors such as “[r]requesting [drug]
by names,” “[d]demanding or manipulative behavior,” “[obtaining opioid drugs from more
than one physician” and “[h]oarding opioids,” which are, in fact, signs of genuine

addiction, are all really just signs of “pseudoaddiction.” 39 lt defines “Physical

 

37 Scott M. Fishman, Responsible Opioid Prescribing: A Physician ’s Guide. 8-9 (Waterford Life Scicnces
2007).

38 ld. al 9.

39 Id. at 62.

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Dependence" as an acceptable result ofopioid therapy not to be equated with addiction and
states that while “[i]t may be tempting to assume that patients with chronic pain and a
history of recreational drug use who are not adherent to a treatment regimen are abusing
medication,” there could be other acceptable reason[s] for non-adherence.“0 The Fishman
guide published in 2007 , sponsored by the Manufacturing Defendants and their pain
foundation, dramatically overstated the safety and efficacy of opioids and understated the
risk of opioid addiction, but has nonetheless seminal authority status on opioid prescribing
for the medical profession.
51. ln 2012, Fishman Guide was updated ("Updated Fishman Guide) but again emphasizes the
“catastrophic” “under-treatment” of pain and the “crisis” such under-treatment created:
Given the magnitude of the problems related to opioid analgesics, it can be
tempting to resort to draconian solutions: clinicians may simply stop
prescribing opioids, or legislation intended to improve pharmacovigilance
may inadvertently curtail patient access to care. As we work to reduce

diversion and misuse of prescription opioids, it ’s critical to remember that
the problem of unrelieved pain remains as urgent as ever,”

52. The 2012 Updated Fishman Guide still assures the healthcare profession that "'[o]pioid
therapy to relieve pain and improve function is legitimate medical practice for acute and
chronic pain of both cancer and non-cancer origins."42

53. ln another guide authored by Fishman (Second Fishman Guide), he continues to downplay
the risk of addiction: “I believe clinicians must be vety careful with the label ‘addict’. I

draw a distinction between a ‘chemical coper’ and an addict.”43 The 2012 Second

 

‘° ld.

‘" Scott M. Fishman, Responsible Opioid Prescribing:/1 Clinician ’s Guide, 10-11 (2d ed. 2012).

42 ld. at 11.

43 Scott M. Fishman, Listening to Pain: A Physician ’s Guide to lmproving Pain Management Tltrough
Better Communication 45 (Oxford University Press 2012).

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Fishman Guide also continues to present symptoms of addiction as symptoms of
“pseudoaddiction."

54. The heightened focus on the under-treatment of pain was a concept devised by Big Pharma
and intended to sell opioids. The FSMB actually issued a report calling on medical boards
to punish doctors for inadequately treating pain.“4 Among the drahers of this policy was
Dr. J. David Haddox (“Haddox”), who coined the phrase “pseudoaddiction," which wholly
lacked any evidence-based science but nonetheless quickly became the de facto term of
choice for the Manufacturing Defendants and their allies to promote the use of opioids,
even to patients displaying addiction symptoms. Later joining Purdue as vice president,45
Haddox likened OxyContin to a harmless vegetable, stating at a 2003 conference at
Columbia University, "lf l gave you a stalk of celery and you ate that, it would be healthy.
But if you put in the a blender and tried to shoot it into your veins, it would not be good.”46

55. As noted in 1111 92-103 inji'a, in 2012 and again in 2017, these various guides and the sources
of their funding became the subject of a Senate investigation.

56. On June 8, 2012, the FSMB submitted a letter to the U.S. Senate Committee on Finance
“Senate Finance Committee”) concerning its investigation into the abuse and misuse of
opioids.‘" While the letter acknowledged the escalation of drug abuse and related deaths
resulting from prescription painkillers, the FSMB continued to focus on the “serious and
related problem” that “[m]illions of Americans suffer from debilitating pain - a condition

that, for some, can be relieved through the use of opioids.” Among other things, the letter

 

‘“ Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, Wall St. J., Dec 17. 2012,
at Al.

45 Gounder, Who is Responsible, supra n.31.

“’ Keefe, Empire of Pain, supra n.4.

47 June 8, 2012 Letter from Federation of State Medical Boards to U.S. Senators Max Baucus and Charles
Grassley.

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stated, “Studies have concluded that both acute pain and chronic pain are ofien under-
treated in the United States, creating some serious repercussions that include the loss of
productivity and quality of life.” The letter cited no such studies. The letter also confirmed
that the FSMB’s "Responsible Opioid prescribing: A Physician’s Guide” has been
distributed in each of the 50 states and the District of Columbia.

57. In addition, the FSMB letter disclosed payments the FSMB received from organizations
that develop, manufacture, produce, market, or promote the use of opioid-based drugs from

1997 through the present, lncluded in the payments received are the following payments

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

from defendants:
Company Fiscal Year Amount
Purdue 2001 $38,324.56
2002 $ 10,000.00
2003 $85,180.50
2004 $87,895.00
2005 $244,000.00
2006 $207,000.00
2007 $50.000.00
2008 8100,000.00
Total Purdue Payments $822,400.06
Endo 2007 840,000.00
2008 8100,000.00
2009 s100.000.00
201 1 $125,000.00
2012 $46,620.00
Total Endo Payments 8371,620.00
Cephalon 2007 $30,000.00
2008 8100,000.00
201 1 $50,000.00
Total Cephalon Payments $180,000.00
Mallinckrodt 201 l $100,000.00
Total Mallinckrodt Payments $100,000.00

 

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58. The letter also disclosed payments of 840,000 by Endo and $50,000 by Purdue to directly
fund the production of ‘“Responsible Opioid Prescribing” and disclosed that 42,366 copies
of “Responsible Opioid Prescribing” were distributed in Florida alone.

59. The Joint Commission: The Joint Commission is an organization that established
standards for treatment and accredits healthcare organizations in the United Statcs. The
Manufacturing Defendants, including Purdue, contributed misleading and groundless
teaching materials and videos to the Joint Commission. Not surprisingly, these materials
emphasized what Pharma coined the "under-treatment of pain”; referenced pain as the
“filih vital sign” (the first and only unmeasurable/subjective vital sign) that must be
monitored and treated; and encouraged the use of prescription opioids for chronic pain
while minimizing the danger of addiction. lt also deprecated doctors’ concerns about
addiction as “inaccurate and exaggerated."

60. ln 2000, the Joint Commission printed a book for purchase by doctors as part of required
continuing education seminars that cited studies claiming "there is no evidence that
addiction is a significant issue when persons are given opioids for pain control.” The
book was sponsored by Purdue.

61. In 2001, the Joint Commission and the National Pharmaceutical Council (founded in 1953
and supported by the nation’s major research-based biopharmaceutical companies‘s)
collaborated to issue a 101-page monograph titled “Pain: Current Understanding of
Assessment, Management, and Treatments.” The monograph states falsely that beliefs
about opioids being addictive are “erroneous”:

Societal issues that contribute to the undertreatment of pain include drug

abuse programs and erroneous beliefs about tolerance, physical
dependence, and addiction (see I.E.5). For example, some clinicians

 

‘“3 Currently funded by Johnson & Johnson, Purdue, and Teva, among others.

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incorrectly assume that exposure to an addictive drug usually results in
addiction.

b. Etiology, issue, and concerns

Many medications produce tolerance and physical dependence, and
some (e.g. opioids, sedatives, stimulants, anxiolytics, some muscle
relaxants) may cause addiction in vulnerable individuals Most experts
agree that patients who undergo prolonged opioid therapy usually develop
physical dependence but do not develop addictive disorders. In general,
patients in pain do no become addicted to opioids, Although the actual
risk of addiction is unknown, it is thought to be quite low. A recent study
ofopioid analgesic use revealed “low and stable” abuse ofopioids between
1990 and 1996 despite significant increases in opioids prescribed...

Fear of causing addiction (i. e. iatrogenic addiction), particularly
with opioid use, is a major barrier to appropriate pain management This
fear sometimes reflects a lack of understanding of the risk of addiction
with therapeutic drug use, Although studies suggest that the risk of
iatrogenic addiction is low (e.g., Perry and Heidrich, Zenz et al.), surveys
indicate that clinicians often overestimate this rislt'.49

62. Additionally, the monograph recommends that “[p]ain...is assessed in all patients” and
suggests that long-acting (i.e. extended release) pain medications are superior and should
be used whenever possible:

Long-acting and sustained-release opioids are useful for patients with

continuous pain, as they lessen the severity of end-ofldose pain and often
allow the patient to sleep through the night.

* * *

¢ Administer opioids primarily via oral or transdermal routes, using
long-acting medications when possible.50

ln truth, such medications often do not last as long as promised, and there is evidence to

suggest that the use of long-acting drugs may actually create more addicts.

 

49 Pain: Current Understanding of Assessment, Management, and Treatments l6-l7 (Dec. 2001), available

at http://www.npcnow.org[system/files/research/download/Pain-Current-Understanding-of-Assessment-

Management~and-Treatments.gdf (footnotes and citations omitted).
5° Id. at 38, 68 (Table 38).

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63. The Manufacturing Defendants’ infiltration and influence over the Joint Commission’s
standards and literature exened overwhehning pressure on doctors to treat and eliminate
pain, As more and more doctors migrated from private practice to integrated healthcare
systems in the 2000$, treatment options were dictated by, among other things, the Joint
Commission’s guidelines.s' Consistent with guidelines, doctors who left pain untreated
were viewed as demonstrating poor clinical skills and/or being morally compromised52

64. The U.S. General Accounting Off`tce`s December 2003 Report to Congressional
Requesters confirms that Purdue funded the “pain management educational courses” that
taught the new standard of care for treating pain, lt further revealed that Purdue
disseminated educational materials on pain management, which “‘facilitated [Purdue’s]
access to hospitals to promote OxyContin.”’53

65. Ih_eMcM_g_liq_gm_tign: The American Pain Foundation ("‘APF”), headquartered
in Baltimore, Maryland, described itself as the nation’s largest organization for pain
patients.54 While APF held itself out as an independent patient advocacy organization, in
reality it received 90% of its funding in 2010 from the drug and medical-device industry,
including from defendants Purdue, Endo, Janssen and Cephalon. lt received more than $ 1 0
million in funding from opioid manufacturers between 2007 and 2012, when it shut
down days after the Senate Finance Committee launched an investigation of APF’s

promotion of prescription opioids.

 

" Lembke (2016), supra n.4, at 119.

52 ld. at 42.

53 Gounder, Who ls Responsible, supra n.3l; U.S. General Accounting Of`f'lce, GAO-04-l l0, Prescription
Drugs, 013/Contin Abuse and Diversion and EHorts to Address the Problem (Dec. 2003), available at
https://www.gao.gov/new.items/d04l lO.pdf.

54 The APF was the focus of a December investigation by ProPublica in the Washington Post that detailed
its close ties to drugmakers.

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66.'l`he APF’s guides for patients, journalists and policymakers trivialized the risk of
addiction, while at the same time greatly exaggerating the benefits associated with opioid
painkillers.55
67. For example, in 2001 , APF published “Treatment Options: A Guide for People Living with
Pain.”$" The guide, which was produced through the support from companies including
defendants Cephalon and Purdue, misrepresented the risks associated with opioid use.
Among other things, the guide:
0 lamented that opioids were sometimes called narcotics, because
“[c]alling opioid analgesics ‘nurcotics’ reinforces myths and
misunderstandings as it places emphasis on their potential abuse rather

than on the importance of their use as pain medicines”:$"

¢ stated that “[0]pioids are an essential option for treating moderate to
severe pain associated with surgery or trauma;58 and

¢ opined that “[r]estricted access to the most effective medications for
treating pain [opioids] is not the solution to drug abuse or addiction.”59

The guide included blurbs from Portenoy, who is quoted as saying “[t]his is a very good
resource for the pain patient," and Fishman, who is quoted as saying, “[w]hat a great job!
Finally, a pill consumer resource created for patients with pain. A ‘must have’ for every
physician’s waiting room.”°°

68. In 2003, APF published a newsletter titled “Best of . . .The Pain Community News” that

purported to clarify any confusion over addiction and opioids and emphasized the “tragic

 

55 Charles Omstein & Tracy Weber, American Pain Foundation Shut Down as Senalors Launch
lnvestigation of Prescription Narcotics, ProPublica (May 8, 2012), available at
h - ' '

 
 

56 Treatment Options: A Guide for People Living with Pain, American Pain Foundation, available at
https :.//assets documentcloud. orgdocumems/277605/apf-treatmentoptions. pdf. -

57 ld. at ll.

58 ld.

59 ld. at 15.

"° ld. at 76.

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consequence of leaving many people with severe pain under-treated because they - or their
doctors- fear that opioids will cause addiction.”

69. ln 2009, Endo sponsored APF’s publication and distribution of "Exit Wounds: A Survival
Guide to Pain Management for Retuming Veterans & Their Families” (“E.xit Wounds”), a
book described as “the inspirational story of how one courageous veteran, with the aid of his
family, recovered and thrived despite near death, traumatic brain injury, and the loss of a
limb.” lt also purported to “offer[] veterans and their families comprehensive and
authoritative information on. . . treatment options, and strategies for self-advocating for
optimal pain care and medical resources inside and outside the VA system.”

70. Among other false statements, Exit Wounds reported: "Long experience with opioids shows
that people who are not predisposed to addiction are very unlikely to become addicted to
opioid pain tnedications.” Endo, through APF, thus distributed false information with the
purpose of providing veterans false information they could use to “self-advocat[e]” for
opioids while omitting a discussion of the risks associated with opioid use.

7 l. In 2009, APF played a central role in a first-of-its-kind web-based series called “Let’s Talk
Pain,” hosted by veteran TVjouma|ist Carol Martin. The series brought together healthcare
providers and “people with pain to discuss a host of issues from managing health care for
pain to exploring integrative treatment approaches to addressing the psychological aspects
associated with pain.” The “Let’s Talk Pain” talk show is still available online. ln the very
ftrst episode of this talk show, the following exchange took place:

[Teresa Shaffer (APF Action Network Leader)]: As a person who
has been living with pain for over 20 years, opioids are a big part of my pain

treatment. And l have been hearing such negative things about opioids and
the risk factors of opioids, Could you talk with me a little bit about that?

[Dr. Al Anderson (AAPM Board of Directors)]: The general
belief system in the public is that the opioids are a bad thing to be giving a

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patient. Unfortunately, it’s also prevalent in the medical profession, so
patients have difficulty finding a doctor when they are sufferingfi'om pain
for a long period oftime, especially moderate to severe pain. And tl1at’s
the patients that we really need to sue the opioids methods of treatment,
because they are the one who need to have some help with the function and
they’re the ones that need o be controlled enough so that they can increase
their quality of life.°'

72. In reality, there is little scientific evidence to support the contention that opioids taken long-
terrn improve function or quality of life for chronic pain patients.62 To the contrary, there
is ample evidence that opioids impose significant risks and adverse outcomes on long-term
users and that they may actually reduce f`unction.63 As a recent article in the New England
Journal of Medicine concluded: “Although opioid analgesics rapidly relieve many types of
acute pain and improve function, the benefits of opioids when prescribed for chronic pain

are much more questionable.” The article continues, “opioid analgesics are widely diverted

and improperly used, and the widespread use of the drugs has resulted in a national

 

°' Episode 1: Safe Use of Opioids (PainSAFE), Let’s Talk Pain (Sept. 28. 2010),
https://www.youtube.com/watch?v=zeAlVAMRgsk.

62 Lembke (2016), supra n.4, at 59 (citing Agency for Healthcare Research and Quality (US): T he
Ej]`ectiveness and Risks of Long-T erm Opioid Treatmem of Chrom`c Pain, Evid. Rep./T cch Assess., No.

218 (2014), available at h s://ahr h lication.s3.amazonaws.com/medta/ df/chromc- ain-o told-
treatment executive.pdf.

63 Discussing the “March 2016 Guideline for Prescribing Opioids forChronic Pain" by the Centers for Disease
Control (“CDC”), doctors wrote:

      

Most placebo-controlled, randomized trials of opioids have lasted 6 weeks or less, and we
are aware of no study that has compared opioid therapy with other treatments in terms of
long-term (more than 1 year) outcomes related to pain, function, or quality of life. The few
randomized trials to evaluate opioid efficacy for longer than 6 weeks had consistently poor
results. ln fact, several studies have showed that use of opioids for chronic pain may
actually worsen pain and functioning, possibly by potentiating pain perception.

Thomas Frieden & Debra Houry, Reducing the Risks of Relief - The CDC Opioid-Prescribing Guideline,
374 New Eng. J . Med. 1501-04 (Apr. 21 , 20 l 6), available at

hgp://www.neim.org[doi/full/l0.1056/NEJM91515917.
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epidemic of opioid overdose deaths and addictions.”64
73. The APF also developed the National lnitiative on Pain Control (“NIPC”), which ran a
facially unaffiliated website called www.painknowledge.org. The NIPC promoted itself as
a n education initiative and promoted its expert leadership team, including purported experts
in the pain management field. The website painknowledge.org promised that, while using
opioids, “your level of function should improve; you may find you are now able to
participate in activities of daily living, such as work and hobbies, that you were not able to
enjoy when your pain was worse.” Elsewhere, the website touted improved quality of life
(as well as °"improved function") as benefits of opioid therapy. ln a brochure available on
painknowledge.org titled “Pain: Opioid Facts,” the NlPC misleadingly stated that “people
who have no history of drug abuse, including tobacco, and use their opioid medication as
directed will probably not become addicted,” and even refused to rule out the use of opioid
pain relievers for patients who have a history of addiction to opioids."’5
74. ln or around 2011, the APF published the “Policymaker’s Guide.” sponsored by Purdue,

which dispells the notion that "strong pain medication leads to addiction” by characterizing it
as a "common misconception[]”:

Many people living with pain, and even some health care practitioners,

falsely believe that opioid pain medicines are universally addictive. As

with any medication, there are risks, but these risks can be managed when

these medicines are properly prescribed and taken as directed. For more

information about safety issues related to opioids and other pain therapies,
visit http://www.painsafe.org.°°

 

°‘ Nora D. Volkow & A. Thomas McLellan, 0pi0id Abuse in Chronic Pain -Misconceptions and Mr'tigation
Strategr'es, 374 New Eng. J. Med. 1253-63 (Mar. 31, 2016), http://www.nejm.org/
doi/hill/IO.1056/NEJMra1507771#t=article.

65Pain: Opioid Facts, Pain Knowledge, available at

htt s://web.archive.or web/20101007102042/htt :// ainknowled e.or

on%20b380 b385%20%299f%2009i0d.pdf (last visited Mar. l4, 2018).

°° A Polic_vmaker's Guide to Una'erstanding Pain & lrs Managemem, American Pain Foundation at 5,

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atiented/ df/Patient%20Educati

   

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75. The guide describes “pain in America" as “an evolving public health crisis” and
characterizes concerns about opioid addiction as misconceptions: "‘Unfortunately, too
many Americans are not getting the pain care they need and deserve. Some common reasons
for difficulty in obtaining adequate care include: . . . Misconceptions about opioid
addiction.”67 lt even characterizes as a “myth” that "[c]hildren can easily become addicted
to pain medications.”63 The guide further asserts that “multiple clinical studies” have
shown that opioids are effective in improving daily function, psychological health and
health-related quality of life for chronic pain patients, which was not the case."°

76. In December 201 l, the Washington Post reported on ProPublica’s investigation of the APF,
which detailed APF`s close ties to drugmakers:

[l]he pills continue to have an influential champion in the American
Pain Foundation, which describes itself as the nation’s largest advocacy

group for pain patients. Its message: The risk of addiction is overblown,
and the drugs are underused.

What the nonprofit organization doesn ’t highlight is the money behind
that message.

The foundation collected nearly 90 percent of its $5 million in funding
last year from the drug and medical-device industry - and closely mirrors
its positions, an examination by ProPublica found.70

 

http://s$.documentcloud.org/documents/277603/apf-policmakers-ggide.pdf (last visited Mar. 08, 2018),
67 ld. at 6.

63 ld. at 40.

“° The “Policymaker’s Guide” cites for support “Opioids for chronic noncancer pain: a meta- analysis of
effectiveness and side effects,” a review published in 2006 in the Canadian Medical AssociationJoumal.
ld. at 34. However, the review concludes: “For functional outcomes, the other analgesics were significantly
more effective than were opioids." Andrea D. l~`urlan, et al. , Opioids for chronic noncancer pain: a mela-
analysis of effectiveness and side e,@izcts, 174(1|) Canadian Med. Assoc. J. 1589-94 (May 23, 2006),
hgps://www.ncbi.nlm.nih.gov/pmc/articles/PMC1459894/. The Purdue-sponsored guide failed to disclose
both this conclusion and the fact that the review analyzed studies that lasted, on average, live weeks and
therefore could not support the long-term use of opioids.

7° Charles Omstein & Tracy Weber, Patient advocacy group funded by success ofpainkiller drugs, probe
finds, Wash. Post (Dec. 23, 201 l), available at

https://www.washingtonpost.com/national/healthscience/patient-advocacy-g;oup-funded-by-success-of-
painkiller-drugs-probefinds/ZOl l/l2/20/ngAgvczDP sto§y.html?utm term. 22049984c606.

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: The Manufacturing

 

Defendants, including at minimum Endo, Janssen and Purdue, have for decades contributed
fundingto the AAPM and the APS.

78. ln 1997, the AAPM issued a "‘consensus” statement that endorsed the use of opioids for the
treatment of chronic pain and claimed further that the risk of patient addiction to opioids
was low. The chairman of the committee that issued the statement, Haddox, was at the
time a paid speaker for Purdue. Haddox was later hired as Purdue’s vice president for health
policy, The consensus statement, which also formed the foundation of the 1998 guidelines,
was published on the AAPM’s website. AAPM`s corporate council includes Purdue,
Depomed, Teva and other pharmaceutical companies AAPM’s past presidents include
Haddox (1998), Fishman (2005), Dr. Pen'y G. Fine (“Fine”) (201 l) and Lynn R. Webster
(*‘Webster”) (2013), all of whom have connections to the opioid manufacturers as well
documented below.

79. At or about the same time, the APS introduced the “pain as the 5th vital sign” campaign,
followed soon thereafter by the U.S. Department of Veterans Affairs adopting that
campaign as part of their national pain management strategy.

80. AAPM and APS issued guidelines in 2009 ("2009 Guidelines”) that continued to
recommend the use of opioids to treat chronic pain, Fourteen of the 21 panel members who
drafied the 2009 Guidelines received funding from defendants Janssen, Cephalon, Endo or
Purdue.

81. The 2009 Guidelines falsely promoted opioids as safe and effective for treating chronic

pain and concluded that the risk of addiction was manageable for patients regardless of past

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abuse histories." The 2009 Guidelines have proved to be a particularly effective channel of
deception, and have influenced not only treating physicians but also the body of scientific
evidence on opioids. They were reprinted in the journal Pain, have been cited hundreds of
times in academic literature, and remain available online. The Manufacturing Defendants
widely cited and promoted the 2009 Guidelines without disclosing the lack of evidence to
support their conclusions

82. The A||igngg fog Bgtient A§ge§s [“APA”|: Founded in 2006, APA is a self-described
patient advocacy and health professional organization that styles itself as “a national
network of physicians dedicated to ensuring patient access to approved therapies and
appropriate clinical care.”72 lt is run by Woodberry Associates, a lobbying firm that was
also established in 2006.73 As of June 2017, the APA listed 30 "Associate Members and
Financial Supporters.” The list includes Johnson & .lohnson, Endo, Mallinckrodt, Purdue
and Cephalon.

83. APA’s board members have also received substantial funding directly from pharmaceutical
companies.7“ For instance, board vice president Srinivas Nalamachu, M.D., who practices
in Kansas, received more than $800,000 from 2013 through 2015 from pharmaceutical

companies - nearly all of it from manufacturers of opioids or drugs that treat opioids’ side-

 

7' Roger Chou, et al., Clinical Guidelinesfor the Use of Clrronic Opioid Therapy in Chronic Non- Cancer
Pain, 10(2).1. Pain 113 (Feb. 2009), available at th://www.ipain.orgzarticle/S1526~5900¢08 100831-6/gdf
(hereinafter “Chou, Clinical Guidelines”).

72 The Alliance for Patient Access, About A_/PA, http://alliancefo§patientaccess.org[about-afga/ (last visited
Mar. 08, 2018). References herein to APA include two affiliated groups: the Global Alliance for Patient
Access and the Institute for Patient Access.

73 Mary Chris Jaklevic, Non-projit Alliancefor Patient Access Uses Journalr'sts and Politicians to Push Big
Pharma ’s Agenda, Health News Review (Oct. 2, 2017), available at
htt s://www.healthnewsreview.or 2017/10/non- rofit-alliance- atient-access-uses-'ournalists-
goliticians-push-big-phannas~agenda/ (hereinafier “.Iaklevic, Non-projit Alliance for Patient Access”).

74 All information concerning pharmaceutical company payments to doctors in this paragraph is from

ProPublica’s Do||ars for Docs database, available at htggs://proiects.propublica.org[docdollars/.
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effects, including from defendants Endo, Insys, Purdue and Cephalon. ln 2017, Dr.
Nalamachu’s clinic was raided by FBI agents in connection with an investigation of Insys
and its payment of kickbacks to physicians who prescribed Subsys.75 Other board members
include Dr. Robert A. Yapundich from North Carolina, who, between 2013 and 2015,
received $215,000 from 2013 from pharmaceutical companies including defendants
Cephalon and Mallinckrodt; Dr. lack D. Schim from Califomia, who received more than
$240,000 between 2013 and 2015 from pharmaceutical companies including defendants
Endo, Mallinckrodt and Cephalon; Dr. Howard Hoffberg, a Maryland doctor who received
3153,000 between 2013 and 2015 from pharmaceutical companies includingdefendants
Endo, Purdue, Insys, Mallinckrodt and Cephalon; and Dr. Robin K. Dore, a Califomia
physician who received $700,000 between 2013 and 2015 from various pharmaceutical
companies
84. Among its otl'reractivities, APA issued a white paper titled "Prescription Pain Medication:

Preserving Patient Access While Curbing Abuse.”76 'I'he white paper, inter alia, criticizes
prescription monitoring programs, purporting to express concern that they are burdensome,
not user friend|y, and of questionable efficacy:

Prescription monitoring programs that are difficult to use and cumbersome

can place substantial burdens on physicians and their staff, ultimately

leading many to stop prescribing pain medications altogether. This forces

patients to seek pain relief elsewhere, which may be much less convenient
and familiar and may even be dangerous or illegal.

* * *

ln some states, physicians who fail to consult prescription monitoring

 

75 Andy Marso, FBI seizes records of Overland Park pain doctor tied to Insys, Kansas City Star (July 20,

201 7), http://www.kansascity.com/news/business/health-care/articlel 62569383.htm1.

76 Prescription Pain Medication: Preserving Patient Access While Curbing Abuse, Institute for Patient

Access (Oct. 2013), available at hgp://lthlu3cjp_tv3xiderldco91nx5$.wpengine.netdna-cdn.com/w_p-
content/uploads/201 3/ l 2/1"1` White-Paper Finala.gdf.

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databases before prescribing pain medications for their patients are subject
to fines; those who repeatedly fail to consult the databases face loss of their
professional licensure. Such penalties seem excessive and may inadvertently
target older physicians in rural areas who may not be facile with computers
and may not have the requisite office staff. Moreover, threatening and fining
physicians in an attempt to induce compliance with prescription monitoring
programs represents a system based on punishment as opposed to
incentives

* * *

We cannot merely assume that these programs will reduce prescription pain
medication use and abuse.

85. The white paper also purports to express concern about policies that have been enacted in
response to the prevalence of pill mills:

Although well intentioned, many of the policies designed to address this
problem have made it difficult for legitimate pain management centers to
operate. For instance, in some states, [pain management centers] must be
owned by physicians or professional corporations, must have a Board
certified medical director, may need to pay for annual inspections, and are
subject to increased record keeping and reporting requirements . . . [I]t is not
even certain that the regulations are helping prevent abuses

86. ln addition, in an echo of earlier industry efforts to push back against what they termed
“opiophobia,” the white paper laments the stigma associated with prescribing and taking pain
medication:

Both pain patients and physicians can face negative perceptions and outright
stigma. When patients with chronic pain can’t get their prescriptions for
pain medication filled at a pharmacy, they may feel like they are doing
something wrong - or even criminal. . . . Physicians can face similar stigma
from peers. Physicians in non-pain specialty areas often look down on those
who specialize in pain management - a situation fueled by the numerous
regulations and fines that surround prescription pain medications

87. ln conclusion, the white paper states that “l’rescription pain medications and specifically
the opioids, can provide substantial relief for people who are recovering from surgery,

afflicted by chronic painful diseases, or experiencing pain associated with other conditions

that does not adequately respond to over-the-counter drugs.”

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88. The APA also issues “Patient Access Champion” financial awards to members of
Congress, including 50 such awards in 2015, The awards were funded by a $7.8 million
donation from unnamed donors While the awards are ostensibly given for protecting
patients` access to Medicare, and are thus touted by their recipients as demonstrating a
commitment to protecting the rights of senior citizens and the middle class, they appear to
be given to provide cover to and reward members of Congress who have supported the
APA’s agenda.77

89. The APA also lobbies Congress directly. In 2015, the APA signed onto a letter supporting
legislation proposed to limit the ability of the U.S. Drug Enforcement Administration
(“DEA”) to police pill mills by enforcing the “suspicious orders” provision of the CSA.78
The AAPM is also a signatory to this letter. An internal Department of.lustice (“DOJ”) memo
stated that the proposed bill "could actually result in increased diversion, abuse, and public

' health and safety consequences”79 and, according to DEA chief administrative law judge
John J. Mulrooney, the law would make it “all but logically impossible” to defend
prosecutions of manufacturers and distributors like the defendants here, in the federal

courts80 The law passed both houses of Congress and was signed into law in 201 6.

 

77 Jaklevic, Non-profit Alliance for Patient Access, supra n.73.
73 Letter from Alliance for Patient Access, et al., to Congressmen Tom Marino, Marsha Blackburn, Peter

Welch, and Judy Chu (Jan. 26, 2015), hgg://webcache.googleusercontent.com/search?g=cache:-

WVl eE :alliancefo atientaccess.or -content/u loads/20l3/12/FlNAL-Patient-Access-Letter-of-
Sup_qort-House-Bill.p_df+&cd=l&hl=en&ct=clnk&gl=us. (last available source).
79 Bill Whitaker,Ex-DEA Agent: Opioid Crisis Fueledbmeg Indust);v and Congress, CBS News (Oct. 17,
2017),ht s://www.cbsnews.com/news/ex-dea-a ent-o ioid-crisis-f`ueled-b '
8° John J. Mulrooney, ll & Katherine E. Legel, Current Navigation Points in Drug Diversion Law:
Rocks in Shallow. Murky, Dntg-lnksted Waters, 101 MARQ. L. REV. 333 (2017), available at
h ://scholarshi .law.mar uette.edu/c '/viewcontent.c `?article=5348&context=mulr.

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2. The Manufacturing Defendants Paid Key opinion Leaders and Sponsored
Speakers’ Bureaus to Disseminate False and Misleading Messaging

90. The Manufacturing Defendants have paid millions of dollars to physicians to promote
aggressive prescribing of opioids for chronic pain. Recently released federal data shows
that the Manufacturing Defendants increased such payments to physicians who treat chronic
pain even while the opioid crisis accelerated and overdose deaths from prescription opioids
and related illicit drugs, such as heroin, soared to record rates81 These payments come in
the form of consulting and speaking fees, free food and beverages discount coupons for
drugs and other freebies. The total payments from the Manufacturing Defendants to doctors
related to opioids doubled from 2014 to 2015. Moreover, according to experts, research
shows even small amounts of money can have large effects on doctors’ prescribing
practices82 Physicians who are high prescribers are more likely to be invited to participate in
defendants’ speakers’ bureaus According to a study published by the U.S. National
lnstitutes of Health, “[i]n the speakers’ bureau system, physicians are recruited and trained
by pharmaceutical, biotechnology, and medical device companies to deliver information
about products to other physicians in exchange for a fee.”83

91. The use of speaker`s bureaus has led to substantial ethical concerns within the medical
field. According to a 2013 publication by the Institute on Medicine as a Profession,
speakers’ bureaus are ethically compromised because they often present information as

objective when it is heavily biased toward the interests of the industry sponsor and, in fact,

 

3' Joe Lawlor, Even amid crisis, opioid makers plied doctors with perks, Portland Press Herald (Dec. 25,

2016), available at https://www.pressherald.com/ZOl6/12/25/even-amid-crisis-opioid-makers-plied-
doctors-with-perks/.
82Id.

83 Lynette Reid & Matthew Herder, The Speakers 'bureausystem: a form ofpeerselling, 7(2) Open Med. e31-
e39 (Apr. 2, 2013), available at hgps://www.ncbi.nlm.nih.gov/pmc/articles/PMCI`)863750/.

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may lead to the dissemination of false or biased infonnation. These findings are
substantiated by citations to research in the Journal of the American Medical Association,
T he Journal of Law, Medicine & Ethics, and Academic Psychiatry.

The Problem:

Pharmaceutical companies often recruit physicians to perform speeches
or presentations for the purpose of marketing a specific drug. In 2010,
8.6% of physicians reported having received payments for
participating in speakers’ bureaus. These speakers ’ bureaus leverage the
credibility of physicians in order to promote the use of pharmaceutical
products The physicians are generally trained to present a certain
message, or are provided with pre-produced slides The audience may
assume that these presentations are objective, when in fact they are
heavily biased towards the interests of the industry sponsor.

Speakers’ bureaus may lead to the dissemination of false or biased
information. Exposure to industry-sponsored speaking events is associated
with decreased quality of prescribing Additionally, the compensation
provided for these engagements may influence the attitudes or judgment of
the presenter.84

92. For example, Fishman is a physician whose ties to the opioid drug industry are legion. He has
served as an APF board member, president of the AAPM, and has participated yearly in
numerous CME activities for which he received “market rate honoraria.” As discussed
above, Fishman has authored publications, including the seminal guides on opioid
prescribing, that were funded by the Manufacturing Defendants He has also worked to
oppose legislation requiring doctors and others to consult pain specialists before prescribing
high doses ofopioids to non-cancerpatients. Fishman himself has acknowledged his failure
to disclose all of his potential conflicts of interest in a letter in the Journal of the/lmerican

MedicaIAssociation titled “Incomplete Financial Disclosures in a Letter on Reducing Opioid

 

84 Speakers' Eureaus: Best Practices for Academic Medical Centers, lMAP (Oct. 10, 2013), available at

ht§p://imapny.org[wp-content/themes/imapny/File%20Librag/Best%20Practice%20toolkits/Best-
Practices Speakers--bureaus.pdf.

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Abuse and Diversion.”85

93. Similarly, Fine’s ties to the Manufacturing Defendants are well documented. 86 He has
authored articles and testified in court cases and before state and federal committees and like
Fishman, has served as president of the AAPM and argued against legislation restricting
high-dose opioid prescription for non-cancer patients Multiple videos also feature Fine
delivering educational talks about prescription opioids; he even testified at trial that the
1,500 pills per month prescribed for pain to celebrity Anna Nicole Smith did not make her
an addict before her death from an overdose.87 Fine has also acknowledged failing to
disclose numerous conflicts of interest.

94. Fishman and Fine are just two of the many physicians whom the Manufacturing Defendants
paid to present false or biased information on the use of opioids for chronic pain.

3 . Senate Investigations of Manufacturing Defendants

95. In May201 2, the Chair and Ranking Members of the Senate Finance Committee, Max Baucus
(D-MT) and Chuck E. Grassley (R-IA), launched an investigation into makers of narcotic
painkillers and the groups that champion them. The investigation was triggered by “an
epidemic of accidental deaths and addiction resulting from the increased sale and use of
powerful narcotic painkillers,” including popular brand names like OxyContin, Vicodin
and Opana.

96. The Senate Finance Committee sent letters to Purdue, Endo and Johnson & Johnson, as well

 

85 Scott M. Fishman, lncomplete Financial Disclosures 1'11 a Letter on Reducing OpioidAbuse and Diversion,
306(13) JAMA 1445 (201 l); Tracy Weber' & Charles Omstein, T wo Leaders in Pain Treatment Have Long

T ies to Drug lndustry, ProPublica (Dec. 23, 2011), available at hgps://www.propublica.org!article/two-
leaders-in-pain-treatment-have-long-ties-to-drug-indusg (hereinalier “Weber, Two Leaders in Pain”).

86 Weber, T wo Leaders in Pain, supra n.85.
87 Linda Deutsch, Doctor: 1,500 pills don 't prove Smith was addicted, Seattle Times (Sept. 22, 2010, 5: 16

PM), available at https://www.seattletimes.com/entertainment/doctor-1500-pills-dont-prove-smith-was-
addicted/.

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as tofive groups that support pain patients, physicians orresearch, including the APF, AAPM,
APS, the University of Wisconsin Pain & Policy Studies Group and the Center for Practical
Bioethics. Letters also went to the FSMB and the Joint Commission.

97. As shown below in an excerpt from the Senators’ letter to APF, the Senators addressed the
magnitude of the epidemic and asserted that mounting evidence supports that the
pharmaceutical companies may be responsible:

It is clear that the United States is suffering from an epidemic of
accidental deaths and addiction resulting from the increased sale and use
of powerful narcotic painkillers such as Oxycontin (o.\ycodone), Vicodin
(hydrocodone), Opana (oxymorphone). According to CDC data, “more
than 40% (14,800)” of` the “36,500 drug poisoning deaths in 2008” were
related to opioid-based prescription painkillers, Deaths from these drugs
rose more rapidly, “from about 4,000 to 14,800” between 1999 and 2008,
than any other class of drugs, [killing] more people than heroin and cocaine
combined. More people in the United States now die from drugs titan car
accidents as a result of this new epidemic. Additionally, the CDC reports
that improper “use of prescription painkillers costs health insurers up to
$72.5 billion annually in direct health care costs. ”

* * *

Concurrent with the growing epidemic, the New York Times reports
that, based on federal data, “over the last decade, the number of
prescriptions for the strongest opioids has increased nearly fourfold, with
only limited evidence of th eir long-term effectiven ess or risks ” while “[d]ata
suggest that hundreds of thousands of patients nationwide may be on
potentially dangerous doses. ”

There is growing evidence pharmaceutical companies that
manufacture and market opioids may be responsible, at least in part, for
this epidemic by promoting misleading information about the drugs’
safety and effectiveness Recent investigative reporting from the Milwaukee
Joumal Sentinel/MedPage Today and ProPublica revealed extensive ties
between companies that manufacture and market opioids and non-profit
organizations such as the American Pain Foundation, the American
Academy of Pain Medicine, the Federation of State Medical Boards, and
University of Wisconsin Pain and Policy Study Group, and the Joint
Commission.

ln a ProPublica story published in the Washington Post, the
watchdog organization examined the American Pain Foundation, a

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“health advocacy ” organization that received “nearly 90 percent of its $5
million funding from the drug and medical device industry. ” ProPublica
wrote that its review of the American Pain Foundation’s “guides forpatients,
journalists, and policymakers play down the risks associated with opioids
and exaggerate their benefits Some of the foundation’s materials on the
drugs include statements that are misleading or based on scant or disputed
research.”

According to the Milwaukee Joumal Sentinel/MedPage Today, a
“network of national organizations and researchers with financial
connections to the makers of narcotic painkillers . . . helped create a body
of dubious information” favoring opioids “that can be found in
prescribing guidelines, patient literature, position statements, books and
doctor education courses ”88

Although it is critical that patients continue to have access to opioids
to treat serious pain, pharmaceutical companies and health care
organizations must distribute accurate and unbiased information about
these drugs in order to prevent improper use and diversion to drug
abusers.89

98. The Senators demanded substantial discovery, including payment information from the
companies to various groups, including the front organizations identified above, and to
physicians including Portenoy, Fishman and Fine, among others The letter asked, inter
alia, about any influence the companies exerted on the creation of a 2004 pain guide for
physicians distributed by the FSMB, on the APS’s guidelines, and on the APF’s
Military/Veterans Pain lnitiative. Almost immediately upon the launch of the Senate

investigation, the APF shut down “due to irreparable economic circumstances.” The opioid

 

88 For example, the Sentinel reported that the FSMB, with financial support from opioid manufacturers
distributed “[m]ore than 160,000 copies” of a model policybook that drew criticism from doctors because “it
failed to point out the lack of science supporting the use of opioids for chronic, non cancer pain.” John
Fauber, Follow the Money: Pain, Policy, and Profit, MedPage Today (Feb. 19, 2012), available at
ht§p://www.medpagetoday.com/Neurology/PainManagement/3 1 256.

39 Letter from U.S. Senators Charles E. Grassley and Max Baucus to Catherine Underwood, Executive
Director (May 8, 2012), American Pain Society, available at

https://www.finance.senate.gov/imo/media/doc/0509201 2%20Baucus%20Grasslef/o200§ioid%201nvesti
gation%20Letter%20to%20American%20Pain%2OSocieg.pdf (footnote added).

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report resulting from this investigation has not been released to the public.90
99. On March 29, 2017, it was widely reported“"l that yet another Senate investigation had been
launched:
Missouri Senator Claire McCaskill has launched an investigation into some
of the country’s leading prescription drug manufacturers, demanding
documents and records dating back the past five years which indicate just
what the companies knew of the drugs’ risk for abuse as well as documents
detailing marketing practices and sales presentations Her office has sent
letters to the heads of Purdue, Janssen/Johnson & Johnson, lnsys, Mylan,
and Depomed.
The above-referenced companies were reported targeted based on the role in manufacturing
some of the opioid painkillers with the highest sales in 2015,

100. On September 6, 2017, Senator McCaskill’s report, “Fueling an Epidemic: Insys
Therapeutics and the Systemic Manipulation of Prior Authorization," was published The
report found that Insys manipulated the prior authorization process by misleading
pharmacy benefit managers about the role of Insys in the prior authorization process and the
presence of breakthrough cancer pain in potential Subsys patients92

101. On September 12, 2017, Senator McCaskill convened a Roundtable Discussion on Opioid
Marketing. During the hearing, Senator McCaskill stated:

The opioid epidemic is the direct result of a calculated marketing
and sales strategy developed in the 90’$, which delivered three simple
messages to physicians First, that chronic pain was severely undertreated in

the United States, Second, that opioids were the best tool to address that
pain, And third, that opioids could treat pain without n'sk of serious

 

9° Paul D. Thacker, Senators Hatch and Wyden: Do your jobs and release the sealed opioids report, Stat

News (June 27, 2016), available at https://www.statnews.com/ZOI6/06/27/opioid-addiction-orrin-hatch-
ron-Mdenl; see also Omstein, American Pain Foundation, supra n.55.

9' Nadia Kounang, Senator opens investigation into opioid manufacturers, CNN (Mar. 29, 2017), available

at http://www.cnn.com/ZOI 7/03/28/health/senate-opioid-manufacturer-investigation/index.html.

92 HSGAC Minority Staff Report, Insys Therapeutics and the Systemic Manipulation of Prior Authorization
(201 7).

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addiction. As it turns out, these messages were exaggerations at best and
Outright lies at worst.

* * *

Our national opioid epidemic is complex, but one explanation for
this crisis is simple, pure greed.

102. Professor Adriane Fugh-Berman (“Fugh-Berman”), Associate Professor at Georgetown
University Medical Center and director of a program at Georgetown called Pharmed Out,
which conducts research on and educates the public about inappropriate pharmaceutical
company marketing, also testified during the hearing. She, too, placed the blame for the
opioid crisis squarely at the feet of pharmaceutical companies:

Since the l990’s, pharmaceutical companies have stealthin
distorted the perceptions of consumers and healthcare providers about pain
and opioids. Opioid manufacturers use drug reps, physicians, consumer
groups, medical groups, accreditation and licensing bodies, legislators,
medical boards and the federal government to advance marketing goals to
sell more opioids. This aggressive marketing pushes resulted in hundreds of
thousands of deaths from the overprescribing of opioids. The U.S. is about
- comprises about live percent of the world population, but we use about
two-thirds of the world supply of opioids.

103. Fugh-Berman also answered why doctors were able to be convinced by pharmaceutical
companies’ marketing efforts:

Why did the physicians fall for this? Well, physicians are
overworked, overwhelmed, buried in paperwork and they feel
unappreciated. Drug reps are cheerful. They’re charming. They provide
both appreciation and infonnation. Unfortunately, the information they
provide is innately unreliable.

Pharmaceutical companies influence healthcare providers’ attitudes
and their therapeutic choices through financial incentives that include
research grants, educational grants, consulting fees, speaking fees, gi Rs and
meals.

104. Fugh-Berman further described the false information provided by pharmaceutical

companies and the industry creation of front organizations, including the APF, to pass

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industry- influenced regulations and policies:

Pharmaceutical companies convinced healthcare providers that they
were opiophobic and that they were causing suffering to their patients by
denying opioids to patients with back pain or arthritis They persuaded
prescribers that patients with pain were somehow immune to addiction.
Even when addiction was suspected, physicians were taught that it might
not really be addiction, it might be pseudo- addiction, an invented (ph)
condition that’s treated by increasing opioid dosages.

lndustry created the American Pain Foundation co-opted other
groups including medical organizations, and they change state laws to
eliminate curbs on opioid prescribing Between 2006 and 2015,
pharmaceutical companies and the advocacy groups they control employ
1,350 lobbyists a year in legislative hubs. lndustry-influenced regulations
and policies ensure that hospitalized patients were and are berated paraded
constantly about their level of pain and overmedicated with opioids for that
pain, Even a week of opioids can lead a patient into addiction so many
patients are discharged from hospitals already dependent on opioids.

105. In addition, Fugh-Berman pointed out that promotion of opioids remains ongoing despite
increasing public concern about their use:
Promotion of opioids is not in the past. Between 2013 and 2015, one in 12
physicians took out money from opioid manufacturers, a total of more than
$46 million. lndustry-friendly messages that pharmaceutical companies are

currently perpetuating reassure physicians that prescribing opioids is safe as
long as patients do not have a history of substance abuse or mental illness.

106. Fugh-Berman concluded by stating: “lt is a misperception to think that most opioid deaths
are caused by misuse of opioids or overdoses. ln fact, many deaths occur when people are
using opioids in exactly the way they were prescribed. Misuse isn’t the problem; use is the

problem.”

C. The Devastating Impact

107. The impact of the Manufacturing Defendants’ false messaging has been profound. The

drug companies profited handsomely as more and more people became addicted to opioids

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and died of overdoses.93

108. For Purdue, sales grew from $48 million per year in 1996, to over $l billion per year in 2000,
to $3.1 billion per year ten years later. In 2011, pharmaceutical companies generated
revenues of $ll billion from opioid sales alone.

109. The United States, including specifically Pa|metto, is experiencing an unprecedented
opioid addiction and overdose epidemic, costing millions of dollars for, inter alia,
treatment, services and public safety as well as lost productivity in the workforce, economic
opportunity and tax revenue.

l 10. By 2002, “[l]ifetime nonmedical use of OxyContin increased from l .9 million to 3.1 million
people between 2002 and 2004, and in 2004 there were 615,000 new nonmedical users of
OxyContin."94

lll. By 2004, OxyContin had “become the most prevalent prescription opioid abused in the
United States.”95 The severity of the problem was first felt in states including Maine, West
Virginia, eastern Kentucky, southwestern Virginia and Alabama, where, from 1998 through
2000, hydrocodone and oxycodone were being prescribed 2.5-5 times more often than the
national average. By 2000, these same areas had a prescription rate up to 5-6 times higher
than the national average. These areas were also the first to suffer increased abuse and
diversion, which became apparent by 1999 and 2000. Manufacturers then expanded the
geographic market by investing hundreds of millions of dollars in marketing, and the once-

regional problem began to spread national|y. “[B]y 2004 OxyContin had become a leading

 

93 German Lopez, How big pharma got people hooked on dangerous opioids - and made tons of money of

it, Vox (Sept. 22, 2016), available at htLp://www.vox.com/ZOI6/2/5/10919360/opioid-§pidemic-chart.

94 Van Zee, Promotion and Marketing, supra n.26.
95 ld.

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drug of abuse in the United States.”%

l 12. As OxyContin sales grew between 1999 and 2002, so did sales of other opioids, including
fentanyl (226%), morphine (73%) and oxycodone (402%). And, as prescriptions surged
between 1999 and 2010, so did deaths from opioid overdoses (fi'om about 4,000 to almost
17,000).97

1 13. ln 2012 alone, an estimated 259 million opioid prescriptions were filled, enough to
medicare every adult in the United States for a month on a round-the-clock basis.98 In 2014,
there were more than 47,000 drug overdose deaths nationwide, 61% involving a
prescription or illicit opioid.99 The use of prescription painkillers cost health insurers up to
$72.5 billion annually in direct healthcare costs.100

1 14. According to the CDC, drug overdose deaths in Florida increased by4.8% from 2013 to 2014,
and by 22.7% from 2014 to 2015, with deaths increasing from 2,474, to 2,634, to 3,228 over
the three-year period, with opioids being the main driver of those deaths. During that
timeframe, drug overdose deaths in Florida increased from approximately 12 per 100,000
to 16 per 100,000. Further, the Florida Medical Examiners Commission’s 2016 lnterim
Report indicates that between January and June 2016, 33.8% of decedents examined had
opioids in their system at the time of death.

l 15. Palmetto has seen a corresponding rise in area opioid usage and accidental deaths. Manatee

Memorial Hospital saw 1,096 drug overdoses in 2015 grow to 1, 396 overdoses in 2016,

 

°" ld.

°" Gounder, Who ls Responsible, supra n.31.

98 Opioid Painkiller Prescribing, Centers for Disease Control and Prevention: Vital Signs (July 2014),
available at https://www.cdc.gov/vitalsigr_is/opioid-prescribing[.

°° Rudd, Increases in Drug and 0pioid-Involved Overdose, supra n.2.

'°° Katherine Eban, O.\'yContin: Purdue Pharma's painful medicine, Fortune Magazine (Nov. 9, 2011),

available at hgp://fortune.com/ZOIl/1l/09/oxycontin-purdue-phannas-painful-medicine/ (hereinafter

“Eban, Painful Medicine").
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and through October 2017, that figure was 1,093. "" The Manatee County Sherif`f`s Of`fice
has already investigated 47 suspected overdoses in the first two months of 201 8, at least 6
of which were fatal. '°2. As such, Manatee County has equipped not only its EMS personnel,
fire department, and Sheriff’s department with Naloxone, an epipen-like injector which is
intended to keep people from overdosing as a result of opioid usage,'03 but also its segment
of the Florida Highway Patrol. '°4 Manatee County officials have reported that from January
to May 2017, their paramedics spent $l 10,000 for 596 Naloxone treatments'°$

116. Additionally, the effects of the opioid epidemic spread beyond overdose-related deaths. As
law enforcement officials must arrest those who commit crimes to support their addiction,
Manatee county jail not has two pods and staff dedicated to getting addicts treatment during
and after their incarceration106

1 17. Palmetto continues to suffer significant damage as a result of opioid over- prescription and
addiction, including, but not limited to, increased law enforcement and public works
expenditures, increased expenditures for overtime, the hiring of additional City employees,
mental health treatment and workers’ compensation for its employees, increased emergency

and treatment services, damage to emergency equipment and vehicles, and lost productivity,

 

101 Hannah Morse, Narcotics will be tougher to get in these Manatee emergency rooms,
Bradenton Hera|d (Feb. 15, 2018), available at

http:[[www. bradenton.com[news[|oca|[artic|e200129874.htm1.

'°2 Jessica De Leon, New Florida opioids law limits how many painkillers you can have, Bradenton

Herald (Mar. 19, 2018), available at hgp_://www.bradenton.com/news/local/article205837024.html.

'°3 Topher Forhecz, Sarasota Sheri]j"s Ojjice First Law Enforcement Agency in Florida to Give Deputies
Naloxone, WGCU News (Oct. 9, 2015), available at http://news.wgcu.org/gost/sarasota-sheriff`s-office-

first-law-enforcement-agency-florida-gjve-d§puties-naloxone.

1°‘ Morse, Manatee ready to sue, supra n.10.

105 Da|e White, Opioid addiction forum draws standing-room-only crowd, The Daytona Beach
News-Journa| (May 2, 2017), available at httg:[[www.news-
'ourna|online.com news 20170502 o ioid-addiction-forum-draws-standin
106 ld.

   

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economic opportunity, and tax revenue. ln order to properly address this unprecedented
epidemic and protect the safety and welfare of its residents, the City has had to significantly
modify its emergency response plan, requiring the hiring of additional permanent
emergency response personnel, overtime pay, and the purchase and maintenance of
additional emergency vehicles and supplies, such as Naloxone'°" - none of which would
otherwise have been necessary. Additionally, Palmetto must now pay to provide mental
health services to its employees, who are on the front lines of assisting residents and visitors,

and otherwise re-allocate City funds to cope with the opioid epidemic.

II. The Manufacturing Defendants’ Sgecific Unlawful Practices that Targeted Palmetto

Prescribers
A. Purdue

118. Purdue, which is privately held by the Sackler family - one of America’s richest families
with a collective net worth of $13 billion, manufactures, markets, sells and distributes

opioids in Palmetto and nationwide, including the following:

 

 

 

 

 

OxyContin Opioid agonist'08 indicated for pain severe enough to Schedule
(oxycodone require daily, around-the-clock, long-term opioid II
hydrochloride treatment; not indicated as an as-needed (p.r.n.)
extended analgesic. lt was first approved by the FDA in
release) December 1995.
MS Contin Opioid agonist; controlled-release tablet form of Schedule
(morphine morphine sulfate indicated for the management of II
sulfate extended severe pain; not intended for use as a p.r.n. analgesic;
release) first approved in May 1987 as the first formulation of

an opioid pain medicine that allowed dosing every 12

 

 

 

'°7 Topher Forhecz, Sarasota Sherij's Ojice First Law Enforcement Agency in Florida to Give Deputies

Naloxone, WGCU News (Oct. 9, 2015), available at hgp://news.wgcu.org[post/sarasota-sheriffs-office-
first-Iaw-enforcement-agency-fiorida-give-deguties-naloxone.

'°3 An “agonist” medication is one that binds to and fully aetivates targeted receptors in the brain. They
activate these neurotransmitter receptors to illicit a certain response. An “antagonist” medication, on the
other hand, works to prevent the binding of other chemicals to neurotransmitters in order to block a certain
response. Both may be used to offer pain relief. Health Q&A, Reference*,

https://www.reference.com/health/difference-between-agonist-antagonist-drugs-838e9e0994a788eb (last

visited Mar. 08, 2018).
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hours.
Dilaudid Opioid analgesic; injectable and oral formulation; eight Schedule
(hydromorphone times more potent than morphine.109 ll

hydrochloride)
Dilaudid-HP Opioid analgesic; injectable and oral high-potency and Schedule
(hydromorphone highly concentrated formulation indicated f`or relief of ll

hydrochloride) moderate-to-severe pain in opioid-tolerant patients.

 

 

 

Hysingla ER Brand-name extended-release form of hydrocodone Schedule
(hydrocodone bitrate that is indicated for the management of severe Il
bitrate) pain.

'I`arginiq ER Brand-name extended-release opioid analgesic made of Schedule
(oxycodone a combination of oxycodone hydrochloride and ll

hydrochloride naloxone hydrochloride. lt was approved by the FDA
and naloxone on July 23, 2013.
hydrochloride)

 

 

 

 

 

]. Purdue Falsely Marketed Extended-Release Drugs as Safer and More
Ejfective than Regular-Release Drugs

l 19. Purdue launched OxyContin 20 years ago with a bold marketing claim: "One dose relieves
pain for 12 hours, more than twice as long as generic medications."l '° Prior to launching
OxyContin, Purdue conducted focus groups with doctors and “|earned that the ‘biggest
negative’ that might prevent widespread use of the drug was ingrained concern regarding the
‘abuse potential’ of opioids.”lll In its initial press release launching the drug, Purdue told
doctors that one OxyContin tablet would provide “smooth and sustained pain control all day
and all night.” Based in large part on that promise, and Purdue’s repeated assurances that

opioids were both effective and non-addictive, OxyContin became America’s bestselling

 

'°9 Dilaudid Addiction, Suboxone California, htLps://www.suboxonecalifomia.com/suboxone»
treatment/dilaudid-addiction/ (last visited Mar. 08, 2018).

"° Harriet Ryan, et al., “You Want A Description of Hell? " OxyContin 's lZ-Hour Problem, L.A. Times
(May 5, 2016), available at http://www.latimes.com/groiects/oxycontin-part1/ (hereinafter “Ryan,
Description of Heli”).

"' Keefe, Empire of Pain, supra n.4.

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painkiller. ' '2 But, Purdue had no evidentiary basis for those claims.113

120. In truth, Purdue’s nationwide marketing claims were false and highly deceptive.
OxyContin was not superior to immediate-release opioids. And not only does OxyContin
wear off early, as Purdue’s own early studies showed, it is highly addictive:

OxyContin`s stunning success masked a fundamental problem; The drug
wears off hours early in many people, a Los Angeles Times investigation
found. O.WContin is a chemical cousin of heroin, and when it doesn ’t last,
patients can experience excruciating symptoms of withdrawal, including
an intense craving for the drug. ' "

121 . Furthennore, experts call the 12-hour closing “‘an addiction producing machine.”" '5 Purdue
had reportedly known for decades that it falsely promised 12-hour relief and nevertheless
mobilized hundreds of`sales representatives to “refocus” physicians on lZ-hourdosing:

0 ...Even before OxyContin Went on the market, clinical trials showed
many patients weren ’t getting 12 hours of relief. Since the drug’ s debut
in 1996, the company has been confronted with additional evidence,
including complaints from doctors, reports fi‘om its own sales reps and
independent research,

v The company has held fast to the claim of 12-hour relief, in part to
protect its revenue. OxyContin’s market dominance and its high price -
up to hundreds of dollars per bottle - hinge on its 12-hour duration.
Without that, it offers little advantage over less expensive painkillers,

 

"2 Press Release, Purdue Pharma L.P., New Hope for Millions of Americans Suffering from Persistent
Pain: Long-Acting OxyContin Tablets Now Available to Relieve Pain (May 31, 1996), available at
http://documents.latimes.com/oxycontin-press-release-l 996/.

"3 Though the FDA’s 1995 approval allowed Purdue to include a package insert for OxyContin declaring
the drug to be safer than its competitors due to its delayed release design, Purdue had in fact “conducted no
clinical studies on how addictive or prone to abuse the dmg might be. . . . The F.D.A. examiner who oversaw
the process, Dr. Curtis Wright, left the agency shortly afterward. Within two years, he had taken a job at
Purdue." Keefe, Empire of Pain, supra n.4.

"“ The Los Angeles Times investigation, reported in three parts on May 5, July 10 and December 18, 2016,
included the review of thousands of pages of confidential Purdue documents and court and other records. They
span three decades, from the conception of OxyContin in the mid-1980s to 2011, and include e-mails,
memoranda, meeting minutes and sales reports, as well as sworn testimony by executives, sales
representatives and other employees, Ryan, Descriplion of Hell, supra n.110. The Los Angeles Times
reporters also examined FDA records, Patent Office files and medical journal articles, and interviewed
experts in pain treatment, addiction medicine and pharmacology. Id.

"’ Frydl, Purdue Pharma, supra n.3,

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0 When many doctors began prescribing OxyContin at shorter intervals in
the late 19905, Purdue executives mobilized hundreds of sales reps to
“refocus” physicians on 12-hour dosing. Anything shorter “needs to be
nipped in the bud. NOW!!” one manager wrote to her staff.

o Purdue tells doctors to prescribe stronger doses, not more frequent ones,
when patients complain that OxyContin doesn’t last 12 hours. That
approach creates risks of its own. Research shows that the more potent
the dose of an opioid such as OxyContin, the greater the possibility of
overdose and death.

» More than half of long-term OxyContin users are on doses that public

health officials consider dangerously high, according to an analysis of
nationwide prescription data conducted for The Times.' '°

122. As reported by The New York Times, “internal Purdue Pharma documents show that
company officials recognized even before the drug was marketed that they would face stiff
resistance from doctors who were concerned about the potential of a high-powered narcotic
like OxyContin to be abused by patients or cause addiction.” To combat this resistance,
Purdue falsely promised the long-acting, extended-release formulation was safer and “less

sol 17

prone to such problems.

2. Purdue Falsely Marketed Low Addiction Risk to Wide Swaths of Physicians

123. In addition to pushing OxyContin as safe and non-addictive by equating extended- release
with a lower risk, Purdue also promoted the use of prescription opioids for use in non-cancer
patients, who make up 86% of the total opioid market today. ' '8

124. Rather than targeting merely those physicians treating acute severe short-term (like post-
operative) pain or oncologists treating end-stage cancer pain, reports indicate that Purdue

heavily promoted OxyContin nationwide to doctors including general practitioners, who

 

"" Ryan, Description of Hell, supra n.l 10.
"" Barry Meier, In Guilty Plea, OxyContin Maker to Pay $600 Million, N.Y. Times (May 10, 2007), available

at http://www.n£imes.com/2007/05/ l O/businoss/ 1 ldrug-web.html (hereinafier“Meier, GuiltyPlea").

"8 Omstein, American Pain Foundation, supra n.55.

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often had little training in the treatment of serious pain or in recognizing signs of drug
abuse in patients.'19 According to a report in The New Yorker, “[a] major thrust of the
sales campaign was that OxyContin should be prescribed not merely for the kind of severe
short-term pain associated with surgery or cancer but also for less acute, longer-lasting
pain: arthritis, back pain, sports injuries, fibromyalgia” and "[t]he number of conditions
that OxyContin could treat seemed almost unlimited.”lzo

125. Sa|es representatives plied these and other physicians with coupons that were
redeemable for a 7- to 30-day supply of free OxyContin, a Schedule ll narcotic that by
definition cannot be prescribed for more than one month at a time, with the promise that
OxyContin was a safe opioid. Purdue “trained its sales representatives to carry the message
that the risk of addiction was ‘|ess than one percent,”’ and “[a] consistent feature in the
promotion and marketing of OxyContin was a systematic effort to minimize the risk of
addiction in the use of opioids for the treatment of chronic non-cancer-related pain.”121

126. Sales representatives marketed OxyContin as a product "‘to start with and to stay with,”`
and Purdue deliberately exploited a misconception it knew many doctors held that
oxycodone was less potent than morphine.122 They also received training in overcoming
doctors’ concerns about addiction with talking points they knew to be untrue about the drug’s
abusepotential. The New Yorker reported that “[i]n 2002, a sales manager from the company,
William Gergely, told a state investigator in Florida that Purdue executives ‘told us to say

things like it is “virtual|y” non-addicting.”"23

 

"9 Meier, Guilry Plea, supra n.1 17.

‘2° Keefe, Empire of Pain, supra n.4.

m Van Zee, Promotion and Marketing, supra n.26.
m Keefe, Empire of Pain, supra n.4.

123 Id

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127. Further, “[a]ccording to training materials, Purdue instructed sales representatives to assure
doctors - repeatedly and without evidence - that ‘f`ewer than one per cent’ of patients who
took OxyContin became addicted. (In 1999, a Purdue-handed study of patients who used
OxyContin for headaches found that the addiction rate was thirteen per cent.)”'24

128. Even as late as 2015, and perhaps even later, Purdue sales representatives were telling
physicians OxyContin was addiction resistant and had “‘abuse-deterrent’ properties.”125

129. And the marketing worked. Keith Htu'nphreys, Professor of Psychiatry at Stanford and
drug-policy adviser to the Obama Administration, said

“That’s the real Greek tragedy of this - that so many well-meaning doctors
got co-opted. The level of influence is just mind-boggling. Purdue gave

money to continuing medical education, to state medical boards, to faux
grassroots organizations.”'26

130. Additionally, Purdue tracked physicians’ prescribing practices by reviewing pharmacy
prescription data it obtained from I.M.S. Health, a company that buys bulkprescription data
from pharmacies and resells it to drug makers for marketing purposes (and which, notably,
Arthur Sackler is a co-founder). Rather than reporting highly suspicious prescribing
practices, Purdue used the data to track physicians who prescribed opioids and might be
persuaded to increase their opioid prescription volume. Purdue also could identify physicians
writing large numbers ofprescriptions, and particularly for high-dose 80 mg pills - potential

signs of diversion and drug dealing. 127 Purdue called those high- prescribing doctors

 

124 ]d

125 id

126 [d_

m An 80 mg tablet is equivalent in strength to 16 Vicodin tablets and was generally reserved by doctors
for patients with severe, chronic pain who had built up a tolerance over months or years. In the illegal drug
trade, however, “803” were the most in demand. For those attempting to detect how OxyContin was getting
onto the black market, a physician writing a high volume of 80s was a red flag. Harriet Ryan, et al., More
than 1 million OxyContin pills ended up in the hands of criminals and addicts What the drugmaker knew,

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“whales.”'zs

131. Purdue was aware of suspicious doctors and pharmacies from the information contained in
prescribing records, pharmacy orders, field reports from sales representatives and, in some
instances, its own surveillance operations m Since 2002, Purdue maintained a confidential
roster of suspected reckless prescribers known as "Region Zero.” By 2013, there were more
than 1,800 doctors in Region Zero, but Purdue had reported only 8% of them to authorities
The Los Angeles Times reported that “[a] fomter Purdue executive, who monitored
pharmacies for criminal activity, acknowledged that even when the company had evidence
pharmacies were colluding with drug dealers, it did not stop supplying distributors selling

,»rso

to those stores

3. Purdue Funded Publications and Presentations with False and Misleading
Messaging

132. As explained above, Purdue`s false and deceptive marketing scheme did not end with its own
sales representatives and branded marketing materials Extending far beyond the margin of
legitimate and truthful marketing, Purdue engaged third parties including doctors and front
groups to spread the false message of prescription opioids’ safety and efficacy.

133. Purdue caused the publication and distribution of false and deceptive guidelines on opioid

 

L.A. Times (July 10, 2016), http://www.latimes.com/projects/la-me-oxycontin-partZ/ (hereinaf`ter "Ryan,

More than l million”).

m Keefe, Empire of Pain, supra n.4.

"“'° Purdue’s “Abuse and Diversion Detection” program requires its sales representatives to report to the
company any facts that suggest a healthcare provider to whom it markets opioids may be involved in the
abuse or illegal diversion of opioid products When a provider is reported under the program, Purdue
purportedly conducts an internal inquiry regarding the provider to determine whether he or she should be
placed on a “no-call” Iist. lf a provider is placed on this list, Purdue sales representatives may no longer
contact the provider to promote the company’s opioid products Bill Fallon, Purdue Pharma agrees to restrict
marketing of opioids, Stamford Advocate (Aug. 25, 2015), available at
ht s://www.stamfordadvocate.com/business/article/Purdue-Phanna-a ees-to-restrict-marketin -of-
6464800.p_hp (hereinafter “Fallon, Purdue Pharma agrees”).

’3° Ryan, More than l Million, supra n.127.

     

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prescribing For example, as set forth above, Purdue paid $100,000 to the FSMB to help print
and distribute its guidelines on the use of opioids to treat chronic pain to 700,000 practicing
doctors; among them FSMB’s members Florida Board of Medicine and the Florida Board
of Osteopathic Medicine.

134. One of the advisors for Fishman’s 2007 publication °‘Responsible Opioid Prescribing: A
Physician’s Guide” and its 2012 update was Haddox, a longtime member of Purdue"s
speakers’ bureau who later became a Purdue vice president.

135. Similarly, multiple videos feature Fine delivering educational talks about the drugs.'J' ln one
video from 201 1, titled “Optimizing Opioid Therapy,” he sets forth a “Guideline for Chronic
Opioid Therapy” discussing “opioid rotation” (switching from one opioid to another) not
only for cancer patients, but for non-cancer patients, and suggests it may take four or five
switches over a person’s "lifetime” to manage pain.132 He states the "goal is to improve
effectiveness which is different from efficacy and safety.” Rather, for chronic pain patients,
effectiveness “is a balance of therapeutic good and adverse events over the course of
years.” The entire program assumes that opioids are appropriate treatment over a
"protracted period of time” and even over a patient’s entire "lifetime.” He even suggests that
opioids can be used to treat sleep apnea. He further states that the associated risks of
addiction and abuse can be managed by doctors and evaluated with "tools," but leaves that
for “a whole other lecture.”133

136. Purdue provided many “teaching” materials free of charge to the Joint Commission.

137. Purdue also deceptively marketed the use of opioids for chronic pain through the APF,

 

'3‘ Weber, Two Leaders in Pain, supra n.85.
'32 Perry A. Fine, Safe and Ej]'ective Opioid Rolation, YouTube (Nov. 8, 2012), available at

https://www.youtube.com/watch?v= G3Ilegng.

133 ld.
57

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138.

139.

which was shut down after the launch of the Senate investigation in 2012, ln 2010 alone, the
APF received 90% of its funding fiom drug and medical device companies including from
Purdue. Purdue paid APF unspecified amounts in 2008 and 2009 and between 8100,000
and $499,999 in 2010,l34

4. The Guiltj) Pleas
In May 2007, Purdue and three of its executives pled guilty to federal charges of
misbranding OxyContin in what the company acknowledged was an attempt to mislead
doctors about the risk of addiction. Purdue was ordered to pay $600 million in fines and
fees In its plea, Purdue admitted that its promotion of OxyContin was misleading and
inaccurate, misrepresented the risk of addiction and was unsupported by science.
Additionally, Michael Friedman (“Friedman”), the eompany’s president, pled guilty to a
misbranding charge and agreed to pay $19 million in fines; Howard R. Udell (“Udell"),
Purdue’s top lawyer, also pled guilty and agreed to pay $8 million in fines; and Paul D.
Goldenheim (“Goldenheim”), its former medical director, pled guilty as well and agreed to
pay $7.5 million in fines.
In a statement announcing the guilty plea, John Brownlee (“Brownlee"), the U.S. Attomey
for the Westem District of Virginia, stated:

Purdue claimed it had created the miracle drug - a low risk drug that could

provide long acting pain relief but was less addictive and less subject to

abuse. Purdue’s marketing campaign worked, and sales for OxyContin

skyrocketed - making billions for Purdue and millions for its top
executives

But OxyContin offered no miracles to those suffering in pain, Purdue’s
claims that OxyContin was less addictive and less subject to abuse and
diversion were false - and Purdue knew its claims were false. The

 

m American Pain Foundation Partner Report, GuideStar, available at
http://www.guidestar.org/PannerReport.aspx?ein=S2-2002328&Partner-'Demo (last visited Mar. 09, 2018)
(links to annual reports at bottom of page).

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result of their misrepresentations and crimes sparked one of our nation ’s
greatest prescription drug failures . . .OxyContin was the child of marketers
and bottom line financial decision-making135

140. Brownlee characterized Purdue’s criminal activity as follows:

First, Purdue trained its sales representatives to falsely inform
health care providers that it was more difficult to extract the oxycodone
from an OxyContin tablet for the purpose of intravenous abuse, Purdue
ordered this training even though its own study showed that a drug abuser
could extract approximately 68% of the oxycodone from a single 10 mg
OxyContin tablet by simply crushing the tablet, stirring it in water, and
drawing the solution through cotton into a syringe.

Seco nd, Purdue falsely instructed its sales representatives to inform
health care providers that UAyContin could create fewer chances for
addiction than immediate-release opioids.

Third, Purdue sponsored training that falsely taught Purdue sales
supervisors that OxyContin had fewer “peak and trough” blood level effects
than immediate-release opioids resulting in less euphoria and less potential
for abuse than short-acting opioids.

Fourth, Purdue falsely told certain health care providers that
patients could stop therapy abruptly without experiencing withdrawal
symptoms and that patients who took O.xyContin would not develop
tolerance to the drug.

And fifih, Purdue falsely told health care providers that OxyContin
did not cause a “buzz”or euphoria, caused less euphoria, had less addiction
potential, had less abuse potential, was less likely to be diverted than
immediate-release opioids, and could be used to “‘weed out” addicts and
drug seekers. '3°

141. Specifically, Purdue pled guilty to illegally misbranding OxyContin in an effort to mislead
and defraud physicians and consumers while Friedman, Udell and Goldenheim pled guilty
to the misdemeanor charge of misbranding OxyContin for introducing misbranded drugs

into interstate commerce in violation of 21 U.S.C. §§331(a), 333(a)(l)-(2) and 352(a).

 

'35 Press Release, U.S. Attomey for the Westem District of Virginia, Statement of United States Attomey
John Brownlee on the Guilty Plea of the Purdue Frederick Company and Its Executives for lllegally
Misbranding OxyContin (May 10, 2007), available at

http_s://assets.documentcloud.org[documents/Z79028/purdue-ggilg-plea.pdf.

136 ld.
59

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142. Nevertheless, even after the settlement, Purdue continued to pay doctors on speakers` bureaus
to promote the liberal prescribing ofOxyContin for chronic pain and fund seemingly neutral
organizations to disseminate the message that opioids were both effective and non-
addictive. Purdue continues to aggressiver market the liberal prescribing of opioids for
chronic pain while diminishing the associated dangers of addiction. Afier Purdue made its
guilty plea in 2007,

it assembled an army of lobbyists to fight any legislative actions that might
encroach on its business Between 2006 and 2015, Purdue and other
painkiller producers along with their associated nonprofits, spent nearly

nine hundred million dollars on lobbying and political contributions - eight
times what the gun lobby spent during that period. '37

143. Purdue has earned more than $31 billion from OxyContin, the nation’s bestselling
painkiller, which constitutes approximately 30% of the U.S. market for painkillers Since
2009, Purdue’s national annual sales of OxyContin have fluctuated between $2.47 billion
and $2.99 billion, up threefold from 2006 sales of $800 million,l33

144. Purdue also made thousands of payments to physicians nationwide, including
payments to Palmetto physicians, for activities including participating on speakers’
bureaus, providing consulting services assisting in post-marketing safety surveillance and
other services

145. OxyContin has been widely prescribed in Palmetto. According to data collected by
ProPublica, during 2014 and 2015, Florida doctors’ prescriptions of OxyContin to patients
insured by the Medicare Part D program totaled more than 860 million and $62.3 million,

respectively

 

137 Keefe, Empire of Pain, supra n.4.
’38 Eban, Painful Medicine, supra n. 100.

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5. Purdue Failed to Report Suspicious Sales as Required

146. The Comprehensive Drug Abuse Prevention and Control Act of 1970, 21 U.S.C §801, et seq.
("CSA” or "Controlled Substances Act"), and the regulations promulgated thereunder, 21
C.F.R. §1300 et seq., which is incorporated into Florida law by Fla. Stat. §499.0121(10) and
(l 5)(b), imposes on all “registrants” the obligation to design and operate a system to disclose
to the registrant suspicious orders of controlled substances and requires the registrant to notify
the DEA field division office in its area of any suspicious orders, “Suspicious orders include
orders of unusual size, orders deviating substantially from a normal pattem, and orders of
unusual frequency.” 21 C.F.R.§ 1301 .74(b).

147. Purdue is a “registrant” under the federal CSA. 21 C.F.R. §l300.02(b) defines a registrant
as any person who is registered with the DEA under 21 U.S.C. §823. Section 823, in tum,
requires manufacturers of Schedule II controlled substances to register with the DEA.

148. Purdue failed to design and operate a system to disclose suspicious orders of controlled
substances and/or failed to notify the appropriate DEA field division of suspicious orders
Purdue’s failure to timely report suspicious sales violated the CSA.

B- w

149. Janssen manufactures, markets sells and distributes the following opioids in Palmetto and

 

nationwide:
Duragesic Opioid analgesic delivered via skin patch; contains gel Schedule ll
(fentanyl) form of fentanyl, a synthetic opioid that is up to 100

times more potent than morphine; delivers fentanyl at
regulated rate for up to 72 hours; first approved by the
FDA in August 1990.

Nucynta ER Opioid agonist; extended-release formulation indicated Schedule II
(tapentadol for severe pain,
hydrochloride)

 

 

 

 

 

 

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Nucynta Irnmediate-release version of tapentadol hydrochloride Schedule II
(tapentadol for the management of moderate to severe acute pain.
hydrochloride)

 

 

 

 

 

150. Janssen introduced Duragesic in 1990. It is indicated for the “management of pain in opioid-
tolerant patients, severe enough to require daily, around-the-clock, long-term opioid treatment
and for which alternative treatment options are inadequate.” Janssen also markets Nucynta,
which was first approved by the FDA in 2008, formulated in tablet form and in an oral
solution and indicated for the “relief of moderate to severe acute pain in patients 18 years
of age or older.” Additionally, Janssen markets Nucynta ER, which was first approved by
the FDA in 201 l in tablet form. lnitially, it was indicated for the “management of . . . pain
severe enough to require daily, around-the-clock, long-term opioid treatment and for which
alternative treatment options are inadequate.” This pain indication Was later altered to
“management of moderate to severe chronic pain in adults” and “neuropathic pain
associated with diabetic peripheral neuropathy (DPN) in adults.” Janssen sold Nucynta
and Nucynta ER to Depomed in 2015 for $l.05 billion.

1 . The FDA Warned Janssen Regarding Its False Messaging

151. On February 15, 2000, the FDA sent Janssen a letter concerning the alleged dissemination
of “homemade” promotional pieces that promoted Duragesic in violation of the Federal
Food, Drug, and Cosmetic Act. In a subsequent letter, dated March 30, 2000, the FDA
explained that the “homemade” promotional pieces were “false or misleading because they
contain misrepresentations of safety information, broaden Duragesic’s indication, contain
unsubstantiated claims and lack fair balance.”

152. The March 30, 2000 letter identified specific violations including misrepresentations that

Duragesic had a low potential for abuse:

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¢ You present the claim, “Low abuse potentia|!” This claim suggests that
Duragesic has less potential for abuse than other currently available
opioids. However, this claim has not been demonstrated by substantial
evidence, Furthermore, this claim is contradictory to information in the
approved product labeling (Pl) that states, “Fentanyl is a Schedule ll
controlled substance and can produce drug dependence similar to that
produced by morphine.” Therefore, this claim is false or misleading'39

153. The March 30, 2000 letter also stated that the promotional materials represented that
Duragesic was “more useful in a broader range of conditions or patients than has been
demonstrated by substantial evidence." Specifically, the FDA stated that Janssen was
marketing Duragesic for indications other than the treatment of chronic pain that cannot
otherwise be managed, for which it was approved:

0 You present the claim, “lt’s notjust for end stage cancer anymore!”
This claim suggests that Duragesic can be used for any type of pain
management However, the Pl for Duragesic states “Duragesic
(fentanyl transdermal system) is indicated in the management of
chronic pain in patients who require continuous opioid analgesia for
pain that cannot be managed by lesser means...” Therefore, the
suggestion that Duragesic can be used for any type of pain
management promotes Duragesic[] for a much broader use than is
recommended in the Pl, and thus is misleading ln addition, the
suggestion that Duragesic can be used to treat any kind of pain is
contradictory to the boxed warning in the Pl. Specifically, the Pl
states,

BECAUSE SERIOUS OR LIFE-THREATENING HYPOVENTILATION
COULD OCCUR, DURAGESIC® (FENTANYL TRANSDERMAL
SYSTEM) IS CONTRAINDICATED:

¢ ln the management of acute or post-operative pain, including use in
out- patient surgeries . . . '4°

154. The March 30, 2000 letter also stated Janssen failed to adequately present

"contraindications, warnings precautions and side effects with a prominence and

 

‘3° NDA 19-813 Letter from Spencer Salis, U.S. Food & Drug Administration, to Cynthia Chianose, Janssen
Phannaceutica (Mar. 30, 2000) at 2.
140 ld. at 2-3.

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readability reasonably comparable to the presentation of information relating to the
effectiveness of the product”:

Although this piece contains numerous claims for the efficacy and safety of
Duragesic, you have not presented any risk information conceming the
boxed warnings, contraindications, warnings, precautions, or side effects
associated with Duragesic’s use.... Therefore, this promotional piece is
lacking in fair balance, or otherwise misleading, because it fails to address
important risks and restrictions associated with Duragesic therapy. '4'

155. On September 2, 2004, the U.S. Department of Health and Human Services (“HHS") sent
Janssen a warning letter concerning Duragesic due to “false or misleading claims about the
abuse potential and other risks of the drug, and...unsubstantiated effectiveness claims for
Duragesic,” including, specifically, "suggesting that Duragesic has a lower potential for
abuse compared to other opioid products.”

156. The September 2, 2004 letter warned Janssen regarding its claims that Duragesic had a low
reported rate of mentions in the Drug Abuse Warning Network ("‘DAWN”) as compared
to other opioids. The letter stated that the claim was false or misleading because the claim
was not based on substantial data and because the lower rate of mentions was likely
attributable to Duragesic’s lower frequency of use compared to other opioids listed in
DAWN:

The tile card presents the prominent claim, “Low reported rate of
mentions in DAWN data,” along with Drug Abuse Waming Network
(DAWN) data comparing the number of mentions for
Fentanyl/combinations (710 mentions) to other listed opioid products,
including Hydrocodone/combinations (2 l ,567 mentions),
Oxycodone/combinations (18,409 mentions), and Methadone (10,725
mentions). The file card thus suggests that Duragesic is less abused than
other opioid drugs.

This is false or misleading for two reasons. First, we are not aware
of substantial evidence or substantial clinical experience to support this
comparative claim, The DAWN data cannot provide the basis for a valid

 

"" ld. at 3. (emphasis in original).

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comparison among these products. As you know, DAWN is not a clinical
trial database. lnstead, it is a national public health surveillance system that
monitors drug-related emergency department visits and deaths. If you have
other data demonstrating that Duragesic is less abused, please submit them.

Second, Duragesic is not as widely prescribed as other opioid
products. As a result, the relatively lower number of mentions could be
attributed to the lower frequency of use, and not to a lower incidence of
abuse. The file card fails to disclose this information."‘2

157. The September 2, 2004 letter also detailed a series of unsubstantiated false or misleading
claims regarding Duragesic`s effectiveness The letter concluded that various claims made

by Janssen were insufficiently supported, including that:

¢` “‘Demonstrated effectiveness in chronic back pain with additional
patient benefits, ...86% of patients experienced overall benefit in a
clinical study based ori: pain control, disability in ADLs, quality of
sleep.”’

» “‘All patients who experienced overall benefit from DURAGESIC
would recommend it to others which chronic low back pain.”`

¢ “‘Significant|y reduced nighttime awakenings.”’

0 “‘Significant improvement in disability scores as measured by the
Oswestry Disability Questionnaire and Pain Disability lndex.”’

0 “‘Significant improvement in physical functioning summary scores.”`
0 “‘Significant improvement in social functioning.”’143

158. In addition, the September 2, 2004 letter identified “outcome claims [that] are misleading
because they imply that patients will experience improved social or physical functioning or
improved work productivity when using Duragesic.” The claims include “‘ 1,360 loaves[

[sic]...and counting,` ‘[w]ork, uninterrupted," ‘[l]ife, uninterrupted,’ ‘[g]ame.

 

“2 Warning Letter from Thomas W. Abrams, U.S. Department of Health and Human Services, to Ajit
Shetty, Janssen Phannaceutica, lnc. (Sept. 2, 2004), available at

ht_tp://www.johnsonandtoxin.c0m/040920 duragesic letter.pdf, at 2.

'43 Id. at 2-3.
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uninterrupted,’ ‘[c]hronic pain relief that supports functionality,’ ‘[h]elps patients think less
about theirpain,’ and ‘[i]mprove[s]...physical and social functioning.”` The September 2,
2004 letter stated: “.lanssen has not provided references to support these outcome claims.
We are not aware of substantial evidence or substantial clinical experience to support these
claims.”144
159. On July 15, 2005, the FDA issued a public health advisory warning doctors of deaths
resulting from the use of Duragesic and its generic competitor, manufactured by Mylan
N.V. The advisory noted that the FDA had been “‘examining the circumstances of product
use to determine if the reported adverse events may be related to inappropriate use of the
patch”’ and noted the possibility “that patients and physicians might be unaware of the
risks” of using the fentanyl transdermal patch, which is a potent opioid analgesic meant to

treat chronic pain that does not respond to other painkillers,

2. Janssen Funded False Publications and Presentati'o)is
160. Despite these repeated wamings, Janssen continued to falsely market the risks of opioids.
In 2009, PriCara, a “Division of Ortho-McNeil-Janssen Pharmaceuticals, lnc.,” sponsored a
2009 brochure, titled “Finding Re|ief: Pain Management for Older Adults,” aimed at
potential patients. The brochure included a free DVD featuring actress Kathy Baker, who
played a doctor in the popular television series “Picket Fences.
l6l. The brochure represented that it was a source for older adults to gain accurate information
about treatment options for effective pain relief:
This program is aimed specifically at older adults and what they need to

know to get effective pain relief. You will learn that there are many pathways
to this relief.

You will learn about your options for pain management and how to find the

 

"“ ld. at 3.
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treatment that’s right for you. By learning more about pain and the many
ways it can be treated, you are taking solid steps toward reducing the pain
you or a loved one may be feeling.145

162. Despite representing itself as a source of accurate information, the brochure included false
and misleading information about opioids, including a section seeking to dispel purported
"myths” about opioid usage:

Opioid Myths
Myth: Opioid medications are always addictive.

Fact: Many studies show that opioids are rarely addictive when used properly
for the management of chronic pain,

Myth: Opioids make it harder to function normally.

Fact: When used correctly for appropriate conditions, opioids may make it
easier for people to live normally.

Myth: Opioid doses have to get bigger over time because the body gets
used to them.

Fact: Unless the underlying cause{s}:pfof your pain gets worse (such as with
cancer or arthritis), you will probably remain on the same dose or need only
small increases over time."“’

163. Among the “Partners” listed in “Finding Relief: Pain Management for Older Adults” are the
AAPM, the American Geriatrics Society (“AGS”) and the AGS Foundation for Health in
Aging. Janssen (along with Purdue and Endo) funded the AAPM. The AGS and the AGS
Foundation for Health in Aging published a pain guide titled “Finding Relief: Pain
Management for Older Adults,” which was funded by Janssen."‘7

164. ln addition, Janssen disseminated false information about opioids on the website Prescribe

Responsibly, which remains publicly accessible at www.prescriberesponsibly.com.

 

"‘5 Finding Relief Pain Management for Older Adult.i‘ (2009).
'4° ld. (emphasis in original).
147 Id

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According to the website’s legal notice, all content on the site “is owned or controlled by
Janssen.”"18 The website includes numerous false or misleading representations conceming
the relative safety of opioids and omissions of the risks associated with taking them. For
example, it states that while practitioners are often concerned about prescribing opioids
due to “questions of addiction,” such concerns "are often overestimated. According to
clinical opinion polls, true addiction occurs only in a small percentage of patients with
chronic pain who receive chronic opioid analgesic[]. . .therapy." “°

165. Prescribe Responsibly also compared the risks of opioid use favorably to those associated
with nonsteroidal ami-inflammatory drugs ("NSAle”), such as aspirin and ibuprofen, and
stated that many patients develop tolerance for opioid side effects:

Opioid analgesics are often the first line of treatment for many painful
conditions and may offer advantages over nonsteroidal ami-inflammatory
drugs (NSAIDs). Opioid analgesics, for example, have no true ‘ceiling dose`
for analgesia and do not cause direct organ damage; however, they do have
several possible side effects, including constipation, nausea, vomiting, a
decrease in sexual interest, drowsiness, and respiratory depression. With the

exception of constipation, many patients oden develop tolerance to most of
the opioid analgesic-related side effects,lso

166. Further, Prescn'be Responsibly repeats the scientifically unsupported discussion of
“pseudoaddiction" as "a syndrome that causes patients to seek additional medications due
to inadequate pharmacotherapy being prescribed. Typically when the pain is treated
appropriately, the inappropriate behavior ceases.”l5l Thus, pseudoaddiction is defined as a

condition requiring the prescription of more or stronger opioids.

 

"‘8 Legal Noti'ce, Prescribe Responsibly, http://www.prescriberesgonsibly.com/legal-notice (last visited
Mar. 09, 2018).

l“"Use of Opioid Analgesi'cs in Pain Managemem, Prescribe Responsibly, available at

http: //www. prescriberesponsibly. com/articles/opioid-pain-maiiagetnent t(lastvisitedMar. 09, 2018).

150 Id
m W7iat a Prescriber Should Know Bef:)re Wri!ing the First Prescription, Prescribe Responsibly, available
at h :.//www rescriberes onsibl .com/articles/before- -o ioids (last visited Mar l4, 2018).

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167 . Janssen also made thousands of payments to physicians nationwide, including payments to
Palmetto physicians, for activities including participating on speakers’ bureaus, providing
consulting services, assisting in post-marketing safety surveillance and other services.

168. According to data collected by ProPublica, in 2014, Florida doctors prescribed more than
$2 million worth of Duragesic, nearly $2 million worth of Nucynta, and approximately $2.2
million worth of Nucynta ER to patients insured by Medicare Part D. In 2015, Medicare
part D prescriptions totaled more than $2.1 million worth of Duragesic, almost $2.6 million
worth of Nucynta and more than $3.5 million of Nucynta ER.

169. As people became increasingly hooked on prescription pain killers, they moved to heroin,
and in tum increasingly to fentanyl, which is even more potent and cheaper than heroin, and
which, as set forth above, was being deceptiver marketed by Janssen, causing a dramatic

spike in heroin and fentanyl overdose deaths:

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Heroln and fentanyl overdose deaths are on
the rise

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l l l 1 l l l l l ' j
1999 2001 2003 2005 2001 2000 2011 2013 2015
l Heroin . Nora-methadone synthetic opioids (particu!any tonwnyl)

Som:umaallmmmmmam

3. Janssen Failed to Report Suspicious Sales as Required

170. The federal CSA imposes on all “registrants” the obligation to design and operate a system
to disclose to the registrant suspicious orders of controlled substances and requires the
registrant to notify the DEA field division office in its area of any suspicious orders,
“Suspicious orders include orders of unusual size, orders deviating substantially from a
normal pattem, and orders of unusual frequency.” 21 C.F.R. §1301.74(b).

l7l. Janssen is a “registrant” under the federal CSA. 2| C.F.R. §1300.02(b) defines a registrant
as any person who is registered with the DEA under 21 U.S.C. §823. Section 823, in tum,
requires manufacturers of Schedule ll controlled substances to register with the DEA.

172. Janssen failed to design and operate a system to disclose suspicious orders of controlled

substances and/or failed to notify the appropriate DEA field division of suspicious orders.

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Janssen’s failure to timely report suspicious sales violated the CSA.

C.

En_dO

173. Endo manufactures, markets, sells and distributes the following opioids in Palmetto and

 

 

 

 

 

 

 

 

nationwide:
Opana ER Opioid agonist; extended-release tablet formulation; Schedule II
(oxymorphone first drug in which oxymorphone is available in an
hydrochloride) oral, extended-release formulation; first approved in

2006.

Opana Opioid agonist; first approved in 2006. Schedule II
(oxymorphone
hydrochloride)
Percodan Branded tablet combining oxymorphone Schedule ll
(oxymorphone hydrochloride and aspirin; first approved in 1950; first
hydrochloride marketed by Endo in 2004,
and aspirin)
Percocet Branded tablet that combines oxymorphone Schedule II
(oxymorphone hydrochloride and acetaminophen; first approved in
hydrochloride 1999; first marketed by Endo in 2006.
and
acetaminophen)
Oxycodone Genen'c product. Schedule II
Oxymorphone Generic product. Schedule II
Hydromorphone Generic product. Schedule II
Hydrocodone Generic product Schedule II

 

 

 

 

 

174. The FDA first approved an injectable form of Opana in 1959. The injectable form of Opana
was indicated “for the relief of moderate to severe pain” and “for preoperative medication, for
support of anesthesia, for obstetrical analgesia, and for relief of anxiety in patients with
dyspnea associated with pulmonary edema secondary to acute left ventricular
dysfunction.” However, oxymorphone drugs were removed from the market in the 1970s

due to widespread abuse.l52

 

'52 John Fauber & Kristina Fiore, 0paiia gets FDA approval despite history of abuse, limited effectiveness
in trials, Milwaukee Joumal Sentinel (May 9, 2015), available at
ht ://archive. sonline. com/watcth watchdo f
%20abuse-limited- effectiveness-in-trials-b99494 l 322| -303 19832 l .html/.

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175. In 2006, the FDA approved a tablet form of Opana in 5 mg and 10 mg strengths. The tablet
form was “indicated for the relief of moderate to severe acute pain where the use of an opioid
is appropriate.” Also in 2006, the FDA approved Opana ER, an extended-release tablet
version of Opana available in 5 mg, 10 mg, 20 mg and 40 mg tablet strengths. Opana ER
was indicated “for the relief of moderate to severe pain in patients requiring continuous,
around-the-clock opioid treatment for an extended period of time." Endo`s goal was to use
Opana ER to take market share away from OxyContin; it was tiii.smarketed as being safer, and
with less abuse potential than OxyContin because of its crush-resistance

l 76. According to Endo’s annual reports, sales of Opana and Opana ER regularly generate several
hundred million dollars in annual revenue for the company, growing from $107 millionin
2007 to as high as $384 million in 201 l. Over the last ten years, Percocet has generated an
average of well over $100 million in annual revenue for the company,

1. Eudo F alser Ma)'lteted Opana ER as Crush Resista)it

177 . In December 2011, the FDA approved a reformulated version of Opana ER, which Endo
claimed offered “safety advantages” over the original formulation because the latter “‘is
resistant to crushing by common methods and tools employed by abusers of prescription
opioids . . . [and] is less likely to be chewed or crushed even in situations where there is no
intent for abuse, such as where patients inadvertently chew the tablets, or where caregivers
attempt to crush the tablets for easier administration with food or by gastn`c tubes, or where

children accidentally gain access to the tablets. ”"53

 

'53 FDA-2012-P-0895 Letter from Janet Woodcock, M.D., Center for Drug Evaluation and Research, to
Richard Barto, Endo Pharmaceuticals, available at

hgps://www.pharmamedtechbi.com/~/media/Supporting%20Documents/'I'he%20Pink%2OSheet%ZODAl
LY/ZOIS/May/FDA CDER Final RespEndo Pharinaceuticals Inc Petition Denial.gdf at 4. (hei‘eafier

“Letter from Janet Woodcock”).

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17 8. Endo publicized the reformulated version of Opana ER as “crush-resistant.” To combat the
fear of opioids, sales representatives touted it to doctors as a safer option owing to its crush-
resistance and extended release. ln a December 12, 2011 press release announcing FDA
approval of the reformulated Opana ER, Endo’s executive vice president for research and
development and chief scientific officer highlighted the reformulated version’s safety
characteristics:

“FDA’s approval of this new formulation of Opana ER is an important
milestone for both the Long Acting Opioid category as well as Endo’s
branded pharmaceutical portfolio. . . . Patient safety is our top concern and
addressing appropriate use of opioids is a responsibility that we take very
seriously. We firmly believe this new formulation of Opana ER, coupled

with our long-term commitment to awareness and education around
appropriate use of opioids will benefitpatients, physicians and payers.”154

179. However, in October 2012, the CDC issued a health alert noting that 15 people in
Tennessee had contracted thrombotic thrombocytopenic purpura, a rare blood-clotting
disorder, alter injecting reformulated Opana ER. In response, Endo’s chief scientific officer
stated that, while Endo was looking into the data, he was not especially concemed: “‘ Clearly,
we are looking into this data, . . .but it’s in a very, very distinct area of the country.”"55

180. Shortly thereafter, the FDA determined that Endo’s conclusions about the purported safety
advantages of the reformulated Opana ERwere unfounded. In a May 10, 2013 letter to Endo,
the FDA found that the tablet was still vulnerable to “‘cutting, grinding, or chewing,”’
‘“can be prepared for insufflation (snorting) using commonly available tools and

methods,”’ and “‘can [be readily] prepared for injection.”’ lt also warned that preliminary

 

”‘ Press Release, Endo Announces FDA Approval of New Forrnulation of Opana ER Designed to be Crush-

Resistant (Dec.12,2011), available at h:ggs //www. pmewswire. com/news-releases/endo-announces-fda-

a roval-of-a-new-forinulation-of-o ana-er-desi ed-to-be-ci'ush-resistant-l35431073. html.
'” lake Harper & Kelly McEvers, How A Painkillei' Designed T 0 Deter Abuse Helped Spark An HIV
Outbreak, National Public Radio (Apr. 1,2016), available at https: //www. np_r. org[sections/health-

shots/201 6/04/0 l /472538272/how-a~gainkiller-desigod-to-deter-abuse-helped-spark-an-hiv-outbreak
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data suggested “the troubling possibility that a higher percentage of reformulated Opana
ER abuse is via injection than was the case with the original f`on'nulation.”'56

181. A 2014 study co-authored by an Endo medical director corroborated the FDA’s waming.
This 2014 study found that while overall abuse of Opana had fallen following Opana ER’s

reformulation, it also found that injection had become the preferred way of abusing the

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drug However, the study reassured that it was not possible to draw a causal link between

the reformulation and injection abuse,

182. The study’s failure to adequately warn healthcare providers and the public was
catastrophic. On April 24, 2015, the CDC issued a health advisory concerning its
investigation of “a large outbreak of recent human immunodeficiency virus (HIV) infections
among persons who inject drugs."`158 The CDC specifically attributed the outbreak to the
injection of Opana ER. As the advisory explained:

From November 2014 to January 2015, ISDH identified ll new HIV
infections in a rural southeastern county where fewer than 5 infections have
been identified annually in the past. As of April 21, 2015, an on-going
investigation by ISDH with assistance from CDC has identified 135 persons
with newly diagnosed HIV infections in a community of 4,200 people; 84%
were also HCV infected. Among 112 persons interviewed thus far, 108
(96%) injected drugs; all reported dissolving and injecting tablets of the
prescription-type opioid oxymorphone (OPANA® ER) using shared drug
preparation and injection equipment '5°

2. New York ’s !nvestigation Found Endo Falsely Marketed Opana ER

183. On February 18, 2017, the State of New York announced a settlement with Endo requiring

it ‘°to cease all misrepresentations regarding the properties of Opana ER [and] to describe

 

'5‘ Letter from Janet Woodcock, supra n. 153 at 2 n.5.

"" Harper, supra n. 155.

'58 Outbreak of Recent H!V and HCV Infections Among Persons Who lnject Dmgs, Centers for Disease
Control and Prevention,https://stacks.cdc.gov/view/cdc/3059l ( last visited Mar. l4, 201 8).

159 ld.

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accurately the risk of addiction to Opana ER.”‘°° ln the Assurance of Discontinuance that
effectuated the settlement, the State of New York revealed evidence showing that Endo had
known about the risks arising from the reformulated Opana ER even before it received
FDA approval.

184. Among other things, the investigation concluded that:

¢ Endo improperly marketed Opana ER as designed to be crash
resistant, when Endo’s own studies dating from 2009 and 2010
showed that the pill could be crushed and ground,'

0 Endo improperly instructed its sales representatives to diminiin and
distort the risks associated with Opana ER, including the serious
danger of addiction; and

0 Endo made unsupported claims comparing Opana ER to other opioids
and failed to disclose accurate information regarding studies
addressing the negative effects of Opana ER.

185. In October 2011, Endo’s director of project management e-mailed the company that had
developed the formulation technology for reformulated Opana ER to say there was little or
no difference between the new formulation and the earlier formulation, which Endo
withdrew due to risks associated with grinding and chewing:

“We already demonstrated that there was little di_)j'erence between [the
original and new formulations of Opana] in Study 108 when both products
were ground. FDA deemed that there was no difference and this
contributed to their statement that we had not shown an incremental benefit.
T he chewing study (109) showed the same thing no real difference which
the FDA used to claim no incremental benefit.”161

186. Endo conducted two additional studies to test the reformulated Opana ER’s crush

 

'°° Press Release, Attomey General Eric T. Schneiderman, A.G. Schneiderman Announces Settlement With
Endo Health Solutions Inc. & Endo Pharmaceuticals Inc. Over Marketing Of Prescription Opioid Drugs

(Mar. 3, 2016), https://ag.ny.gov/press-release/ag-schneiderman-announces-settlement-endo-health-

solutions~inc-endo-pharmaceuticals.
'°' In the Matter of Endo Health Solutions lnc. and Endo Pliarmaceuticals lnc., Assurance No. 15-228,

Assurance of Discontinuance Under Executive Law Section 63, Subdivision 15 at 5 (Mar. l, 2016),

hggs://ag.ny.gov/pdfs/Endo AOD 030116-Fully Executed.pdf.

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resistance, Study 901 tested whether it was more difficult to extract reformulated Opana ER
than the original version, and whether it would take longer to extract from reformulated
Opana ER than from the original version. The test revealed that both formulations behaved
similarly with respect to manipulation time and produced equivalent opioid yields.

187. The settlement also identified and discussed a February 2013 communication from a
consultant hired by Endo to the company, in which the consultant concluded that “‘[t]he
initial data presented do not necessarily establish that the reformulated Opana ER is tamper
resistant.”` The same consultant also reported that the distribution of the reformulated
Opana ER had already led to higher levels of abuse of the drug via injection.l62

188. Regardless, pamphlets produced by Endo and distributed to physicians misleadingly
marketed the reformulated Opana ER as “‘designed to be’ crush resistant,” and Endo’s
sales representative training identified Opana ER as "CR,” short for crush resistant.163

189. The Office of the Attomey General of New York also revealed that the “managed care
dossier” Endo provided to formulary committees of healthcare plans and pharmacy benefit
managers misrepresented the studies that had been conducted on Opana ER. The dossier
was distributed in order to assure the inclusion of reformulated Opana ER in their
formularies.

190. According to Endo’s vice president for pharinacovigilance and risk management, the dossier
was presented as a complete compendium of all research on the drug. However, it omitted
certain studies: Study 108 (completed in 2009) and Study 109 (completed in 2010), which
showed that reformulated Opana ER could be ground and chewed.

191. The settlement also detailed Endo’s false and misleading representations about the non-

 

'°2 ld. at 6.
163 ld.

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addictiveness of opioids and Opana. Until April 2012, Endo’s website for the drug,
www.opana.com, contained the following representation: “‘Most healthcare providers who
treat patients with pain agree that patients treated with prolonged opioid medicines usually do
not become addicted.”’ '64 However, Endo neither conducted nor possessed a survey
demonstrating that most healthcare providers who treat patients with pain agree with that
representation

192. TheOfficeoftheAttomeyGeneralofNew York alsodisclosedthattrainingmaterials provided
by Endo to sales representatives stated: “‘Symptoms of withdrawal do not indicate
addiction.”"‘55 This representation is inconsistent with the diagnosis of opioid-use disorder
as provided in the Diagnostic and Statistical Manual of Mental Disorders by the American
Psychiatric Association (Fifth Edition).

193. The Office of the Attomey General of New York also found that Endo trained its sales
representatives to falsely distinguish addiction from “pseudoaddiction,” which it defined as
a condition in which patients exhibit drug-seeking behavior that resembles but is not the
same as addiction. However, Endo’s vice president for pharmacovigilance and risk
management testified that he was not aware of any research validating the concept of
pseudoaddiction.

194. On June 9, 2017, the FDA asked Endo to voluntarily cease sales of Opana ER after
determining that the risks associated with its abuse outweighed the benefits. According to
Dr. Janet Woodcock, director of the FDA’s Center for Drug Evaluation and Research, the
risks include “several serious problems,” including “outbreaks of HIV and Hepatitis C from

sharing the drug after it was extracted by abusers” and “a[n] outbreak of serious blood

 

164 ld.
‘°5 Id. at 7.

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disorder.” If Endo does not comply with the request, Dr. Woodcock stated that the FDA
would issue notice of a hearing and commence proceedings to compel its removal.
3. Endo Funded False Publications and Presentations

195. Like several of the other Manufacturing Defendants, Endo provided substantial funding to
purportedly neutral medical organizations, including the APF.

196. For example, in April 2007, Endo sponsored an article aimed at prescribers, written by Dr.
Charles E. Argoff in Pain Medicine News, titled “Case Challenges in Pain Management
Opioid Therapy for Chronic Pain.”'“

197. The article commenced with the observation that “[a]n estimated 50 to 60 million people .
. . suffer from chronic pain.” lt continued:

Opioids represent a highly effective but controversial and ofien
misunderstood class of analgesic medications for controlling both chronic
and acute pain. The phenomenon of tolerance to opioids - the gradual
waning of relief at a given dose - and fears of abuse, diversion, and misuse
of these medications by patients have led many clinicians to be wary of

prescribing these drugs, and/or to restrict dosages to levels that may be
insufficient to provide meaningful relief`."’7

198. The article included a case study that focused on the danger of extended use of NSAIDs,
including that the subject was hospitalized with a massive upper gastrointestinal bleed
believed to have resulted from his protracted NSAID use, ln contrast, the article did not
provide the same detail concerning the serious side effects associated with opioids. lt
concluded by saying that the “use of opioids may be effective in the management of chronic
pain.”

199. Later. in 2014, Endo issued a patient brochure titled “Understanding Your Pain: Taking

 

'°° Charles E. Argoff, Case Challenges in Pain Managemem: Opioid Therapyfor Chronic Pain, Pain Med.

News,hgps://www.painmedicinenews.com/download/BtoB Opana WM.gdf.
167 ld.

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Oral Opioid Analgesics.” lt was written by nurses Margo McCaffery and Chris Pasero and
edited by APF board member Portenoy.

200. The brochure included numerous false and misleading statements minimizing the dangers
associated with prescription opioid use. Among other things, the brochure falsely and
misleadingly represented that:

Addiction IS NOT when a person develops “withdrawal” (such as abdominal
cramping or sweating) after the medicine is stopped quickly or the dose is
reduced by a large amount. Your doctor will avoid stopping your medication
suddenly by slowly reducing the amount of opioid you take before the
medicine is completely stopped. Addiction also IS NOT what happens
when some people taking opioids need to take a higher dose after a period
of time in order for it to continue to relieve their pain, This normal
“tolerance” to opioid medications doesn’t affect everyone who takes them
and does not, by itself, imply addiction. If tolerance does occur, it does not
mean you will “run out” of pain relief. Your dose can be adjusted or another
medicine can be prescribed.

* * =l=

How can l be sure l ’m not addicted?

[l D Addiction to an opioid would mean that your pain has gone away but you
still take the medicine regularly when you don’t need it for pain, maybejust
to escape from your problems.

° Ask yourself: Would I want to take this medicine if my pain went
away? lf you answer no, you are taking opioids for the right reasons - to
relieve your pain and improve your function, You are not addicted.

* * *

Your doctor or nurse may instruct you to do some of the following:

0 Take the next dose before the last dose wears off. If pain is present
most of the day and night, the pain medicine may be taken at regularly
scheduled times. lf you are taking a short-acting opioid, this usually means
taking it every 4 hours. You may need to set your alarm, especially at night,
to be sure you take your dose before the pain returns and wakes you up.

0 lf your pain comes and goes, take your pain medicine when pain first
begins, before it becomes severe.

° If you are taking a long-acting opioid, you may only need to take it every

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8 to 12 hours, but you may also need to take a short-acting opioid in between
for any increase in pain.163

201. In 2008, Endo also provided an “educational grant” to PainEDU.org, which produced a
document titled “Screener and Opioid Assessment for Patients with Pain (SOAPP) Version
1.0-14Q.” Endo and King Pharmaceuticals sponsor PainEDU.org.169 SOAPP describes
itself “as a tool for clinicians to help determine how much monitoring a patient on long-
term opioid therapy might require.” lt falsely highlights purportedly “recent findings
suggesting that most patients are able to successfully remain on long-term opioid therapy
without significant problems."

202. Endo also sponsored the now-defunct website painknowledge.com, which was created by
the APF and stated it was ‘°a one-stop repository for print materials, educational resources,
and physician tools across the broad spectrum of pain assessment, treatment, and
management approaches.”170 Among other featured content, painknowledge.com included
a flyer titled “Pain: Opioid Therapy,” which failed to warn of significant adverse effects
that could arise from opioid use, including hyperalgesia, immune and hormone dysfunction,
cognitive impairment, decreased tolerance, dependence and addiction.

203. Endo, along with Janssen and Purdue, also provided grants to APF to distribute Exit

Wounds, discussed above. See supra 1169.'7'

 

'°8 Margo McCaffery & Chris Pasero, Understanding Your Pain.' Taking Oral Opioid Analgesics, Endo
Pharmaceuticals (2004), http://www.thblack.com/links/RSD/Understand Pain Opioid Analgesics.pdf
(emphasis in original).

'°° B. Eliot Cole, Resources for Education on Pain and Its Management: A Practitioner ’s Compendium 2
(Am. Society of Pain Educators 2009), https://www.paineducators.org[wp-content/uploads/ZOl2/12/ASPE-

ResForEducationOnPainAn.pdf.
17"Al)outPai'nKnowledge.org, PainKnowledge, available at

http://web.archive.org{web/ZO1201 20094923/ht_tp://www.painknowledge.orgabou§paink.aspx (last visited
Mar. l4, 2018).

m Iraq War Veteran Amputee, Pain Advocate and New Author Release Exit Wounds: A Survz'val Guide to
Pain Managementfor Returning Veterans and Their Families, Coalition for Iraq + Afghanistan Veterans,
available at htt s://web.archive.or web/20160804l31030/htt ://coalitionforveterans.or 2009!10/ira

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Endo also made thousands of payments to physicians nationwide, including payments to
Palmetto physicians, for activities including participating on speakers’ bureaus, providing
consulting services, assisting in post-marketing safety surveillance and other services.

4. The FDA Requested Endo Witltdraw Opana ER Due to the Public Health
Consequences of A base

On June 8, 2017, the FDA requested that Endo remove reformulated Opana ER from the
market "based on its concern that the benefits of the drug may no longer outweigh its
risks.”"l2 According to the FDA’s press release, it sought removal "due to the public health
consequences of abuse.” The decision to seek Opana ER`s removal from sale followed a
March 201 7 FDA advisory committee meeting, during which a group of independent experts
voted 18-8 that the drug’s benefits no longer outweigh the risks associated with its use.
Should Endo choose not to remove Opana ER due to the FDA’s request, the agency stated
that it will take steps to formally require its removal by withdrawing approval.

Opana ER has been widely prescribed in Palmetto. According to data collected by
ProPublica, during 2014 and 2015, Florida doctors’ prescriptions of Opana ER to patients
insured by the Medicare Part D program totaled approximately $ 12.8 million and more than
$14.8 million, respectively.

5. Endo Failed to Report Suspicious Sales as Required

The federal CSA imposes on all “registrants" the obligation to design and operate a system
to disclose to the registrant suspicious orders of controlled substances and requires the

registrant to notify the DEA field division office in its area of any suspicious orders,

 

 

management-for-retuming-veterans-and-their-families/ (last visited Mar. l4, 2018).

m Press Release, U.S. Food & Drug Administration, FDA requests removal of Opana ER for risks related to
abuse (June 8, 2017), available at

https ://www.fda. gov/newsevents/newsroom/pressannouncements/ucm56240 l .htm.

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208.

209.

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“Suspicious orders include orders of unusual size, orders deviating substantially from a
normal pattem, and orders of unusual frequency.” 21 C.F.R. §l301.74(b).

Endo is a “registrant” under the federal CSA. 21 C.F.R. §1300.02(b) defines a registrant as
any person who is registered with the DEA under 21 U.S.C. §823. Section 823, in tum,
requires manufacturers of Schedule II controlled substances to register with the DEA.
Endo failed to design and operate a system to disclose suspicious orders of controlled
substances and/or failed to notify the appropriate DEA field division of suspicious orders.

Endo’s failure to timely report suspicious sales violated the CSA.

D. Cephalon

Cephalon manufactures, markets, sells and distributes the following opioids in Palmetto and

nationwide:

 

Actiq (fentanyl Opioid analgesic; oral transmucosal lozenge; indicated Schedule II
citrate) only for the management of breakthrough pain (or
“BTP”) in cancer patients - pain that for a short time
“breaks through” medication that otherwise effectively
controls a patient’s persistent pain - in patients 16 and
older with malignancies; commonly referred to as a
lollipop because designed to look and perform like one;
approved in 1998 with restricted distribution program.

 

 

 

 

 

Fentora Rapid-release tablet for BTP in cancer patients who are Schedule ll
(fentanyl already receiving and tolerant of around-the-clock

buccal) opioid therapy; approved 2006.

Generic of Opiate agonist. Schedule II
OxyContin

(oxycodone

hydrochloride)

 

 

Actiq is designed to resemble a lollipop and is meant to be sucked on at the onset of intense

BTP in cancer patients, It delivers fentanyl citrate, a powerful opioid agonist that is 80 times

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3 rapidly into a patient’s bloodstream through the oral

stronger than morphine, "
membranes. m Because it is absorbed through those membranes, it passes directly into
circulation without having to go through the liver or stomach, thereby providing faster
relief`.175

212. In November 1998, the FDA approved Actiq for only a very narrow group of people cancer
patients “with malignancies who are already receiving and who are tolerant to opioid
therapy for their underlying persistent cancer pain.”176

213. Understanding the risks of introducing such an intense opioid analgesic to the market, the FDA
provided approval of Actiq “ONLY for the management of breakthrough cancer pain in
patients with malignancies who are already receiving and who are tolerant to opioid therapy
for their underlying persistent cancer pain.”177 Further, the FDA explicitly stated that Actiq
“must not be used in opioid non-tolerant patients,” was contraindicated for the
management of acute or postoperative pain, could be deadly to children, and was “intended
to be used only in the care of opioid-tolerant cancer patients and only by oncologists and
pain specialists who are knowledgeable of and skilled in the use of Schedule II opioids to

treat cancer pain.”

214. The FDA also required that Actiq be provided only in compliance with a strict risk-

 

'73 See John Carreyrou, Narcotic “Lollipop ” Becomes Big Seller Despite FDA Curbs, Wall St. .l. (Nov. 3,
2006), available at h s://www.o iates.com/narcotic-lolli o -becomes-bi -seller-des ite-fda-curbs/
(hereinal`ter “Carreyrou, Narcotic Lollipop”).

'7“ Actiq would later become part of a category of opioids now known as transmucosal immediate- release
fentanyl (“TIRF”) products. “Transmucosal” refers to the means through which the opioid is delivered into a
patient’s bloodstream, across mucous membranes, such as inside the cheek, under the tongue or in the nose.
m Cephalon, lnc., Company-Histories.com, available at ht;p://www.company-histories.com/Cephalon-
Inc-Company-Histogg.html (last visited Mar. l4, 2018).

'76 1998 FDA Label.

m NDA 20-747 Letter from Cynthia McCormick, Center for Drug Evaluation and Research, to Patricia J.
Richards, Anesta Corporation, available at

hgps:/'/www.accessdata.fda.gov/drugsatfda docs/appletter/ l 998/20747ltr.pdf.

   

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management program that explicitly limited the drug`s direct marketing to the approved
target audiences, defined as oncologists, pain specialists, their nurses and office staff. '73

215. In October 2000, Cephalon acquired the worldwide product rights to Actiq and began
marketing and selling Actiq in the United States,

216. Cephalon purchased the rights to Fentora, an even faster-acting tablet formulation of
fentanyl, from Cima Labs, and submitted a new drug application to the FDA in August
2005. In September 2006, Cephalon received FDA approval to sell this faster-acting
version of Actiq; but once again, concerned about the power and risks inherent to fentanyl,
the FDA limited Fentora’s approval to the treatment of BTP in cancer patients who were
already tolerant to around-the-clock opioid therapy for their underlying persistent cancer
pain. Cephalon began marketing and selling Fentora in October 2006.

l. Ceplialon Falsely and Aggressively Marketed Cancer Drug Actiq to Non-
Cancer Treating Physicians

217. Due to the FDA’s restrictions, Actiq’s consumer base was limited, as was its potential for
growing revenue. ln order to increase its revenue and market share, Cephalon needed to
find a broader audience and thus began marketing its lollipop to treat headaches, back pain,
sports injuries and other chronic non-cancer pain, targeting non-oncology practices,
including, but not limited to, pain doctors, general practitioners, migraine clinics,
anesthesiologists and sports clinics. It did so in violation of applicable regulations
prohibiting the marketing of medications for off-label use and in direct contravention of the
FDA’s strict instructions that Actiq be prescribed only to terminal cancer patients and by
oncologists and pain management doctors experienced in treating cancer pain.

218. According to “data gathered from a network of doctors by research firm ImpactRx between

 

m Carreyrou, Narcotic Lollipop, supra n.173.

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June 2005 and October 2006” (“1mpactRx Survey”), Cephalon sales representatives visits
to non-oncologists to pitch Actiq increased sixfold between 2002 and 2005. Cephalon
representatives would reportedly visit non-oncologists montlily, providing up to 60 or 70
coupons (each coupon was good for six free Actiq lozenges) and encouraging prescribers to
try Actiq on their non-cancer patients.179
219. Cephalon`s efforts paid off. In 2000, Actiq generated $15 million in sales.180 By 2002, it
attributed a 92% increase in Actiq sales to “a dedicated sales force for ACTlQ” and
"‘ongoing changes to [its] marketing approach including hiring additional sales
representatives and targeting our marketing efforts to pain specialists.""‘l By 2005, Actiq’s
sales total had jumped to $412 million, making it (a drug approved for only a narrow
customer base) Cephalon’s second-best selling drug. By the end of 2006, Actiq’s sales had
exceeded $500 million.'82
220. Only l% of the 1 87,076 prescriptions for Actiq filled at retail pharmacies during the first six
months of 2006 were prescribed by oncologists Results of the lmpactRx Survey suggested

that "more than 80 percent of patients who use[d] the drug don’t have cancer."183

2. Governmental Investigations Found Cephalon Falsely Marketed Actiq for
OF-Label Uses.

221. Beginning in or about 2003, former Cephalon employees filed four whistleblower lawsuits
claiming the company had wrongfully marketed Actiq for unapproved off-label uses. On

September 29, 2008, Cephalon finalized and entered into a corporate integrity agreement

 

179 ld.
rso Id_

m Cephalon, lnc. Annual Report (Fomi lO-K) (Mar. 31, 2003), available at
https://www.sec.gov/Archives/edgar/data/873364/000 l 0474690301 1 l37/a2105971210-k.htm at 28.

'32 Carreyrou, Narcotic Lollipop, supra n. 173.
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with the Office of the lnspector General of HHS and agreed to pay $425 million in civil
and criminal penalties for its off-label marketing of Actiq and two other drugs (Gabitril and
Provigil). According to a DOJ press release, Cephalon trained sales representatives to
disregard restrictions of the FDA- approved label, employed sales representatives and
healthcare professionals to speak to physicians about off-label uses of the three drugs, and
funded CME to promote off-label uses. Specifically, the DOJ stated:

From 2001 through at least 2006, Cephalon was allegedly promoting
[Actiq] for non-cancer patients to use for such maladies as migraines,
sickle-cell pain crises, injuries, and in anticipation of changing wound
dressings or radiation therapy. Cephalon also promotedActiq for use in
patients who were not yet opioid-tolerant, and for whom it could have life-
threatening results m

222. Then-acting U.S. Attomey Laurie Magid commented on the dangers of Cephalon’s
unlawful practices:

“This company subverted the very process put in place to protect the
public from harm, and put patients’ health at risk for nothing more than
boosting its bottom line. People have an absolute right to their doctors’ best
medical judgment They need to know the recommendations a doctor makes
are not influenced by sales tactics designed to convince the doctor that the
drug being prescribed is safe for uses beyond what the FDA has
approved.”"”

223. Upon information and belief, documents uncovered in the govemment’s investigations
confirm that Cephalon directly targeted non-oncology practices and pushed its sales
representatives to market Actiq for off-label use. For instance, the government’s
investigations confimied:

0 Cephalon instructed its sales representatives to ask non-cancer doctors whether

they have the potential to treat cancer pain. Even if the doctor answered “no,” a
decision tree provided by Cephalon instructed the sales representatives to give

 

"“ Press Release, U.S. Department of Justice, Pharmaceutical Company Cephalon To Pay $425 Million For
Off-Label Drug Marketing (Sept. 29, 2008), available at

https://www.justice.gov/archive/usao/gae/News/ZO08/sep/cep_halonrelease.pdf.
185 ld.

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these physicians free Actiq coupons;

¢ Cephalon targeted neurologists in order to encourage them to prescribe Actiq
to patients with migraine headaches;

¢ Cephalon sales representatives utilized the assistance of outside pain
management specialists when visiting non-cancer physicians to pitch Actiq.
The pain management specialist would falsely inform the physician that Actiq
does not cause patients to experience a “high” and carries a low risk of diversion
toward recreational use;

¢ Cephalon set sales quotas for its sales and marketing representatives that could
not possibly have been met solely by promoting Actiq for its FDA-approved
indication;

0 Cephalon promoted the use of higher doses of Actiq than patients required by
encouraging prescriptions of the drug to include larger-than-necessary numbers
of lozenges with unnecessarily high doses of fentanyl; and

¢ Cephalon promoted Actiq for off-label use by funding and controlling CME
seminars that promoted and misrepresented the efficacy of the drug for off-label
uses such as treating migraine headaches and for patients not already opioid-
tolerant.186

224. Still, the letters, the FDA’s safety alert, the DOJ and state investigations and the massive
settlement seemed to have had little impact on Cephalon as it continued its deceptive

marketing strategy for both Actiq and Fentora.

3. Cephalon Falsely and Aggressively Marketed Cancer Drug Fentora to
Non-Cancer Treating Physicians

225. From the time it first introduced Fentora to the market in October 2006, Cephalon targeted
non-cancer doctors, falsely represented Fentora as a safe, effective off-label treatment for
non-cancer pain and continued its disinformation campaign about the safety and non-
addictiveness of Fentora specifically and opioids generally. In fact, Cephalon targeted the

same pain specialists and non-oncologists that it had targeted with its off-label marketing

 

186 John Carreyrou, Cephalon Used lmproper Tactr'cs to Sell Drug, Probe Finds, Wall St. J., Nov. 21 , 2006,

https://www.wsj.com/articles/SBI16407880059829145, at Bl (hcreinafter “Carreyrou, Cephalon Used

Improper Tacti'cs”).

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of Actiq, simply substituting Fentora.
226. During an investor earnings call shortly after Fentora’s launch, Cephalon’s chief executive
officer described the “opportunity” presented by the use of Fentora for non-cancer pain:

T he other opportunity of course is the prospect for FENTORA outside of
cancer pain, in indications such as breakthrough lower back pain and
breakthrouin neuropatltic pain.

* * *

Of all the patients taking chronic opioids, 32% of them take that medication
to treat back pain, and 30% of them are taking their opioids to treat
neuropathic pain, In contrast only 12% are taking them to treat cancer pain,
12%.

We know from our own studies that breakthrough pain episodes experienced
by these non-cancer sufferers respond very well to FENTORA. And for all
these reasons, we are tremendously excited about the significant impact
FENTORA can have on patient health and well being and the exciting growth
potential that it has for Cephalon.

ln summary, we have had a strong launch of FENTORA and continue to
grow the product aggressively. Today, that growth is coming from the
physicians and patient types that we have identified through our efforts in the
field over the last seven years. In the future, with new and broader indications
and a much bigger field force presence, the opportunity that FENTORA
represents is enormous187

4. T he FDA Warned Cephalon Regarding its False and Ojjf-Label Marketing
of F enfora

227. On September 27, 2007, the FDA issued a public health advisory to address numerous
reports that patients who did not have cancer or were not opioid tolerant had been
prescribed Fentora, and death or life-threatening side effects had resulted. The FDA

warned: “Fentora should not be used to treat any type of short-term pain.”'88

 

m Seeking Alpha, Transcript of Ql 2007 Cephalon, lnc. Eamings Conference Call, May l, 2007,
https://seekin galpha.com/article/34 l 63-cep_halon-g l -2007-eamings-call-transcript at 6-7.

138 Press Release, U.S. Food & Drug Administration, Public Health Advisory: lmportant Information for
the Safe Use of Fentora (fentanyl buccal tablets) (Sept. 26, 2007), available at https://wayback.archive-

it.org{7993/201 701 1203291 8/http_://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetylnformationfo

rPatientsandProviders/ucmOS l 273 .htm.

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228. Nevertheless, in2008, Cephalon pushed forward to expand thetarget base for Fentora and filed
a supplemental drug application requesting FDA approval of Fentora for the treatment of
non-cancer BTP. ln the application and supporting presentations to the FDA, Cephalon
admitted both that it knew the drug was heavily prescribed for off-label use and that the
drug’s safety for such use had never been clinically evaluated. '8° An FDA advisory
committee lamented that Fentora`s existing risk management program was ineffective and
stated that Cephalon would have to institutea risk evaluation and mitigation strategy for the
drug before the FDA would consider broader label indications ln response, Cephalon
revised Fentora’s label and medication guide to add strengthened wamings.

229. But in 2009, the FDA once again informed Cephalon that the risk management program
was not sufficient to ensure the safe use of Fentora for already approved indications.

230. On March 26, 2009, the FDA warned Cephalon against its misleading advertising of Fentora
(“Warning Letter”). The Waming Letter described a Fentora lnternet advertisement as
misleading because it purported to broaden “the indication for Fentora by implying that any
patient with cancer who requires treatment for breakthrough pain is a candidate for Fentora .
. . when this is not the case.” Rather, Fentora was only indicated for those who were already
opioid tolerant. lt further criticized Cephalon’s other direct Fentora advertisements because
they did not disclose the risks associated with the drug.

231. Flagrantly disregarding the FDA’s refusal to approve Fentora for non-cancer BTP and its

warning against marketing the drug for the same, Cephalon continued to use the same sales

 

's° FENTORA (fentanyl buccal lablet) Cll, Joint Meeting of Anesthetic and Life Support Drugs and Drug
Safety and Risk Management Advisory Committee, U.S. Food & Drug Administration (May 6,

https://wayback.archive~

it.org[7993/20170405034239/https://www.fda.gov/ohrms/dockets/ac/08/slides/2008-435652-02-FDA-

corepresentations files/frame.htm.
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tactics to push Fentora as it did with Actiq.

232. For example, on January 13, 2012, Cephalon published an insert in Pharmacy Times titled
“An lntegrated Risk Evaluation and Mitigation Strategy (REMS) for FENTORA (Fentanyl
Buccal Tablet) and ACTIQ (Oral Transmucosal Fentanyl Citrate).” Despite the repeated
warnings of the dangers associated with the use of the drugs beyond their limited indication,
as detailed above, the first sentence of the insert states: “lt is well recognized that the
judicious use of opioids can facilitate effective and safe management of chronic pain.”"‘°0

5. Cephalon Funded False Publications and Presentations

233. ln addition to its direct marketing, Cephalon indirectly marketed through third parties to
change the way doctors viewed and prescribed opioids - disseminating the unproven and
deceptive messages that opioids were safe for the treatment of chronic long-term pain, that
they were non-addictive and that they were woefully under-prescribed to the detriment of
patients who were needlessly suffering lt did so by sponsoring pro-opioid front groups,
misleading prescription guidelines, articles and CME programs, and it paid physicians
thousands of dollars every year to publicly opine that opioids were safe, effective and non-
addictive for a wide variety of uses.

234. Cephalon sponsored numerous CME programs, which were made widely available through
organizations like Medscape, LLC (“Medscape”), and which disseminated false and
misleading information to physicians in Palmetto and across the country.

235. For example, a 2003 Cephalon-sponsored CME presentation titled “Pharmacologic

Management of Breakthrougli or lncident Pain,” posted on Medscape in February 2003,

 

'9° An lntegrated Risk Evaluation and Mitigation Strategy (REMS) for FENTORA (F entaiin Buccal Tablet)
and ACTIQ (Oral Transmucosal Fentanyl Citrate), Phannacy Times (Jan. 13, 2012),
:// . b1 '

 

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teaches:

C]hronic pain is often undertreated, particularly in the noncancer patient
population. . . . The continued stigmatization of opioids and their
prescription, coupled with often unfounded and self-imposed physician
fear of dealing wit/1 the highly regulated distribution system for opioid
analgesics, remains a barrier to effective pain management and must be
addressed. Clinicians intimately involved wit/1 the treatment of patients
with chronic pain recognize that the majority of suffering patients lack
interest in substance abuse, In fact, patient fears of developing substance
abuse behaviors such as addiction ofien lead to undertreatment of pain.
The concern about patients with chronic pain becoming addicted to
opioids during long-term opioid therapy may stem from confusion
between physical dependence (tolerance) and psychological dependence
(addiction) that manifests as drug abuse.""l

236. Another Cephalon-sponsored CME presentation, titled “Breakthrough Pain: Treatrnent
Rationale with Opioids," was available on Medscape starting September 16, 2003 and was
given by a self-professed pain management doctor who “previously operated back,
complex pain syndromes, the neuropathies, and interstitial cystitis.” He describes the pain
process as a non- time-dependent continuum that requires a balanced analgesia approach
using “targeted pharmacotherapeutics to affect multiple points in the pain-signaling
pathway.”'92 The doctor lists fentanyl as one of the most effective opioids available for
treating BTP, describing its use as an expected and normal part of the pain management

process. Nowhere in the CME presentation is cancer or cancer pain mentioned.

 

'°’ Michael .1. Brennan, et al., Pharmacologic Management of Breakthrough or lncident Pain, Medscape,

hgps://www.medscape.orglviewarticle/449803 (last visited Mar. l4, 2018).

'°2 Daniel S. Bennett, Breakthrough Pain: Treatment Rationale With Opioids, Medscape,

ht;ps://www.medscape.orglvicwarticlc/461612 (last visited Mar. l4, 2018).
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237. Dr. Stephen H. Landy (“Landy"`) authored a 2004 CME manuscript available on Medscape
titled ‘°Oral Transmucosal Fentanyl Citrate for the Treatment of Migraine Headache Pain ln
Outpatients: A Case Series.” The manuscript preparation was supported by Cephalon.
Landy describes the findings of a study of fentanyl citrate for the use of migraine headache
pain and concluded that “OTFC rapidly and significantly relieved acute, refractory
migraine pain in outpatients . . . and was associated with high patient satisfaction ratings.”193
Based on an analysis of publicly available data, Cephalon paid Landy approximately
$l90,000 in 2009-2010 alone, and in 2015-2016, Cephalon paid Landy another $75,000.

238. In 2006, Cephalon sponsored a review of scientific literature to create additional fentanyl-

specific closing guidelines titled “Evidence-Based Oral Transmucosal Fentanyl Citrate

 

'93 Stephen H. Landy, Oral Transmucosal Fentanyl C itratc for the Treatment of Migraine Headache Pain In

Outpatients.' A Case Series, 44(8) Headache (2004), https://www.medscape.com/viewarticle/488337 2.
92

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(OTFC®) Dosing Guidelines.”194 The article purports to review the evidence for dosing
and efficacy of oral transmucosal fentanyl citrate in the management of pain and produce
closing guidelines in both cancer and non-cancer patients ln pertinent part, it states:

Oral transmucosal fentanyl citrate has a proven benefit in treating cancer-
associated breakthrough pain in opioid-tolerant patients with cancer, which
is the Food and Drug Administration (FDA)-approved indication for Actiq.
Pain medicine physicians have also used 0TFC successfully to provide
rapid pain relief in moderate to severe noncancer pain in both opioid-
tolerant and opioid-nontolerant patients '95

239. Deeper into the article, the authors attempt to assuage doctors’ concerns regarding possible
overdose and respiratory distress in non-cancer patients by arguing “[t]here is no evidence
that opioid safety and ejj’icacy differs in opioid-tolerant patients with chronic noncancer
pain." Regardiog the use of fentanyl to treat non-opioid-tolerant patients, the article’s
authors stated:

Alternatively, OTFC might also be used cautiously and safely for acute
pain experienced by patients who are not opioid tolerant. Parenteral
opioids are routinely used for acute pain in patients who are not opioid
tolerant. Examples include episodic pain (i.e., refractory migraine pain,
recurrent renal calculi, etc.) and acute pain that follows surgery, trauma, or '
painful procedures (burn dressing change, bone marrow aspiration, lumbar
puncture). Assuming that clinical experience with IV morphine in patients
who are not opioid tolerant can be extrapolated, OTFC should be safe and
efficacious in such settings as well."*‘6

240. Through its sponsorship of the FSMB’s “Responsible Opioid Prescribing: A Physician’s
Guide” (see supra 1|1]44-49), Cephalon continued to encourage the prescribing of opioid

medication to “reverse . . . and improve” patient function, attributing patients’ displays of

traditional drug-seeking behaviors as merely “pseudoaddiction."

 

194 Gerald M. Aronoff`, et al., Evidence-Based Oral Transmucosal Fentanyl Citrate (OTFC) Dosing
Guidelines, 6(4) Pain Med. 305-14 (Aug. 2005).

195 ld

196 ld

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241. Cephalon also disseminated its false messaging through speakers’ bureaus and
publications For example, at an AAPM annual meeting held February 22 through 25,
2006, Cephalon sponsored a presentation by Webster and others titled “Open-label study
of fentanyl effervescent buccal tablets in patients with chronic pain and breakthrough pain:
lnterim safety results." The presentation’s agenda description states: “Most patients with
chronic pain experience episodes of breakthrough pain (BTP), yet no currently available
pharmacologic agent is ideal for its treatment." The presentation purports to cover a study
analyzing the safety of a new form of fentanyl buccal tablets in the chronic pain setting and
promises to show the "`[i]nterim results of this study suggest that FEBT is safe and well-
tolerated in patients with chronic pain and BTP.”

242. Cephalon sponsored another CME activity written by Webster and M. Beth Dove titled
"Optimizing Opioid Treatment for Breakthrough Pain” and offered on Medscape from
September 28, 2007 through December 15, 2008. The CME activity teaches that non-
opioid analgesics and combination opioids containing non-opioids such as aspirin and
acetaminophen are less effective at treating BTP than pure opioid analgesics because of

dose limitations on the non-opioid component197

243. Fine authored a Cephalon-sponsored CME article titled “Opioid~Based Management of
Persistent and Breakthrough Pain” With Drs. Christine A. Miaskowski and Michael J.
Brenrian. Cephalon paid to have this CME article published in a “Special Report”

supplement of thejournal Pain Medicine News in 2009,198 The CME article targeted a wide

 

197 Lynn Webster, Optimizing Opioid Treatment for Breakthrough Pain, Medscape,
hgps://www.medscap_e.orglviewarticle/S634l 7 6 (last visited Mar. l4, 2018).

'°“ Perry G. Fine, et al., Opioid-Based Management of Persistent and Breakthrouin Pain, Special Report

(2009), hgps://www.§@mpu.com/eri/document/view/ l 140925 l /opioid-based-management-of-persistent-
and-breakthrough-pain/9.

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variety of non-oncologist healthcare providers who treat patients with chronic pain with the
objective of educating “health care professionals about a semi-structured approach to the
opioid-based management of persistent and breakthrough pain,” including the use of
fentanyl. The CME article purports to analyze the “combination of evidence- and case-
based discussions” and ultimately concludes:

Chronic pain is a debilitating biopsychosocial condition prevalent in both
cancer and noncancer pain populations. . . .Opioids have an established role
in pain related to cancer and other advanced medical illnesses, as well as an
increasing contribution to the long-term treatment of carefully selected and
monitored patients with certain [chronic noncancer pain] conditions. All
individuals with chronic, moderate to severe pain associated with
functional impairment should be considered for a trial or opioid therapy,
although not all of them will be selected. '”

244. Along with Purdue, Cephalon sponsored APF’s guide (see supra 111|62, 64), which warned
against the purported under-prescribing of opioids, taught that addiction is rare and
suggested that opioids have “no ceiling dose” and are therefore the most appropriate
treatment for severe pain.

245. A summary of the February 12-16, 2008 AAPM annual meeting reinforced the message,
promoted both by the AAPM and the APS, that *‘the undertreatment of pain is unjustified.” lt
continues:

Pain management is a fundamental human right in all patients not only
with acute postoperative pain but also in patients sujfering from chronic
pain, Treating the underlying cause of pain does not usually treat all of the
ongoing pain. Minimal pathology with maximum dysfunction remains the
enigma of chronic pain. Chronic pain is only recently being explored as a
complex condition that requires individual treatment and a multidisciplinary
approach. lt is considered to be a disease entity.200

246. Cephalon was one of several opioid manufacturers who collectively paid 14 of the 21 panel

 

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2°° Mohamed A. Elkersh & Zahid 1-1. Bajwa, Highlights From the American Academy of Pain Medicine
24th Annual Meeting, 2(1) Advances in Pain Management 50-52 (2008).

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members who drafted the 2009 APS-AAPM opioid treatment guidelines,201
247. In the March 2007 article titled “lmpact of Breakthrough Pain on Quality of Life in Patients

with Chronic, Noncancer Pain: Patient Perceptions and Effect of Treatment with Oral
Transmucosal Fentanyl Citrate,”202 published in the nationally circulated journal Pain
Medicine, physicians paid by Cephalon (including Webster) described the results of a
Cephalon-sponsored study seeking to expand the definition of BTP to the chronic non-
cancer setting The authors stated that the “OTFC has been shown to relieve BTP more
rapidly than conventional oral, normal-release, or ‘short acting’ opioids” and that "[t]he
purpose of [the] study was to provide a qualitative evaluation of the effect of BTP on the
[quality of life] of noncancer pain patients.”203 The number-one-diagnosed cause of
chronic pain in the patients studied was back pain (44%), followed by musculoskeletal
pain (12%) and head pain (7%). The article cites Portenoy and recommends fentanyl for
non-cancer BTP patients:

In summary, BTP appears to be a clinically important condition in patients

with chronic noncancer pain and is associated with an adverse impact on

QoL. This qualitative study on the negative impact of BTP and the potential

benefits of BTP- specific therapy suggests several domains that may be
helpful in developing BTP- specific, QoL assessment tools.204

248. Cephalon also sponsored, through an educational grant, the regularly published journal
Advances in Pain Management ln a single 2008 issue of the joumal, there are numerous
articles from Portenoy, Dr. Steven Passik (“Passik"), Dr. Kenneth L. Kirsh ("Kirsh”) and

Webster, all advancing the safety and efficacy of opioids. ln an article titled “Screening

 

2°' See Chou, Clinical Guidelines, supra n.71.

202 Donald R. Taylor, et al., lmpact of Breakthrough Pain on Quality of Llfe in Patients With Chronic,
Noncancer Pain: Patient Percepn°ons and Ej”ect of Treatment With Oral Transmucosal Fe)itanyl Citrate
(gTFC, ACT[Q), 8(3) Pain Med. 281-88 (Mar. 2007),

2 ld.

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and Stratification Methods to Minimize Opioid Abuse in Cancer Patients," Webster
expresses disdain for the prior 20 years of opioid phobia.

249. ln another article from the same issue, “Appropriate Prescribing of Opioids and Associated
Risk Minimization,” Passik and Kirsh state: "[c]hronic pain, currently experienced by
approximately 75 million Americans, is becoming one of the biggest public health problems
in the US."’ They assert that addiction is rare, that “[m]ost pain specialists have prescribed
opioids for long periods of time with success demonstrated by an improvement in
function," and that then-recent work had shown “that opioids do have efficacy for subsets
of patients who can remain on them long term and have very little risk of addiction.”205

250. In November 2010, Fine and others published an article presenting the results of another
Cephalon-sponsored study titled “Long-Term Safety and Tolerability of Fentanyl Buccal
Tablet for the Treatment of Breakthrough Pain in Opioid-Tolerant Patients with Chronic
Pain: An lS-Month Study.”206 ln that article, Fine explained that the lS-month “open-label”
study “assessed the safety and tolerability of FBT [Fentora] for the [long-term] treatment
of BTP in a large cohort...of opioid-tolerant patients receiving around-the-clock...opioids
for noncancer pain.” The article acknowledged that: (a) “[t]here has been a steady increase
in the use of opioids for the management of chronic noncancer pain over the past two
decades”; (b) the “widespread acceptance” had led to the publishing of practice guidelines
“to provide evidence- and consensus-based recommendations for the optimal use of opioids

in the management of chronic pain”; and (c) those guidelines lacked “data assessing the

 

205 Steven D. Passik & Kenneth L. Kirsh, Appropriate Prescribing of 0pioids and Associated Risk
Minimization, 2(1) Advances in Pain Management 9-16 (2008).

206 Perry G. Fine, et al., Long-Term Safety and Tolerability of F entanyl Buccal T ablet for the Treatment of
Breakthrough Pain in Opioid-Tolerant Patients with Chronic Pain: An lS-Month Study, 40(5) J. Pain &
Symptom Management 747-60 (Nov. 2010).

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long-term benefits and harms ofopioid therapy for chronic pain.”207

251. They conclude: "[T]he safety and tolerability profile of FBT in this study was generally
typical of a potent opioid, The [adverse events] observed were, in most cases, predictable,
manageable, and tolerable.” They also conclude that the number of abuse-related events

was “sma|l.”z°s

252. From 2000 forward, Cephalon has paid doctors nationwide millions of dollars for programs
relating to its opioids, many of whom were not oncologists and who did not treat cancer pain,
These doctors included Portenoy, Webster, Fine, Passik, Kirsh, Landy and others.

253. Further, Fentora has been widely prescribed in Palmetto. According to data collected by
ProPublica, during 2014 and 2015, Florida doctors` prescriptions of Fentora to patients
insured by the Medicare Part D program totaled more than $2.3 million in 2014 and almost
$3.6 million in 2015,

254. Cephalon’s payments to doctors have resulted in studies that support its sales, but, on closer
examination, are biased or irreparably flawed. F or instance, and upon information and belief,
the governmental whistleblower investigation into Actiq revealed that two studies touted
by Cephalon had tested fewer than 28 patients and had no control group whatsoever.209 A
2012 article evaluating the then-current status of transmucosal fentanyl tablet formulations
for the treatment of BTP in cancer patients noted that clinical trials to date used varying
criteria, that “the approaches taken . . . [did] not uniformly reflect clinical practice," and that

“the studies ha[d] been sponsored by the manufacturer and so ha[d] potential for bias.”z'0

 

207 ]d

208 ld

209 Carreyrou, Cephalon Used Impropcr Tactics, supra n.186.

m Eric Prommer & Brandy Fleck, Fentanyl Transmucosal Tablets: Current Status in the Management of
Cancer-Related Breakthrough Pain, 2012(6) Patient Preference and Adlierence 465-75 (June 25, 2012).

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6. Cephalon Failed to Report Suspt'cious Sales as Required

255. The federal CSA imposes on all “registrants" the obligation to design and operate a system
to disclose to the registrant suspicious orders of controlled substances and requires the
registrant to notify the DEA field division office in its area of any suspicious orders.
“Suspicious orders include orders of unusual size, orders deviating substantially from a
normal pattem, and orders of unusual frequency.” 21 C.F.R. §1301 .74(b).

256. Cephalon is a “registrant” under the federal CSA. 21 C.F.R. §l300.02(b) defines a
registrant as any person who is registered with the DEA under 21 U.S.C. §823. Section 823,
in tum, requires manufacturers of Schedule II controlled substances to register with the
DEA.

257. Cephalon failed to design and operate a system to disclose suspicious orders of controlled
substances and/or failed to notify the appropriate DEA field division of suspicious orders.

Cephalon’s failure to timely report suspicious sales violated the CSA.

E. Insys

258. Insys manufactures, markets, sells and distributes the following pharmaceutical drug in

Palmetto and nationwide:

 

Subsys Fentanyl sublingual spray; semi-synthetic opioid Schedule ll
(fentanyl) agonist, approved in 2012,

 

 

 

 

 

259. Subsys is indicated “for the management of breakthrough pain in cancer patients 18 years
of age and older who are already receiving and are tolerant to opioid therapy for their

underlying persistent cancer pain.”z" The indication also specifies that “SUBSYS is

 

2" The indication provides that “[p]atients considered opioid tolerant are those who are taking around-the-
clock medicine consisting of at least 60 mg of oral morphine daily, at least 25 mcg of transderinal
fentanyl/hour, at least 30 mg of oral oxycodone daily, at least 8 mg of oral hydromorphone daily or an
equianalgesic dose of another opioid daily for a week or longer.”

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intended to be used only in the care of cancer patients and only by oncologists and pain
specialists who are knowledgeable of and skilled in the use of Schedule ll opioids to treat
cancer pain.” ln addition, the indication provides that “[p]atients must remain on around-
the-clock opioids when taking SUBSYS.” Subsys is contraindicated for, among other
ailments, the “[m]anagement of acute or postoperative pain including headache/migraine
and dental pain.” lt is available in 100 mcg, 200 mcg, 400 mcg, 600 mcg and 800 mcg
dosage strengths.

260. lnsys’ revenue is derived almost entirely from Subsys. According to its Form lO-K for
2015, Insys reported revenues of $331 million, Of that total, $329.5 million was derived
from sales of Subsys. Subsys has been widely prescribed in Palmetto. According to data
collected by ProPublica, during 2014 Florida doctors’ prescriptions of Subsys to patients
insured by the Medicare Part D program totaled more than 815 million, and in 2015, Subsys
Medicare Part D prescriptions totaled more than $28.1 million, The majority of lnsys’ sales
of Subsys are through wholesaleis, including defendants AmerisourceBergen, McKesson
and Cardinal Health, ln 2015, those wholesalers respectively comprised 20%, 17% and 14%
of lnsys’ total gross sales of Subsys.

261 . According to Dr. Andrew Kolodny, executive director of Physicians for Responsible Opioid
Prescribing and chief medical officer of the Phoenix House Foundation, fentanyl products are
“‘the most potent and dangerous opioids on the market.”’212

262. The dangers associated with Subsys are reflected by its extremely limited and specific
indication, as it is approved solely for BTP in cancer patients already receiving opioids for

persistent cancer-related pain,

 

m Dina Gusovsky, The pain killer: A drug company putting profits above patients, CNBC (Nov. 5, 2015),
available at ht§gs://www.cnbc.com/ZOI 5/1 l/04/the»deadly-drug-appcal-of-insys-pharmaceuticals.html.

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263. Despite Subsys’ limited indication and the potent danger associated with fentanyl, Insys
falsely and misleadineg marketed Subsys to doctors as an effective treatment for back pain,
neck pain and other off-label pain conditions,213 Moreover, as of June 2012, Insys defined
BTP in cancer patients to include mild pain: a “flare of mild-to-severe pain in patients with
otherwise stable persistent pain,” based on a misleading citation to a paper written by
Portenoy.214 Insys trained and instructed its sales representatives to use the false definition of
breakthrough pain and specifically to use a core visual aid, which included the improper
definition, whenever they detailed Subsys to a healthcare provider or provider’s office.

264. According to a 2014 article in The New York Times, only l% of prescriptions for Subsys
were written by oncologists. Approximately half the prescriptions were written by pain
specialists, with others written by other specialists including dentists and podiatrists.z'5

l . The lndictment of Insys Executives and Arrest of Its Founder

265. On December 8, 2016, several former Insys executives were arrested and indicted for
conspiring to bribe practitioners in numerous states, many of whom operated pain clinics, in
order to get them to prescribe Subsys. In exchange for bribes and kickbacks, the
practitioners wrote large numbers of prescriptions for patients, most of whom were not

diagnosed with cancer.z""

 

m In the Matter of Insys Therapeutics, lnc., Notice of Unlawful Trade Practices and Proposed Resolution
(July 10, 2015), available at https://www.documentcloud.org[documents/Zl95731-insysdoj.html.

214 Portenoy’s paper, “Breakthrough pain: definition, prevalence and characteristics,” which was featured
in the 1990 issue of Pain, actually defined breakthrough pain as “a transitory increase in pain to greater than
moderate intensity (that is, to an intensity of ‘severe’ or ‘excruciating’) . . .on a baseline pain of moderate
intensity or less.” Russell K. Portenoy & Neil A. Hagen, Breakthrough pain: Dejinitr'on, prevalence and
characteristics, 41(3) Pain 273-81 (July 1990).

m Katie Thomas, Doubts Raised About OFZLabel Use of Subsys, a Strong Painkiller, N.Y. Times (May 13,
2014), available at https://www.nytimes.com/ZO14/05/14/business/doubts-raised-about-off-label-use-of-
subsys-a-strong-

gainkiller.html?action=click&contentCollection=Business%ZODay&regjon=Footer&module=MoreInSect
ion&pggpe=Blog%ZOs& i=2.

m Press Release, U.S. Attomey’s Office for the District of Massachusetts, Pharmaceutical Executives

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266. The indictment alleged that the former executives conspired to mislead and defraud health
insurance providers, who were reluctant to approve payment for Subsys when it was
prescribed for patients without cancer. ln response, the fortner executives established a
“reimbursement unit” at lnsys, which was dedicated to assisting physicians by obtaining
prior authorization for prescribing Subsys directly from insurers and pharmacy benefit
managers. lnsys` reimbursement unit employees were told to inform agents of insurers and
pharmacy benefit managers that they were calling “from" or that they were “with"’ the
doctor’s office, or that they were calling “on behalf of"’ the doctor.

267. The executive defendants in the indictment are Insys’ former chief executive officer and
president, former vice president of sales, former national director of' sales, former vice
president of managed markets and several former regional sales directors. On October 26,
2017, the billionaire founder, chief executive officer, and chairman of Insys, John Kapoor,
who owns a 60% stake in the company, was also charged with fraud and racketeering and
was accused of offering bribes to doctors to write large numbers of prescriptions for
Subsys. Most of the patients who received the medication did not have cancer.Z"l

268. The charges against all seven executives include alleged violations of the federal Anti-
Kickback Law, the federal Racketeer lnfluenced and Corrupt Organizations (“RICO”)
statute and conspiracy to commit wire and mail fraud, as well as allegations of bribery and

defrauding insurers. lf found guilty, the defendants face possible sentences of up to 20 years

 

Charged in Racketeering Scheme (Dec. 8, 2016), https://www.justice.gov/usao-ma/pr/pharmaceutica -
executives-charged-racketeering-scheme (hereinafter “Insys Indictrnent Press Release”); United States v.

Babich, et al., No. l:l6-cr-lO343-ADB, Dkt. No. 1 (D. Mass. Dec. 6, 2016), httgs://www.justice.gov/usao-

ma/press-release/file/9l 6681/download (hereinalier “lnsys lndictmenl”).
2" Michela Tindera, Opioid Billionaire Arrested on Racketeering Charges, Forbes (Oct. 26, 2017),

available at https://www.forbes.com/sites/michelatindera/20 l 7/1 0/26/opioid-billionaire-arrested-on-
racketeering-charges/#$ab43aad6a00 (hereinafier “Tindera, Opioid Billionaire Arrested”).

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for conspiracy to commit RICO and conspiracy to commit mail and wire fraud, as well as a
fine of $250,000 or twice the amount of the pecuniary gain or loss. For the charge of
conspiracy to violate the Anti-Kickback Law, the defendants face a sentence of up to five
years in prison and a $25,000 fine.

269. The indictment details a coordinated, centralized scheme by lnsys to illegally drive profits.
The company defrauded insurers from a call center at corporate headquarters where Insys
employees, acting at the direction of lnsys` former chief executive officer and vice
president of managed markets, disguised their identity and the location of their employer
and lied about patient diagnoses, the type of pain being treated and the patients’ course of
treatment with other medication,

270. Harold Shaw, special agent in charge of the FBl Boston field division, said in a statement,
“As alleged, these executives created a corporate culture at lnsys that utilized deception and
bribery as an acceptable business practice, deceiving patients, and conspiring with doctors

and insurers.”z'8

2. lnsys Targeted Non-Cancer Treating Physicians and Funded False
Publications and Presentations

271. As set forth in the above-referenced indictment, Insys targeted and bribed practitioners in
a number of ways. lnsys bribed Subsys prescribers through strategic hires and by
employing sales representatives and other employees at practitioners’ behest, with the
expectation that such hires would provide inroads with key practitioners, Insys also bribed
practitioners through a sham speakers’ bureau that was purportedly intended to increase
brand awareness using peer-to- peer educational lunches and dinners.

272. Specifically, in June 2012, former executives began using in-person meetings, telephone

 

218 Id
103

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calls and texts to inform lnsys sales representatives that the key to sales was using the
speakers’ bureau to pay practitioners to prescribe Subsys. As one of the company`s vice
presidents for sales texted one of his sales representatives about potential physicians for the
speakers’ bureau: “[t]hey do not need to be good speakers, they need to write a lot of
[Subsys prescriptions]." The former lnsys executives actively recruited physicians known to
have questionable prescribing habits for these speakers’ bureaus.z'°
The speakers’ bureaus were oftenjust social gatherings at high-priced restaurants involving
neither education nor presentations Frequently, they involved repeat attendees, including
physicians not licensed to prescribe Subsys. Many of the speakers’ bureaus had no
attendees; sales representatives were instructed to falsely list names of attendees and their
signatures on lnsys’ sign-in sheets.
Insys made thousands of payments to physicians nationwide, including to Palmetto
physicians, for participating on these speakers’ bureaus and for other services
Moreover, the executives are charged with targeting practitioners who prescribed Subsys
not only for cancer pain, but for all pain.
As set forth in the indictment, at one national speakers’ bureau in or about 2014, lnsys’
then-vice president of sales stated:
"These [doctors] will tell you all the time, well, l’ve only got like eight
patients with cancer. Or, I only have, like, twelve patients that are on a
rapid-onset opioids [sic]. Doc, l’m not talking about any of those patients. l
don’t want any of those patients. That’s, that’s small potatoes. That’s
nothing That’s not what l’m here doing l’m here selling [unintelligib|e]
for the breakthrough pain. If I can successfully sell you the [unintelligib|e]
for the breakthrough pain, do you have a thousand people in your practice,

a thousand patients, twelve of them are currently on a rapid-onset opioids
[sic]. T hat leaves me with at least five hundred patients that can go on this

 

m lnsys Indictment Press Release, supra n.216.

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drug.”220

277. Moreover, when agents of insurers or pharmacy benefit managers asked if a patient was
being treated for BTP in cancer patients, lnsys’ reimbursement unit employees were
instructed to answer using a written script, sometimes called “the spiel”: “‘The physician
is aware that the medication is intended for the management of breakthrough pain in cancer
patients, The physician is treating the patient for their pain (or breakthrough pain,
whichever is applicable)."’zz'

278. lnsys’ former executives also tracked and internally circulated the number of planned and
completed speakers’ bureau events for each speaker, as well as the number of Subsys
prescriptions each speaker wrote, the percentage of such prescriptions compared to those
written for Subsys’ competitor drugs, the total amount of honoraria paid to each speaker
and, for a period of time, an explicit calculation of the ratio of return on investment for
each speaker, When a speaker did not write an appropriately large number of Subsys
prescriptions, as determined by lnsys, the number of fiiture events for which that speaker
would be paid would be reduced unless and until he or she wrote more Subsys
prescriptions

279. ln a press release issued when the indictment was announced, the Massachusetts U.S.
Attomey, Carmen M. Ortiz, stated: “‘l hope that today’s charges send a clear message that
we will continue to attack the opioid epidemic from all angles, whether it is corporate greed
or street level dealing.”’m

280. In the same press release, the FBI Special Agent in Charge of the Boston field division,

 

220 Insys Indictment, supra n.216, at 15.
221 ld. 3144.
m Insys lndictrnent Press Release, supra n.216.

105

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Harold H. Shaw, linked the allegations to the national opioid epidemic:
“As alleged, top executives of Insys Therapeutics, Inc. paid kickbacks and
committed fraud to sell a highly potent and addictive opioid that can lead to
abuse and life threatening respiratory depression.... In doing so, they
contributed to the growing opioid epidemic and placed profit before
patient safety. T hese indictments reflect the steadfast commitment of the
FBI and our law enforcement partners to confront the opioid epidemic

impacting our communities, while bringing to justice those who seek to
profit from ji'aud or other criminal acts.”223

281 . The Special Agent in Charge at the Defense Criminal Investigative Service in the Northeast
Field Office, Craig Rupert, commented specifically on the effect the criminal activities had
on members of the military: “‘Causing the unnecessary use of opioids by current and
retired military service members shows disregard for their health and disrespect for their

service to our country. . . .”`224

3. lnsys Failed to Report Suspicious Sales as Requi'red

282. The federal CSA imposes on all “registrants” the obligation to design and operate a system
to disclose to the registrant suspicious orders of controlled substances and requires the
registrant to notify the DEA field division office in its area of any suspicious orders.
“Suspicious orders include orders of unusual size, orders deviating substantially from a
normal pattem, and orders of unusual frequency.” 21 C.F.R. §1301.74(b).

283. Insys is a “registrant" under the federal CSA. 21 C.F.R. §l300.02(b) defines a registrant as
any person who is registered with the DEA under 21 U.S.C. §823. Section 823, in tum,
requires manufacturers of Schedule ll controlled substances to register with the DEA.

284. Insys failed to design and operate a system to disclose suspicious orders of controlled

substances and/or failed to notify the appropriate DEA field division of suspicious orders.

 

223 ld.
224 [d-

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lnsys’ failure to timely report suspicious sales violated the CSA.

F. Mallinckrodt

285. Mallinckrodt manufactures, markets, sells and distributes pharmaceutical drugs in

Palmetto and nationwide Mallinckrodt is the largest U.S. supplier of opioid pain

medications and among the top ten generic pharmaceutical manufacturers in the United

States, based on prescriptions

286. Among the drugs it distributes are the following:

 

 

 

 

 

 

 

 

 

 

 

Exalgo Opioid agonist indicated for opioid-tolerant patients for Schcdule ll
(hydromorphone management of pain severe enough to require daily,
hydrochloride around- the-clock, long-term opioid treatment and for
extended which altemative treatment options (e.g., non-opioid
release) analgesics) are inadequate. The FDA approved the 8, 12,

and 16 mg tablets of Exalgo in March 2010 and 32 mg

tablet in August 2012,
Roxicodone Brand-name instant-release form of oxycodone Schedule II
(oxycodone hydrochloride. Indicated for the management of pain
hydrochloride) severe enough to require an opioid analgesic and for

which alternative treatments are inadequate Acquired

from Xanodyne Pharmaceuticals in 2012, Strengths

range up to 30 mg per pill. Nicknames include Roxies,

blues, and stars.
Xartemis XR The FDA approved Xartemis XR in March 2014 for the Schedule II
(oxycodone management of acute pain severe enough to require
hydrochloride opioid treatment and in patients for whom alternative
and treatment options are ineffective, not tolerated or would
acetaminophen) otherwise be inadequate It was the first extended-release

oral combination of oxycodone and acetaminophen.
Methadose Branded generic product. Opioid agonist indicated for Schedule II
(methadone treatment of opioid addiction.
hydrochloride)
Morphine sulfate Generic product. Schedule II
extended release
Fentanyl Generic product. Schedule II
extended release
Fentanyl citrate Generic product. Schedule lI
Oxycodone and Generic product. Schedule ll
acetaminophen

 

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287.

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Hydrocodone

Generic product.

Schedule ll

bitartrate and
acetaminophen

 

Hydromorphone Generic product. Schedule ll

hydrochloride

 

Hydromorphone Generic product. Schedule Il
hydrochloride

extended release

 

Naltrexone Schedule ll

hydrochloride

Generic product.

 

Oxymorphone Schedule ll

h drochloride

Generic product.

 

Methadone Schedule ll

hydrochloride

Generic product.

 

Oxycodone Generic product. Schedule ll

hydrochloride

 

 

 

 

 

Mallinckrodt purchased Roxicodone from Xanodyne Pharmaceuticals in2012.225
Mallinckrodt debuted Xartemis (MNK-795) at the September 4-7, 2013 PAlNWeek in Las
Vegas.

]. Mallinckrodt Funded False Publications and Presentations

Like several of the other Manufacturing Defendants, Mallinckrodt provided substantial
funding to purportedly neutral organizations which disseminated false messaging about
opioids.

For example, until at least February 2009, Mallinckrodt provided an educational grant to Pain-
Topics.org, a now-defunct website that touted itself as “a noncommercial resource for
healthcare professionals providing open access to clinical news, information, research, and

education for a better understanding of evidence-based pain-management practices."220

 

225 Mallinckrodt Announces Agreement with Xanodyne to Purchase Roxicodone, Bus. Wire (Aug. 23,

2012),

available at https://www.businesswire.com/news/home/20l20823005209/en/Mallinckrodt-

Announces-Ag;eement-Xanodme-Purchase-Roxicodone%CZ%AE.

220 Pain Treatment Topics, Pain-Topics.org, available at

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s://web.archive.or web/20070104235709/htt ://www. ain-to ics.or :80/ (lastvisitedMar.l4,2018).

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291. Among other content, the website included a handout titled “Oxycodone Safety Handout
for Patients,” which advised practitioners that: “Patients’ fears of opioid addiction should
be dispelled.”227 The handout included several false and misleading statements conceming
the risk of addiction associated with prescription opioids:

Will you become dependent on or addicted to oxycodone?

0 Afier a while, oxycodone causes physical dependence That is, if
you suddenly stop the medication you may experience uncomfortable
withdrawal symptoms, such as diarrhea, body aches, weakness
restlessness, anxiety, loss of appetite, and other ill feelings These
may take several days to develop.

0 This is not the same as addiction, a disease involving craving for the
drug, loss of control over taking it or compulsive use, and using it
despite hann. Addiction to oxycodone in persons without a recent
history of alcohol or drug problems is rare228

292. Additionally, the FAQ section of Pain-Topics.org contained the following false and
misleading information downplaying the dangers of prescription opioid use:

Pseudoaddiction - has been used to describe aberrant patient
behaviors that may occur when pain is undertreated (AAPM 2001).
Although this diagnosis is not supported by rigorous investigation, it has
been widely observed that patients with unrelieved pain may become very
focused on obtaining opioid medications and may be erroneously perceived
as “drug seeking.” Pseudoaddiction can be distinguished from true addiction
in that the behaviors resolve when the pain is effectively treated. Along with
this two related phenomena have been described in the literature (Alford et
al. 2006):

Therapeutic dependence - sometimes patients exhibit
what is considered drug-seeking because they fear the reemergence
of pain and/or withdrawal symptoms from lack of adequate
medication; their ongoing quest for more analgesics is iri the hopes
of insuring a tolerable level of comfort.

Pseudo-opioid-resistancc - other patients, with adequate
pain control, may continue to report pain or exaggerate its presence,

 

227 Lee A. Kral & Stewart B. Leavitt, Oxycodone Safety Handoutfor Patients, Pain-Topics.Org (June 2007),

available at http://paincommunity.orgfbloglwp-content/uploads/OxycodoneHandout.gdf.

228 Id
l 09

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as if their opioid analgesics are not working, to prevent reductions
in their currently effective doses of medication.

Patient anxieties about receiving inadequate pain control can be
profound, resulting in demanding or aggressive behaviors that are
misunderstood by healthcare practitioners and ultimately detract from the
provision of adequate pain relief. 220

293. Another document available on the website, "Commonsense Oxycodone Prescribing &
Safety,” falsely suggests that generic oxycodone is less prone to abuse and diversion than
branded oxycodone: "Anecdotally, it has been observed that generic versions of popularly
abused opioids usually are less appealing; persons buying drugs for illicit purposes prefer
brand names because they are more recognizable and the genetics have a lower value ‘on
the street,’ which also makes them less al|uring for drug dealers.”230

294. In November 2016, Mallinckrodt paid Dr. Scott Gottlieb (“Gottlieb”), the new
commissioner of the FDA, $22,500 for a speech in London, shortly after the U.S.
presidential election.231 Gottlieb has also received money from the Healthcare Distribution
Alliance (“HDA”). an industry-funded organization that pushes the agenda of large
pharmaceutical wholesalers and he has oficn criticized efforts aimed at regulating the
pharmaceutical opioid market,232

295. Mallinckrodt also made thousands of payments to physicians nationwide, including payments
to Palmetto physicians

296. Exalgo, Roxicodone and Xartemis XR have been widely prescribed in Palmetto. According

 

220 FAQs, Pain-Topics. org, available at,
htt s://web. archive.or web/20070709031530/ht ' .
230 Lee A. Kral, Commonsense Oxycodone Prescribing & Safety, Pain-Topics. org (June 2007), available at

http: //paincommunity. orgll_)loglyp-content/uploads/OxycodoneRxSafety. pdf.

231 Lee Pang, Donald Trump ’s Pick to Oversee Big Pharma Is Addicted to Opioid-lndustry Cash, lntercept

(Apr. 4, 2017), available at https://theintercept.com/ZOl 7/04/04/scott-gottlieb-opioid/.
232 id

 
   

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to data collected by ProPublica, in 2014, Florida doctors’ prescriptions of Exalgo to
patients insured by the Medicare Part D program totaled almost $3.8 million, prescriptions
of Roxicodone totaled more than $265,000, and prescriptions of Xartemis XR totaled
almost $9,000. ln 2015, those numbers were more than $1.5 million for Exalgo, almost
$292,000 for Roxicodone, and approximately $15,000 for Xartemis XR.

2. The DEA lnvestigates Suspicious Orders

297. ln 2008, the DEA and federal prosecutors launched an investigation into Mallinckrodt,
charging that the company ignored red flags and supplied - and failed to report -
suspicious orders for its generic oxycodone between 2008 and 2012.233 The U.S. Attomey’s
office in Detroit handled the case The investigation uncovered that from 2008 to 2012,
Mallinckrodt sent, for example, 500 million tablets of oxycodone into a single state, Florida
- “66 percent of all oxycodone sold in the state.”234 According to the internal government
documents obtained by the Washington Post, Mallinckrodt’s failure to report could have
resulted in “nearly 44,000 federal violations and exposed it to $2.3 billion in fines.”235

298. Despite learning from the DEA that generic opioids seized in a Tennessee drug operation
were traceable to one of its Florida distributors Sunrise Wholesale (“Sunrise”) of Broward
County, Mallinckrodt in the following six weeks sent 2.1 million tablets of oxycodone to
Sunrise. ln tum, Sunrise sent at least 92,400 oxycodone tablets to a single doctor over an l 1-
month period, who, in one day, prescribed 1,000 to a single patient.236

299. According to documents obtained by the Wasltington Post, investigators also found “scores

 

233 Lenny Bemstein & Scott Higham, The government 's struggle to hold opioid manufacturers accountable,
Wash. Post (Apr. 2, 2017), htlps://www.washingtonpost.com/Bphics/investigations/dea-
mallinckrodt/?utm term=.7ce8c975dd86.

234 ld.

235 ld.

236 ld.

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of alleged violations” at Mallinckrodt’s plant in l-lobart, New York. Those violations
included the failure to keep accurate records, to document transfers of drugs and to secure
narcotics237

300. During the DEA’s investigation, Mallinckrodt sponsored the HDA (known as the
Healthcare Distribution Management Association until 2016), an industry-funded
organization that represents pharmaceutical distributors 238 The HDA initiated the
Ensuring Patient Access and Effective Drug Enforcement Act of 2016 (enacted April 19,
2016), which requires the DEA to give notice of violation and an opportunity to comply, to
pharmacies and distributors before withdrawing licenses This Act substantially lessened
the DEA’s ability to regulate manufacturers and wholesalers230

301 . In May2014, Mallinckrodt posted a video titled “Red Flags: Pharmacists Anti-Abuse Video.”
The video is a thinly veiled attempt to divert responsibility for the opioid epidemic away
from manufacturers and wholesalers and toward individual pharmacists The video was
sponsored by the Anti-Diversion lndustry Working Group, which is composed of Cardinal
Health, Actavis, McKesson, Mallinckrodt, AmerisourceBergen, and Qualitest_all of whom
are conveniently missing from the list of those responsible.240

302. In April 2017, Mallinckrodt reached an agreement with the DEA and the U.S. Attorneys

for the Eastem District of Florida and Northern District of New York to pay $35 million to

 

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230 Sponsors: HDA's Annual Circle Sponsors, Healthcare Distribution Alliance,

https://www.healthcaredistribution.org[hda-sponsors (last visited Mar. l4, 2018).

230 Chris McGreal, Opioid epidemic: ex-DEA official says Congress is protecting drug makers, Guardian
(Oct. 31, 2016), h s://www.the ardian.com/us-news/ZOl6/oct/3l/o ioid-e ideinic-dea-official-

congress-big-pharma.
240 Mallinckrodt Pharmaceuticals Red Flags: Phannacists And-Abuse Video, YouTube (May 27, 2014),

https://www.youtube.com/watch?v=f`deBZ l ObEk&amp_=&t=l s. (last available source).
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resolve a probe of its distribution of its opioid medications241 Mallinckrodt finalized the
settlement on July l l, 2017, agreeing to pay $35 million while admitting no wrongdoing242

3. Mallinckrodt Failed to Report Suspicious Sales as Required

303. The federal CSA imposes on all “registrants” the obligation to design and operate a system
to disclose to the registrant suspicious orders of controlled substances and requires the
registrant to notify the DEA field division office in its area of any suspicious orders
“Suspicious orders include orders of unusual size, orders deviating substantially from a
normal pattem, and orders of unusual frequency.” 21 C.F.R. §l301.74(b).

304. Mallinckrodt is a “registrant” under the federal CSA. 21 C.F.R. §1300.02(b) defines a
registrant as any person who is registered with the DEA under 21 U.S.C. §823. Section
823, in tum, requires manufacturers of Schedule II controlled substances to register with
the DEA.

305. Mallinckrodt failed to design and operate a system to disclose suspicious orders of
controlled substances and/or failed to notify the appropriate DEA field division of suspicious

orders Mallinckrodt’s failure to timely report suspicious sales violated the CSA.

III. The Wholesaler Defendants Failed to Track and Report Suspicious Sales as
Reguired by Florida and Federal Law

306. Manufacturers rely upon distributors to distribute their drugs The distributors serve as
middlemen, sending billions of doses of opioid pain pills to pharmacists hospitals, nursing

homes and pain clinics, According to the CDC, the increased distribution of opioids directly

 

2‘" Linda A. Johnson, Mallinckrodt to Pay $35M in Deal to End Feds ’ Upioid Probe, U.S. News & World

Report (Apr. 3, 2017), https://www.usnews.com/news/business/articles/ZO17-04-03/mallinckrodt-to-pay-
3Sm-in-deal-to-end-feds-opioid-probe.
` 242 Press Release, U.S. Department of Justice, Mallinckrodt Agrees to Pay Record $35 Million Settlement
l for F ailure to Report Suspicious Orders of Pharmaceutical Drugs and for Recordkeeping Violations (July 1 l,
j 2017), https://www.justice.gov/opa/pr/mallinckrodt-aLees-pay-record-S5-million-settlement-failure-
t report-suspicious-orders.
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correlates to increased overdose death rates:

Opioid distribution and overdose death rates rise
Both rates have more than doubled since 2000.

PRESCR|PTION OPlOlD PR“CR|FT|ON OPIOlD

DlSTRlBUTION RATE OVERDOSE DEATl-I RATE

Grams per 100 people Deaths per 100.000 people
14.7

    

 

 

4 Death rate: 4.7
10 3 (Deaths: 14,838)
6.2
o 2 ,
5 1 o-Death rate: 1.3
(Deaths: 3,785)
0 o
2000 2014 2000 2014

Fentany| overdose deaths are excluded. The CDC removed the drug from the totals because of
Its growing prevalence as a street drug.

 

sources: DEA. centers for Disease control ana Prevention me wAsl-cme~ron Posr

307. On October 23, 2017, CBS aired an episode of 60 Minutes featuring former DEA agent
Joe Rannazzisi, who blamed the Wholesaler Defendants for killing people by violating the
CSA requirement to report suspicious orders:

RANNAZZISI: This is an industry that’s out of control. What they wanna
do, is do what they wanna do, and not worry about what the law is. And if
they don’t follow the law in drug supply, people die. That’s just it. People
die.

This is an industry that allowed millions and millions of drugs to go into
bad pharmacies and doctors’ offices, that distributed them out to people who
had no legitimate need for those drugs,

|INTERVIEWER|: Who are these distributors?

RANNAZZISI: The three largest distributors are Cardinal Health,
McKesson, and AmerisourceBergen, They control probably 85 or 90
percent of the drugs going downstream

[lNTERVIEWERl: You know the implication of what you’re saying, that
these big companies knew that they were pumping drugs into American

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308.

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communities that were killing people.

RANNAZZISI: That’s not an implication, that’s a fact, That’s exactly what
they did.

J im Geldhof, a 40-year veteran of the DEA who ran investigations in the Detroit field office,
corroborated Rannazzinsi ’ s account, saying that the wholesalers are “absolutely” responsible
for the opioids epidemic:

[INTERVIEWER|: These companies are a big reason for this epidemic?

GELDHOF: Yeah, absolutely they are, And I can tell you with 100 percent
accuracy that we were in there on multiple occasions trying to get them to
change their behavior. And they just flat out ignored us.

Indeed, according to Rannazzisi, the Wholesaler Defendants succeeded in lobbying
Congress to strip the DEA of its most potent tool for fighting against diversion and abuse. ln
2013, a bill was introduced in the House that “was promoted as a way to ensure that patients
had access to the pain medication they needed.” What it “really did,” however, “was strip
the [DEA] of its ability to immediately freeze suspicious shipments of prescription narcotics
to keep drugs off U.S. streets.” A 2015 DOJ memo confirmed that the bill “‘could actually
result in increased diversion, abuse, and public health and safety consequences.”’

During the two years the legislation was considered and amended, defendants and others
in the industry spent $102 million lobbying Congress on the bill and other legislation,
“claiming the DEA was out of control [and] making it harder for patients to get needed
medication.” The APA co-signed a letter in support of the legislation. As discussed, supra
1]1]82-83, the APA receives funding from numerous industry participants, including
Johnson & Johnson, Endo, Mallinckrodt, Purdue and Cephalon. Metadata associated with
the letter co-signed by the APA shows that it was created by Kristen L. Freitas, vice

president for federal government affairs at the HDA - the trade group that represents

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defendants McKesson, Cardina| Health, and AmerisourceBergen, Freitas is also a
registered lobbyist who lobbied in support of the bill.

According to 60 Minutes, the chief administrative law judge of the DEA, John .l.
Mulrooney, has written “that the new legislation ‘would make it all but . . . impossible’ to
prosecute unscrupulous distributors.” The proposed bill was signed into law in 2016. The
primary author of the bill is former DEA associate chief counsel Linden Barber. He was
recently hired by Cardinal Health as senior vice president

A. McKesson

McKesson is a wholesale pharmaceutical distributor of controlled and uncontrolled
prescription medications, including opioids. lt is the largest drug distributor, and the fifth
largest company, in the United States, lt distributes pharmaceuticals through a network of
distribution centers across the country. McKesson ranked fifth on the 2017 Fortune 500
list, with over $ l 92 billion in revenues

McKesson is a significant distributor of opioids in the United States and supplies various
U.S. pharmacies with an increasing amount of oxycodone and hydrocodone pills, products
frequently misused that are part of the current opioid epidemic.

McKesson distribution centers are required to operate in accordance with the statutory
provisions of the CSA. The regulations promulgated under the CSA include a requirement to
design and operate a system to detect and report “[s]uspicious orders” for controlled
substances,asthat term is defined in the regulation See 21 C.F.R. §1301 .74(b). The CSA
authorizes the imposition of a civil penalty of up to $ l 0,000 for each violation of 21 C.F.R.
§1301 .74(b). See 21 U.S.C. §842(3)(5) & (c)(l)(B). The provision requiring the reporting
of suspicious orders in the federal CSA has been incorporated into Florida law. Fla. Stat.

§499.0121(10) and (15)(b).
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315. In or about 2007, the DEA accused McKesson of failing to report suspicious orders and
launched an investigation, In 2008, McKesson entered into a settlement agreement with
the DOJ and a memorandum of agreement, agreeing to pay a $13.25 million fine for failure
to report suspicious orders of pharmaceutical drugs and promising to set up a monitoring
system.

316. As a result, McKesson developed a Controlled Substance Monitoring Program (“CSMP”),
but nevertheless failed to design and implement an effective system to detect and report
“suspicious orders” f`or controlled substances distributed to its independent and small-chain
pharmacy customers - 1'. e. , orders that are unusual in their frequency, size or other pattems.
McKesson continued to fail to detect and disclose suspicious orders of controlled
substances It failed to conduct adequate due diligence of its customers, failed to keep
complete and accurate records in the CSMP files maintained for many of its customers,
and bypassed suspicious order reporting procedures set forth in the CSMP.

317. In 2013, the DEA again began investigating reports that McKesson was failing to maintain
proper controls to prevent the diversion of opioids and accused McKesson of failing to
design and use an effective system to detect “suspicious orders” from pharmacies for
powerful painkillers such as oxycodone, as required by the CSA. Nine DEA field divisions
and 12 U.S. Attomeys built a case against McKesson for the company’s role in the opioid
crisis, which David Schiller, Assistant Special Agent in Charge for the Denver Field
Division and leader of the DEA team investigating McKesson, called “the best case we’ve

ever had against a major distributor in the history of the Drug Enforcement

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On December 17, 2017, CBS aired an episode of 60 Minutes featuring Assistant Special
Agent Schiller, who described McKesson as a company that killed people for its own

financial gain and blatantly ignored the CSA requirement to report suspicious orders:

[SCHILLER:] If they woulda stayed in compliance with their authority and
held those that they’re supplying the pills to, the epidemic would be nowhere
near where it is right now. Nowhere near.

* * =l¢

[SCHILLER:] They had hundreds of thousands of suspicious orders they
should have reported. and they didn’t report any. There’s not a day that goes
by in the pharmaceutical world, in the McKesson world, in the distribution
world, where there’s not something suspicious It happens every day.

INTERVIEWER:] And they had none.

[SCHILLER:] They weren’t reporting any. l mean, you have to understand
that, nothing was suspicious?244

On January 17, 2017, in one of the most severe sanctions ever agreed to by a distributor,
McKesson agreed to pay a record $150 million in fines and suspend sales of controlled
substances from distribution centers in four states (Colorado, Ohio, Michigan and Florida)
to settle allegations that the company violated federal law. According to the DOJ,
McKesson continued to fail to report suspicious orders between 2008 and 2012 and did not
fully implement or follow the monitoring program. As part of the agreement, McKesson

acknowledged that:

at various times during the Covered Time Period, it did not identify or report
to DEA certain orders placed by certain pharmacies, which should have
been detected by McKesson as suspicious, in a manner fully consistent with
the requirements set forth in the 2008 MOA.

 

243 Bill Whitaker, th'stleblowers: DEA attorneys went easy on McKesson, the country ’s largest drug

distributor, CBS News (Dec. 1 7, 20 l 7), https://www.cbsnews .com/news/whistleblowers-dea-%ZOattorneys-
went-easy~on-mckesson-the-countrys-largest-drug-distributor/.

244 Id

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B. Cardinal Health

Cardinal Health describes itself as a global integrated healthcare services and products
company. It generated $ 121 .5 billion in total revenue during fiscal year 2016 (ended June
30, 2016). It is ranked 15th on the 2017 Fortune 500 list of top U.S. companies with
revenues of over $121 billion.

Cardinal Health has two operating segments: pharmaceutical and medical. Its
pharmaceutical segment, at issue in this action, distributes branded and generic
pharmaceutical, special pharmaceutical, over-the-counter and consumer products in the
United States. Of Cardinal Health’s $121.5 billion in revenue during fiscal year 2016,
$109.1 billion was derived from the pharmaceutical operating segment

Cardinal Health is a significant distributor of opioids in the United States, Cardinal Health’ s
largest customer is CVS Health (“CVS”), which accounted for 25% of Cardinal Health’s
fiscal year 2016 revenue. According to its website, CVS operates thirteen pharmacies in
Palmetto, and many more in nearby cities Additionally, Cardinal Health runs a distribution
center in Lakeland, Florida.245

Cardinal Health distribution centers are required to operate in accordance with the statutory
provisions of the CSA and the regulations promulgated thereunder, 21 C.F.R. §1300 et seq.
The regulations promulgated under the CSA include a requirement to design and operate a
system to detect and report “suspicious orders” for controlled substances as that term is
defined in the regulation See 21 C.F.R. §1301 .74(b). The CSA authorizes the imposition
of a civil penalty of up to $l0,000 for each violation of 2 1 C.F.R. §1301.74(b). See 21 U.S.C.

§842(a)(5) & (c)(l)(B). The provision requiring the reporting of suspicious orders in the

 

245 DrugDistribution Locations - Mainland US,

https://batchgeo.com/rnap/788de3747b0l802c017labfa8a4b5eca (last visited Mar. l4, 2018).

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federal CSA has been incorporated into Florida law. Fla. Stat. §499.0121(10) and (l 5)(b).
324. On December 23, 2016, Cardinal Health agreed to pay the United States $44 million to

resolve allegations that it violated the CSA in Maryland, Florida and New York by failing

to report suspicious orders of controlled substances, including oxycodone, to the DEA.246
325. In the settlement agreement, Cardinal Health admitted, accepted and acknowledged that it

had violated the CSA between January l, 2009 and May l4, 2012 by failing to:

0 °‘timely identify suspicious orders of controlled substances and
inform the DEA of those orders, as required by 21 C.F.R.
§1301 .74(b)";

» “maintain effective controls against diversion of particular controlled
substances into other than legitimate medical, scientific, and
industrial channels, as required by21 C.F.R. §1301.74, including the
failure to make records and reports required by the CSA or DEA’s
regulations for which a penalty may be imposed under 21 U.S.C. §
842(a)(5)”; and

¢ “execute, fill, cancel, correct, file with the DEA, and otherwise
handle DEA ‘Fomi 222’ order forms and their electronic equivalent

for Schedule ll controlled substances, as required by 21 U.S.C. §828
and 21 C.F.R. Part 1305.”

326. The settlement agreement was announced by the U.S. Attomey for the District of
Maryland, Rod J. Rosenstein (“Rosenstein”), and the DEA Special Agent in Charge -
Washington Field Division, Karl C. Colder (“Colder”).247

327. In the press release announcing the settlement agreement, Rosenstein stated:

“Pharmaceutical suppliers violate the law when they fill unusually large or

 

246 Earlier in 2016, CVS also agreed to pay the United States $8 million to resolve violations of the CSA by
its Maryland phannacies. According to the settlement agreement, CVS admitted that between 2008 and
2012 certain of its Maryland pharmacies dispensed oxycodone, fentanyl, hydrocodone and other
pharmaceuticals in violation of the CSA because the drugs were dispensed without ensuring that the
prescriptions were issued for legitimate medical purposes

247 Press Release, U.S. Attomey’s Office for the District of Maryland, Cardinal Health Agrees to $44
Million Settlement for Alleged Violations of Controlled Substances Act (Dec. 23, 2016),
ht s://www.'ustice. ov/usao-md/ r/cardinal-health-a ees-44-million-settlement-alle ted-violations-
controlled-substances-act.

     

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frequent orders for controlled substances without notifying the DEA....
Abuse of pharmaceutical drugs is one of the top federal law enforcement
priorities Cases such as this one, as well as our $8 million settlement with
CVS in February 2016, reflect the federal commitment to prevent the
diversion of pharmaceutical drugs for illegal purposes.”248

328. In the press release, Colder clarified that the settlement specifically concerned oxycodone:

“DEA is responsible for ensuring that all controlled substance transactions
take place within DEA’s regulatory closed system. All legitimate handlers
of controlled substances must maintain strict accounting for all distributions
and Cardinal failed to adhere to this policy, . .. Oxycodone is a very addictive
drug and failure to report suspicious orders of oxycodone is a serious matter.
The civil penalty levied against Cardinal should send a strong message that
all handlers of controlled substances must perform due diligence to ensure
the public safety, . ..”249

329. AmerisourceBergen is a wholesale distributor of pharmaceuticals including controlled

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substances and non-controlled prescription medications AmerisourceBergen is a
significant distributor of opioids in the United States. lt handles the distribution of
approximately 20% of all pharmaceuticals sold and distributed in the United States through
a network of 26 pharmaceutical distribution centers, including one in Orlando, Florida.250
It ranked llth on the Fortune 500 list in 2017, with over $146 billion in annual revenue.

AmerisourceBergen distribution centers are required to operate in accordance with the
statutory provisions of the CSA and the regulations promulgated thereunder, 21 C.F.R.
§1300 et seq. The regulations promulgated under the CSA include a requirement to design
and operate a system to detect and report “suspicious orders” for controlled substances as
that term is defined in the regulation See 21 C.F.R. §l301.74(b). The CSA authorizes the

imposition of a civil penalty of up to $10,000 for each violation of 21 C.F.R. §1301 .74(b).

 

248 ]d

249 Id
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AmerisourceBergen, Wikipedia, https://en.wikipedia.org[wiki/AmerisourceBergen (hereinafter

“AmerisourceBergen”) (last visited Mar. 13, 2018); Drug Distribution Locations, supra n.245.

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See 21 U.S.C. §842(a)(5) & (c)(l)(B). The provision requiring the reporting of suspicious
orders in the federal CSA has been incorporated into Florida law. Fla. Stat. §499.0121(10)
and(l$)(b).

331. ln 2012, West Virginia sued AmerisourceBergen and Cardinal Health, as well as several
smaller wholesalers, for numerous causes of action, including violations of the CSA,
consumer credit and protection and antitrust laws, and the creation of a public nuisance.
Unsealed court records from that case demonstrate that AmerisourceBergen, along with
McKesson and Cardinal Health, together shipped 423 million pain pills to West Virginia
between 2007 and 2012.25' AmerisourceBergen itself shipped 80.3 million hydrocodone
pills and 38.4 oxycodone pills during that time period,252 Moreover, public documents also
demonstrate that the average dose of each tablet distributed grew substantially during that
time period, The Wholesaler Defendants, including AmerisourceBergen, shipped large
quantities of oxycodone and hydrocodone tablets to the state. ln 2016, AmerisourceBergen
agreed to settle the West Virginia lawsuit by paying $16 million to the state, with the funds
set aside to fund drug treatment programs in order to respond to the opioid addiction crisis.

COUNT l - VIOLATION OF FDUPTA
(Against all Defendants)

332. Plaintiff City of Palmetto realleges paragraphs l through 331 above as if fully set forth
herein
333. The Florida Deceptive and Unfair Trade Practices Act, Fla. Stat. §501.021, et seq.

(“FDUTPA”) prohibits “[u]nfair methods of competition, or unconscionable acts or

 

25' Eiic Eyre, Drug firms poured 780M painkillers into WV amid rise of overdoses, Charleston Gazette-

Mail (Dec. 17, 2016), https://www.wvgazettemail.com/news/cop_s and courts/drug-finns-poured-m-
palnkillers-into-wv-amid-rise-of`/article 99026dad-8ed5-5075-90fa~adb906a362l4.htm1.

252 AmerisourceBergen, supra n.250.

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practices, and unfair or deceptive acts or practices in the conduct of any trade or
commerce." Fla. Stat. § 501 .204

334. Palmetto is a "person” within the meaning of Fla. Stat. §501.203(6) and as envisioned in
Fla. Stat.§501.211 (l).

335. The Manufacttuing Defendants and Wholesaler Defendants engaged in “[t]rade or
commerce" within the meaning of Fla. Stat. §501.203(8).

336. During the relevant period and as detailed further herein, the Manufacturing Defendants
have each engaged in unfair and deceptive acts or practices in commerce in violation of the
FDUTPA by actively promoting and marketing the use of opioids for indications not
federally approved; circulating false and misleading information concerning opioids’ safety
and efficacy; and/or downplaying or omitting the risk of addiction arising from their use.

337. Each of the Manufacturing Defendants and Wholesaler Defendants has engaged in unfair
and/or deceptive trade practices by omitting the material fact of its failure to design and
operate a system to disclose suspicious orders of controlled substances, as well as by failing
to actually disclose such suspicious orders, as required of “registrants” by the federal CSA,
21 C.F.R. § 1301 .74(b), which is incorporated into Florida law by Fla. Stat. § 499.0121(10)
and (l 5)(b). The CSA defines “registrant” as any person who is registered pursuant to 21
U.S.C. § 823. 21 C.F. R. § 1300.02(b). Section 823(a)-(b) requires manufacturers and
distributors of controlled substances on Schedule ll to register.

338. The Manufacturing Defendants’ and Wholesaler Defendants’ unfair or deceptive acts or
practices in violation of` the FDUTPA offend Florida’s public policy, are immoral,
unethical, oppressive and unscrupulous, as well as malicious, wanton and manifesting of

ill will, and they caused substantial injury to Palmetto. Palmetto risks irreparable injury as

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a result of the Manufacturing Defendants’ and Wholesaler Defendants’ acts,
misrepresentations and omissions in violation of the FDUTPA, and these violations present
a continuing risk to Palmetto, as well as to the general public.

339. As a direct and proximate result of Manufacturing Defendants’ and Wholesaler
Defendants’ violations of the FDUTPA, Palmetto has suffered injury-in-fact and actual
damages

340. Palmetto is entitled to recover actual damages under Fla. Stat. §501.211(2) and attorneys’
fees under Fla. Stat. §501.2105(1).

341. Palmetto also seeks an order under Fla. Stat. §501.211(1) enjoining the Manufacturing
Defendants’ and Wholesaler Defendants` unfair, unlawful and/or deceptive practices,
declaratory relief`, attomeys` fees, and any other just and proper relief available under the
FDUTPA.

COUNT ll - PUBLIC NUISANCE
(Against all Defendants)

 

342. Plaintiff City of Palmetto realleges paragraphs l through 331 above as if fully set forth
herein

343. The Manufacturing Defendants and Wholesaler Defendants, individually and acting through
their employees and agents, have violated a right common to the general public of Palmetto,
including by subverting the public order, decency, and morals, and causing inconvenience
and damage to the public generally.

344. Each of the Manufacturing Defendants subverted the public order, decency, and morals of,
and caused inconvenience and damage to, Pa|metto and its residents by, among other things,
promoting and marketing the use of opioids for indications not federally approved;

circulating false and misleading information concerning their safety and efficacy; and/or

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downplaying or omitting the risk of addiction arising from their use in violation of the
FDUTPA. ln so doing, the Manufacturing Defendants acted unreasonably and with actual
malice.

345. Each of the Manufacturing Defendants and Wholesaler Defendants subverted the public
order, decency, and morals of`, and caused inconvenience and damage to, Palmetto by
failing to design and operate a system that would disclose the existence of suspicious orders
of` controlled substances or by failing to report suspicious orders of opioids as required by
the federal CSA, 21 C.F.R. § 1301 .74(b), and by the State of Florida, Fla. Stat. §499.0121(10)
and(15)(b). In so doing, the Manufacturing Defendants and Wholesaler Defendants acted
unreasonably and with actual malice.

346. As detailed herein, defendants’ conduct has violated and continues to violate rights
common to the general public of Palmetto and has caused Palmetto to sustain damages,
special and particular in kind, including without limitation: increased law enforcement and
public works expenditures increased expenditures for overtime, the hiring of additional
City employees, mental health treatment and workers’ compensation for its employees,
increased emergency and treatment services, damage to emergency equipment and
vehicles, and lost productivity, economic opportunity, and tax revenue.

347. Palmetto, acting on its own behalf and on behalf of` its residents seeks monetary and
injunctive relief to halt the threat of future harm.

COUNT llI - NEGLIGENCE
(Against all Defendants)

348. Plaintiff City of Palmetto realleges paragraphs l through 331 above as if fully set forth
herein,

349. Negligence per se is established where the defendant violates a statutory duty and where

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the statute is intended to protect against the result of the violation, the plaintiff is within the
class intended to be protected by the statute, and the statutory violation is a proximate cause
of the plaintiffs injury. Negligence is established where the defendant owes the plaintiff a
duty of care, breaches that duty and the plaintiff sustain an injury or loss proximately caused
by the defendant’s breach.

350. Each of the Manufacturing Defendants owed Palmetto, acting on its own behalf and on behalf
of its residents statutory and common-law duties including the duty to comply with the
FDUTPA’s prohibition of “[u]nf`air methods of competition, or unconscionable acts or
practices, and unfair or deceptive acts or practices in the conduct of any trade or
commerce”; the duty to promote and market opioids truthli.illy and pursuant to their
federally approved indications; andthe duty to disclose the true risk of addiction associated
with the use of opioids. Each of the Manufacturing Defendants breached those duties by,
among other things, promoting and marketing the use of opioids for indications not
federally approved; circulating false and misleading information concerning their safety
and efficacy; and/or downplaying or omitting the risk of addiction arising from their use. In
so doing, the Manufacturing Defendants acted with actual malice.

351. Each of the Manufacturing Defendants and Wholesaler Defendants owed Palmetto, acting
on its own behalf and on behalf of its residents the statutory duty to report suspicious sales;
the duty not to fill suspicious orders; the duty to abide by any government agreements entered
regarding the same; and the duty to comply with the federal CSA, 21 C.F.R. §1301 .74(b),
as incorporated by Fla. Stat. §499.0121(10) and (l5)(b), which requires the design and
operation of a system to detect and disclose suspicious orders of controlled substances Each

of the Manufacturing Defendants and Wholesaler Defendants breached these duties by

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failing to design and operate a system that would disclose the existence of suspicious orders
of controlled substances or by failing to report such suspicious orders to the appropriate
regulators as required by state and federal law. In so doing, the Manufacturing Defendants
and Wholesaler Defendants acted with actual malice.

352. Palmetto, acting on its own behalf and on behalf of its residents suffered both injuries and
pecuniary losses proximately caused by the Manufacturing Defendants’ and Wholesaler
Defendants’ breaches Among other things, and upon infbnmtion and belief Plametto has
experienced an unprecedented opioid addiction and overdose epidemic costing millions of
dollars in increased law enforcement and public works expenditures increased expenditures
for overtime, the hiring of additional City employees, mental health treatment and workers’
compensation for its employees, increased emergency and treatment services, damage to
emergency equipment and vehicles and lost productivity, economic opportunity, and tax
revenue.

353. Defendants’ breaches of the statutory and common-law duties they each owed to Palmetto
and its residents are the proximate cause of this crisis and its resultant hami to Palmetto.

COUNT IV - UNJUST ENRICHMENT
(Against all Defendants)

354. Plaintiff City of Palmetto realleges paragraphs l through 331 above as if fully set forth
herein

355. Under the doctrine of unjust enrichment, a party who receives a benefit must return the
benefit if retention would be inequitable Unjust enrichment is established where: (a) the
plaintiff conferred a benefit upon the defendant; (b) the defendant had knowledge of the
benefit; (c) the defendant accepted or retained the benefit conferred; and (d) the

circumstances are such that it would be inequitable for the defendant to retain the benefit

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without paying the plaintiff for its fair value.

356. Palmetto, acting on its own behalf and on behalf of its residents conferred on each
Manufacturing Defendant a benefit. By paying for law enforcement, treatment and
emergency services, Palmetto has assumed the financial burden of paying for extemalities
that allow defendants to continue their scheme, including treatment and emergency services,
which benefitwas known to and accepted by each Manufacturing Defendant, which inured
to the profits of each Manufacturing Defendant, and for which retention of such benefit is
inequitable based on the Manufacturing Defendants’ false and misleading marketing and
omissions of and failure to state material facts in connection with marketing opioids, as set
forth herein The Manufacturing Defendants have thus been unjustly enriched by deceptive
marketing, contributing to Palmetto’s current opioid epidemic.

357. Palmetto, acting on its own behalf and on behalf of its residents conferred on each
Wholesaler Defendant a benefit, including paying for extemalities that allow defendants
to continue their scheme without incurring the resultant costs of that scheme, which benefit
was known to and accepted by each Wholesaler Defendant, which inured to the profits of
each Wholesaler Defendant, and for which retention of such benefit is inequitable based
on the Wholesaler Defendants’ failure to report suspicious sales as required by law. The
Wholesaler Defendants have thus been unjustly enriched by neglecting their duty to
distribute drugs only for proper medical purposes contributing to Palmetto’s current opioid
epidemic.

358. Palmetto’s unprecedented opioid addiction and overdose epidemic has, upon information
and belief, cost it millions of dollars in increased law enforcement and public works

expenditures increased expenditures for overtime, mental health treatment and workers’

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compensation for its employees, increased emergency and treatment services, damage to
emergency equipment and vehicles and lost productivity, economic opportunity, and tax
revenue.

The unjust enrichment of the Manufacturing Defendants and Wholesaler Defendants is
directly related to the damage, loss and detriment to Palmetto caused by defendants` false
marketing and failure to report suspicious sales It would be inequitable under these
circumstances for the Manufacturing Defendants and Wholesaler Defendants to retain this
benefit without compensating Palmetto for its value. Palmetto seeks recovery of the amounts
by which the Manufacturing Defendants and Wholesaler Defendants were enriched as a

result of their inequitable conduct.

COUNT V - VIOLATION OF THE RICO ACTa 18 U.S.C. § l962§C)-(D[
(Against all Defendants)

Plaintiff City of Palmetto realleges paragraphs 1 through 331 above as if fully set forth
herein

At all relevant times defendants have been "persons" under 18 U.S.C. §l961(3) because
they are capable of holding, and do ho|d, a “Iegal or beneficial interest in property."

The Racketeer lnfluenced and Corrupt Organizations Act (“RICO") makes it “unlawful for
any person employed by or associated with any enterprise engaged in, or the activities of
which affect, interstate or foreign commerce, to conduct or participate, directly or indirect|y,
in the conduct of such enterprise’s affairs through a pattern of racketeering activity.” 18
U.S.C. §l962(c).

RICO, among other provisions makes it unlawful for “any person to conspire to violate”
the provisions of 18 U.S.C. §l962(c). 18 U.S.C. §l962(d).

As alleged herein, at all relevant times defendants moved aggressively to capture a large

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portion of the opioid sales market, ln so doing, the Manufacturing Defendants launched an
aggressive nationwide campaign over-emphasizing the under-treatment of pain and
deceptively marketing opioids as being: (i) rarely, if ever, addictive; (ii) safe and effective
for the treatment of chronic long-term pain; (iii) abuse resistant or deterrent; or (iv) safe and
effective for other types of pain for which the drugs were not approved. All defendants
knowingly failed to report suspicious orders as required by state and federal law, thereby
inundating the market with opioids. ln particular, defendants along with other entities and
individuals were employed by or associated with, and conducted or participated in the
affairs of`, one or several RICO enterprises (the “Opioid Fraud Enterprise”), whose purpose
was to deceive opioid prescribers the public, and regulators into believing that opioids were
safe and effective for the treatment of long-term chronic pain and presented minimal risk
of addiction and/or that defendants were in compliance with their state and federal reporting
obligations ln doing so, defendants sought to maximize revenues from the design,
manufacture, sale and distribution of opioids which, in fact, were highly addictive and
often ineffective and dangerous when used for long term, chronic and other types of pain As
a direct and proximate result of their fraudulent scheme and common course of conduct,
defendants were able to extract billions of dollars of revenue As explained in detail below,
defendants years-long misconduct violated 18 U.S.C. § l962(c) and (d).
a) The Opioid Fraud Enterprise

365. At all relevant times defendants along with other individuals and entities including
unknown third parties involved in the marketing and sale of opioids, operated an “enterprise"
within the meaning of 18 U.S.C. § 1961(4), because they are a group of individuals

associated in fact, even though they are not a collective legal entity. The Opioid Fraud

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Enterpiise: (a) had an existence separate and distinct from each of its component entities;
(b) was separate and distinct from the pattern of racketeering in which defendants engaged;
and (c) was an ongoing organization consisting of legal entities including, but not limited
to, the Manufacturing Defendants, the Wholesaler Defendants, pharmacies employees and
agents of the FSMB, APF, AAPM, APS and APA, as well as other entities and individuals
including physicians

366. Within the Opioid Fraud Enterprise, there was a common communication network by which
members exchanged information on a regular basis through the use of wires and mail. The
Opioid Fraud Enterprise used this common communication network for the purpose of
deceptively marketing, selling and distributing opioids to the general public, When their
products sales, distributions and failure to report suspicious sales were contested by other
parties the enterprise members took action to hide the scheme to continue its existence

367. The participants in the Opioid Fraud Enterpiise were systematically linked to each other
through corporate ties contractual relationships financial ties and the continuing
coordination of activities Through the enterprise, defendants functioned as a continuing
unit with the purpose of furthering the illegal scheme and their common purposes of
increasing their revenues and market share, and minimizing losses Each member of the
Opioid Fraud Enterprise shared in the bounty generated by the enterprise by sharing the
benefit derived from increased sales of opioids and other revenue generated by the scheme
to defraud prescribers and consumers and fail to report suspicious sales in Palmetto.

368. The Opioid Fraud Enterprise engaged in and continues to engage in the deceptive
marketing of opioids as non-addictive, as safe and effective for chronic long-term pain and

for uses which have not been FDA-approved, and the failure to report suspicious sales The

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Opioid Fraud Enterprise has engaged in such activity for the purpose of maximizing the sale
and profits of opioids. To fiilfill this purpose, the enterprise has advocated for and caused
the over-prescription and over-distribution of opioids by marketing, promoting, advertising
and selling opioids throughout the country and across state boundaries and by failing to
report suspicious sales Their receipt of monies from such activities consequentially affected
interstate and foreign commerce. The enterprise’s past and ongoing practices thus constitute
a pattern of racketeering activity under 18 U.S.C. § 1961(5).

369. The Opioid Fraud Enterprise functioned by marketing, selling and distributing opioids to
states, counties other municipalities doctors, healthcare organizations pharmacies and the
consuming public, while failing to report suspicious sales However, defendants as co-
conspirators through their illegal enterprise, engaged in a pattern of racketeering activity,
which involves a fraudulent scheme to increase revenue for defendants and the other
entities and individuals associated-in-fact with the enterprise’s activities through the
deceptive marketing and sale of opioids and the failure to report suspicious sales

370. Defendants participated in the operation and management of the Opioid Fraud Enterprise
by directing its affairs as described herein While defendants participated in, and are
members of the enterprise, they have a separate existence from the enterprise, including
distinct legal statuses, different offices and roles bank accounts ofiicers, directors
employees, individual personhood, reporting requirements and financial statements

371. Each of the members of the Opioid Fraud Enterprise furthered the ends of the enterprise,
through the acts and omissions pleaded above and herein

372. Each of the Manufacturing Defendants relentlessly promoted opioids as having little to no

risk of addiction, as being safe and effective for the treatment of long-term chronic pain

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and/or other uses for which the drugs were not approved. The Manufacturing Defendants’
success in maximizing sales was due to the tight collaboration among the Manufacturing
Defendants through and in collaboration with the pain foundations - a formidable
partnership that marketed to hundreds of thousands of prescribers across the country,
including prescribers in Palmetto. The relationship was strengthened, in part, by
individuals including physicians, that held different leadership roles at different times
across the various entities participating in the enterprise over the years
373. On numerous occasions the Manufacttuing Defendants funded the pain foundations’
marketing efforts The Manufacturing Defendants specifically chose to partner with the
pain foundations and individual physicians to publish and otherwise disseminate misleading
pro-opioid material, knowing the public and prescribers would be more receptive to
statements made by what they perceived to be scholarly, neutral, third party sources
374. Further, all defendants knowingly failed to design and operate a system to disclose
suspicious orders of controlled substances and failed to notify the appropriate DEA field
division offices in their areas of suspicious orders including “orders of unusual size, orders
deviating substantially from a normal pattem, and orders of unusual frequency.” 21 C.F.R.
§ 1301.74(b).
37 5. The members of the Opioid Fraud Enterprise worked together to further the enterprise by and
among the following manner and means:
a. jointly planning to deceptively market and manufacture opioids that were
purportedly non-addictive, safe and effective for the treatment of chronic, long-
term pain;

b. concealing the addictive qualities of the opioids from prescribers and the public;

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c. misleading the public about the addictive quality and safety and efficacy of opioids;

d. otherwise misrepresenting or concealing the highly dangerous nature of opioids
from prescribers and the public;

e. illegally marketing, selling, and/or distributing opioids;

f`. collecting revenues and profits from the sale of such products for uses for which
they are unapproved, unsafe, or ineffective; and/or

g. failing to report suspicious sales as required by the CSA.

376. To achieve their common goals defendants hid from the general public the full extent of the
unsafe and ineffective nature of opioids for chrome pain as described herein Defendants
suppressed and/or ignored warnings from third parties whistleblowers and governmental
entities about the addictive, unsafe and often ineffective nature of opioids.

377. The foregoing allegations support that defendants were part of an association of entities
that shared a common purpose, had relationships across the various members of the
enterprise and collaborated to further the goals of the enterprise for a continuous period of
time, Manufacturing Defendants knowingly and intentionally engaged in deceptive
marketing practices, and incentivized pain foundations marketing firms and physicians to
do so as well. Defendants knowingly and intentionally failed to report suspicious orders as
required by state and federal law and inundated the market with opioids.

b) Mail and Wire Fraud

378. To carry out and attempt to carry out the scheme to defraud, defendants each of whom is
a person associated in fact with the enterprise, did knowingly conduct and participate,
directly and indirectly, in the conduct of the affairs of the enterprise through a pattem of

racketeering activity within the meaning of 18 U.S.C. §§ 1961 (l ), 1961(5) and 1962(c), and

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which employed the use of the mail and wire facilities in violation of 18 U.S.C. §§ 1341
(mail fraud) and 1343 (wire fi'aud).

379. Specifically, defendants have committed, conspired to commit and/or aided and abetted in
the commission of, at least two predicate acts of racketeering activity (i.e., violations of 18
U.S.C. §§ 1341 and 1343), within the past four years The multiple acts of racketeering
activity which defendants committed, or aided and abetted in the commission of, were
related to each other and also posed a threat of continued racketeering activity. They
therefore constitute a “pattern of racketeering activity.” The racketeering activity was made
possible by defendants’ regular use of the facilities services, distribution channels and
employees of the enterprise Defendants participated in the scheme to defraud by using the
mail, telephone and Intemet to transmit mailings and wires in interstate or foreign
commerce.

380. ln devising and executing the illegal scheme, defendants devised and knowingly carried
out a material scheme and/or artifice to defraud regulators prescribers and the public to
obtain money from Palmetto by means of materially false or fraudulent pretenses
representations promises or omissions of material facts For the purpose of executing the
illegal scheme, defendants committed these racketeering acts intentionally and knowingly
with the specific intent to advance the illegal scheme.

381 . Defendants’ predicate acts of racketeering, 18 U.S.C. § 1961 ( l ), include, but are not limited
to:

a. Mail Fraud: Defendants violated 18 U.S.C. § 1341 by sending and receiving, and by
causing to be sent and/or received, materials via U.S. mail or commercial interstate

carriers for the purpose of executing the unlawful scheme to deceptively market,

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sell and distribute the opioids by means of false pretenses misrepresentations
promises and omissions; and
b. Wire Fraud: Defendants violated 18 U.S.C. § 1343 by transmitting and/or receiving,
and by causing to be transmitted and/or received, materials by wire for the purpose
of executing the unlawful scheme to defraud and obtain money on false pretenses
misrepresentations promises and omissions
382. Defendants’ use of the mails and wires include, but are not limited to, the transmission
delivery and shipment of deceptive marketing materials; the filling of suspicious orders;
and the misleading of regulators and the public as to defendants’ compliance with their state
and federal reporting obligations These materials would not have been delivered, orders
would not have been filled, and regulators would have not been misled but for defendants’
illegal scheme, including, but not limited to:
a. the FSMB’s publication of opioid prescribing guidelines entitled “Responsible Opioid
Prescribing: A Physician’s Guide,” by Fishman;
b. the FSMB's publication of “Responsible Opioid Prescribing: A Clinician’s Guide
(Second Edition, Revised and Expanded),” by Fishman;
c. the APF`s publication of Exit Wounds;
d. the AAPM’s "consensus statement” and educational programs featuring Fine;
e. the APA’s publication and dissemination of “Prescription Pain Medication:
Preserving Patient Access While Curbing Abuse”;
f`. false or misleading communications to the public and to regulators;
g. failing to report suspicious orders as required by state and federal law;

h. sales and marketing materials, including slide decks, presentation materials,

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purported guidelines, advertising, web sites product packaging, brochures labeling
and other writings which misrepresented, falsely promoted and concealed the true
nature of opioids;

i. documents intended to facilitate the manufacture and sale of opioids, including bills
of lading, invoices shipping records reports and correspondence;

j. documents to process and receive payment for opioids, including invoices and
receipts

k. payments to the foundations and physicians that deceptiver marketed the
Manufacturing Defendants’ opioids;

l. deposits of proceeds; and

m. other documents and things, including electronic communications

383. Defendants also used the Intemet and other electronic facilities to carry out the scheme and
conceal the ongoing fraudulent activities For example, the Manufacturing Defendants made
misrepresentations about opioids on their websites, YouTube and through online ads all
of which were intended to mislead prescribers and the public about the safety, efficacy and
non- addictiveness of opioids.

384. Defendants also communicated by U.S. mail, by interstate facsimile and by interstate
electronic mail with various affiliates regional offices divisions distributors regulators
and other third-party entities in furtherance of the scheme The mail and wire transmissions
described herein were made in furtherance of defendants’ scheme and common course of
conduct to deceive prescribers consumers and regulators oversupply the market, and fail
to report suspicious sales

385. Many of the precise dates of the fraudulent uses of the U.S. mail and interstate wire facilities

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are concealed from Palmetto and cannot be alleged without access to defendants’ books
and records However, Palmetto has described the types of predicate acts of mail and/or wire
fraud that occurred. The secretive nature of the enterprise’s activities made the unlawful
tactics discussed herein even more deceptive and hannful.

386. The foregoing allegations support that: the Manufacturing Defendants engaged in a pattern
of racketeering activity by repeatedly engaging in wire and mail fraud to deceptively market
their products through the use of both print and electronic outlets; and all defendants
engaged in a pattern of racketeering activity by repeatedly engaging in wire and mail fraud
to deceive regulators and oversupply the market while failing to report suspicious sales
c) Conspiracy Allegations

387. Defendants have not undertaken the practices described herein in isolation, but as part of a
common scheme and conspiracy. ln violation of 18 U.S.C. § l962(d), the defendants
conspired to violate 18 U.S.C. § l962(c), as described herein.

388. Defendants conspired to incentivize and encourage various other persons firms and
corporations, including third-party entities and individuals not named as defendants in this
complaint, to carry out offenses and other acts in furtherance of the conspiracy. Defendants
conspired to increase or maintain revenues increase market share and/or minimize losses
for the defendants and their other collaborators throughout the illegal scheme and common
course of conduct, ln order to achieve this goal, the defendants engaged in the
aforementioned predicate acts on numerous occasions Defendants, with knowledge and
intent, agreed to the overall objectives of the conspiracy and participated in the common
course of conduct to commit acts of fraud and indecency in defectiver marketing and/or

selling opioids through the use of mail and wire fraud.

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389. Indeed, for the conspiracy to succeed, each of the defendants had to agree to deceptiver
market, sell and/or distribute opioids while failing to report suspicious sales The unanimity
of the Manufacturing Defendants’ marketing tactics and all defendants’ failure to report
suspicious sales gave credence to their misleading statements and omissions to prescribers
consumers and regulators and directly caused opioids to inundate the market in Palmetto.

390. Defendants knew and intended that govermnent regulators prescribers consumers and
others including Palmetto, would rely on the collective material misrepresentations and
omissions made by them and the other enterprise members about opioids and suspicious
sales, Defendants knew and recklessly disregarded the cost that would be suffered by the
public, including Palmetto.

391. The Manufacturing Defendants knew that by partnering with the pain foundations and
individual physicians who carried a more neutral public image, they would be able to
attribute more scientific credibility to their products thereby increasing their sales and
profits

392. Defendants also knew that by filling and failing to report suspicious sales, they would
significantly increase their sales and profits

393. The foregoing illustrates defendants’ liability under 18 U.S.C. § l962(d), by engaging in their
pattern of racketeering and conspiring to achieve their common goal of maximizing opioid
sales
d) Effect on Palmetto

394. As described herein, defendants engaged in a pattem of related and continuous predicate
acts for years The predicate acts constituted a variety of unlawful activities each

conducted with the common purpose of obtaining significant monies and revenues from

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consumers based on their misrepresentations and omissions The predicate acts also had
the same or similar results participants victims and methods of commission. The predicate
acts were related and not isolated events The predicate acts all had the purpose of
generating significant revenue and profits for defendants at the expense of Palmetto. The
predicate acts were committed or caused to be committed by defendants through their
participation in the enterprise and in furtherance of their fraudulent scheme, and were
interrelated in that they involved obtaining Palmetto’s funds

395. As more fully alleged herein, Palmetto, together with scores of other counties and
municipalities relied upon representations and omissions that were made or caused by
defendants

396. Palmetto’s injuries were proximately caused by defendants` racketeering activity. But for
defendants’ misstatements and omissions and the scheme employed by the Opioid Fraud
Enterprise, Palmetto would not be bearing the costs of its current opioid epidemic.

397. By reason of`, and as a result of the conduct of each of the defendants and in particular,
theirpattem of racketeering activity, Palmetto have been injured in their business and property
in multiple ways including, but not limited to, suffering increased law enforcement and
public works expenditures increased expenditures for overtime, mental health treatment
and workers’ compensation for its employees, increased emergency and treatment services,
damage to emergency equipment and vehicles and lost productivity, economic opportunity,
and tax revenue.

398. Defendants’ violations of 18 U.S.C. §l962(c) and (d) have directly and proximately caused
injuries and damages to Palmetto, and Palmetto is entitled to bring this action for three times

its actual damages as well as injunctive/equitable relief, costs and reasonable attomeys’ fees

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pursuant to 18 U.S.C.§ l964(c).
PRAYER FOR RELIEF
WHEREFORE, The City of Palmetto, acting on behalf of itself and on behalf of its
residents prays that the Court grant the following relief:

A. Enjoin the Manufacturing Defendants from violating Fla. Stat. § 501 .021 et seq., by making
any further false or misleading statements or omissions related to opioids;

B. Enjoin the Manufacturing Defendants and the Wholesaler Defendants from failing to report
suspicious orders as required by the federal CSA, as incorporated by Fla. Stat. §
499.0121(10) and lS(b);

C. Order Defendants to pay cots, losses and damages for injuries sustained by Palmetto,
acting on its own behalf and on behalf of its residents as a proximate result of the
Manufacturing Defendants” and the Wholesaler Defendants’ unlawful conduct as set forth
herein, including restitution, disgorgement of unjust enrichment, actual damages
exemplary damages punitive damages and attomeys’ fees and costs; and

D. Grant any such further relief as the Court deems appropriate.

JURY DEMAND

Plaintiff City of Palmetto demands a trial by jury.

Daredrhis § day of A“S“S‘, 2018.

Respectfully Submitted,
/s/ Steven W. Teppler

 

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